PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47632 SHARON LEE                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.47633 SHARON LEE                               VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                Litigation
        SIEGLOCKRACHEL                 ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.47634 SHARON LEE NOVIELLO                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47635 SHARON LEE NOVIELLO                      VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.47636 SHARON LEE NOVIELLO                      VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.47637 SHARON LEE NOVIELLO                      VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




                                           Page 6838 of 7835 to Schedule E/F Part 2

       Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page 1
                                                         of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47638 SHARON LEIGH                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47639 SHARON LEIGH                             VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                Litigation
        FOXCOURTNEY VASQUEZ            ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.47640 SHARON LEIGH                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.47641 SHARON LEIGH                             VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                Litigation
        SIEGLOCKRACHEL                 ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.47642 SHARON MARSHALL                          VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.47643 SHARON MARSHALL                          VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN & MILLER LAW FIRM       ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.47644 SHARON MARSHALL                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




                                           Page 6839 of 7835 to Schedule E/F Part 2

       Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page 2
                                                         of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47645 SHARON MICHELLE STONE                    VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.47646 SHARON MICHELLE STONE                    VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.47647 SHARON MICHELLE STONE                    VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.47648 SHARON MICHELLE STONE                    VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47649 SHARON MURRAY                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024




                                           Page 6840 of 7835 to Schedule E/F Part 2

       Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page 3
                                                         of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.47650 SHARON MURRAY                                  VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                            Litigation
        AMANWILLIAM P. HARRIS                ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.47651 Sharon Nugent                                  VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.47652 SHARON NUGENT                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.47653 SHARON NUGENT                                  VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.47654 SHARON PITT                                    VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                   Litigation
        DREYER BABICH BUCCOLA                ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                                 Page 6841 of 7835 to Schedule E/F Part 2

        Case: 19-30088            Doc# 900-13          Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page 4
                                                               of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.47655 SHARON PITT                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.47656 SHARON PITT                                VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.47657 SHARON PITT                                VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.47658 SHARON PITT                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47659 SHARON POWERS                              VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                                Litigation
        ABRAHAM, WATKINS, NICHOLS,       ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.47660 SHARON POWERS                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




                                             Page 6842 of 7835 to Schedule E/F Part 2

       Case: 19-30088          Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page 5
                                                           of 578
PG&E Corporation                                                                            Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.47661 SHARON REYNOLDS                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.47662 SHARON REYNOLDS                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.47663 SHARON REYNOLDS                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.47664 SHARON SALAK                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47665 SHARON SALAK                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                        Litigation
        VICE PENDINGTEXAS BAR NO.     ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




                                          Page 6843 of 7835 to Schedule E/F Part 2

       Case: 19-30088          Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page 6
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47666 SHARON SALAK                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.47667 SHARON SALAK                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.47668 SHARON SALAK                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47669 SHARON SOLIS                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.47670 SHARON SOLIS                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.47671 SHARON WARD                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                           Page 6844 of 7835 to Schedule E/F Part 2

       Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page 7
                                                         of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47672 SHARON WARD                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.47673 SHARON WARD                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.47674 SHARON WARD                              VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.47675 SHARON WARE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47676 SHARON WARE                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.47677 SHARON WARE                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47678 SHARON WARE                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


                                           Page 6845 of 7835 to Schedule E/F Part 2

       Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page 8
                                                         of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47679 SHARON WARE                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.47680 SHARON WILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47681 SHARON WILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.47682 SHARON WILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47683 SHARON WILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.47684 SHARON WILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




                                           Page 6846 of 7835 to Schedule E/F Part 2

       Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page 9
                                                         of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47685 SHARON Y GARCIA                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47686 SHARON Y GARCIA                          VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                        Litigation
        (STATE BAR #103252)BRIANNA     ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.47687 SHARON Y GARCIA                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47688 SHARON Y GARCIA                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.47689 SHARON Y GARCIA                          VARIOUS                              Wildfire               UNDETERMINED
        RONALD L.M. GOLDMAN, ESQ.                                                     Litigation
        (STATE BAR #33422) DIANE       ACCOUNT NO.: NOT AVAILABLE
        MARGER MOORE, ESQ. (FLA.
        BAR #268364) (PRO HAE VICE
        APPLICATION PENDING)
        BAUM HEDLUND ARISTEI &
        GOLDMAN, P.C.
        10940 WILSHIRE BOULEVARD.,
        17TH FLOOR
        LOS ANGELES, CALIFORNIA
        90024


3.47690 SHARON ZIMMERMAN                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                       Litigation
        R. PARKINSONDANIEL E.          ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028



                                           Page 6847 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 10
                                                        of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.47691 SHARON ZIMMERMAN                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.47692 SHARON ZIMMERMAN                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.47693 SHARON ZIMMERMAN                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.47694 SHARRON ARDELL                            VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                             Litigation
        ESQJENNIFER L. FIORE,           ACCOUNT NO.: NOT AVAILABLE
        ESQSOPHIA M. ACHERMANN,
        ESQ
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.47695 SHARRON HOLINSWORTH                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47696 SHARRON HOLINSWORTH                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47697 SHARRON HOLINSWORTH                       VARIOUS                              Wildfire               UNDETERMINED
        CHARLES S.                                                                     Litigation
        ZIMMERMANCALEB LH               ACCOUNT NO.: NOT AVAILABLE
        MARKER
        ZIMMERMAN REED LLP
        2381 ROSECRANS AVE, SUITE
        328
        MANHATTAN BEACH, CA 90245


                                            Page 6848 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 11
                                                         of 578
PG&E Corporation                                                                            Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.47698 SHARRON HOLINSWORTH                     VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.47699 SHARRON HOLINSWORTH                     VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                        Litigation
        VICE PENDINGTEXAS BAR NO.     ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.47700 SHARRON TURNER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47701 SHARRON TURNER                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.47702 SHARRON TURNER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359KRISTINE K.             ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




                                          Page 6849 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 12
                                                       of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47703 SHARRON TURNER                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.47704 SHARYN BELON                             VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD,                                                         Litigation
        ESQ.MICHAEL H. ARTINIAN,       ACCOUNT NO.: NOT AVAILABLE
        ESQ.
        BRIDGFORD, GLEASON &
        ARTINIAN
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.47705 SHARYN BELON                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ.PHILIP                                                   Litigation
        C. AMAN, ESQ.WILLIAM P.        ACCOUNT NO.: NOT AVAILABLE
        HARRIS III, ESQ.M. REGINA
        BAGDASARIAN, ESQ.GEORGE
        T. STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.47706 SHARYN BELON                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                      Litigation
        J. EBALLAR                     ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.47707 SHAUGN MCEVOY                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47708 SHAUGN MCEVOY                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                           Page 6850 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 13
                                                        of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.47709 SHAUGN MCEVOY                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.47710 SHAUGN MCEVOY                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.47711 SHAUGN MCEVOY                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.47712 SHAUN BERGHOLTZ                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47713 SHAUN BERGHOLTZ                           VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.47714 SHAUN BERGHOLTZ                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590




                                            Page 6851 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 14
                                                         of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47715 SHAUN BERGHOLTZ                          VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                      Litigation
        60768ANGELA JAE CHUN, SBN      ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.47716 SHAUN MURNER                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.47717 SHAUN MURNER                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.47718 SHAUNA GOODY                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.47719 SHAUNA GOODY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47720 SHAUNA GOODY                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




                                           Page 6852 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 15
                                                        of 578
PG&E Corporation                                                                            Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.47721 SHAUNA GOODY                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                     Litigation
        #117228                       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.47722 SHAVON SCHMIDT                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47723 SHAVON SCHMIDT                          VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                    Litigation
        (SBN 99126)NATASHA N.         ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.47724 SHAVON SCHMIDT                          VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.47725 SHAVON SCHMIDT                          VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                  Litigation
        248092)JACK W. WEAVER,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.47726 SHAW, TAMI                              VARIOUS                              Wildfire               UNDETERMINED
        1513 ESTEE AVENUE                                                            Litigation
        NAPA, CA 94558                ACCOUNT NO.: NOT AVAILABLE




                                          Page 6853 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 16
                                                       of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47727 SHAWN BRADBURD                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47728 SHAWN BRADBURD                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN J. SKIKOS, SBN                                                         Litigation
        148110GREGORY T. SKIKOS,       ACCOUNT NO.: NOT AVAILABLE
        SBN 176531MATTHEW J.
        SKIKOS, SBN 269765
        SKIKOS, CRAWFORD, SKIKOS &
        JOSEPH
        ONE SANSOME STREET, SUITE
        2830
        SAN FRANCISCO, CA 94104


3.47729 SHAWN BRADBURD                           VARIOUS                              Wildfire               UNDETERMINED
        CHARLES S.                                                                    Litigation
        ZIMMERMANCALEB LH              ACCOUNT NO.: NOT AVAILABLE
        MARKER
        ZIMMERMAN REED LLP
        2381 ROSECRANS AVE, SUITE
        328
        MANHATTAN BEACH, CA 90245


3.47730 SHAWN BRADBURD                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47731 SHAWN BRADBURD                           VARIOUS                              Wildfire               UNDETERMINED
        VINEET BHATIA (PRO HAC VICE                                                   Litigation
        TO BE SUBMITTED)               ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        1000 LOUISIANA STREET, SUITE
        5100
        HOUSTON, TEXAS 77002-5096


3.47732 SHAWN GLIDDEN                            VARIOUS                              Wildfire               UNDETERMINED
        OMAR I. HABBAS                                                                Litigation
        HAABBAS & ASSOCIATES           ACCOUNT NO.: NOT AVAILABLE
        675 N. FIRST STREET, SUITE
        1000
        SAN JOSE, CA 95112




                                           Page 6854 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 17
                                                        of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.47733 SHAWN GLIDDEN                              VARIOUS                              Wildfire               UNDETERMINED
        J. GARY GWILLIAMRANDALL E.                                                      Litigation
        STRAUSSROBERT J.                 ACCOUNT NO.: NOT AVAILABLE
        SCHWARTZGWILLIAM, IVARY,
        CHIOSSO
        CAVALLI & BREWER
        1999 HARRISON ST., SUITE 1600,
        OAKLAND, CA 94612


3.47734 SHAWN GLIDDEN                              VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                              Litigation
        DANIELS LAW                      ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.47735 SHAWN MARTIN                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47736 SHAWN MARTIN                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47737 SHAWN MARTIN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47738 SHAWN MARTIN                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




                                             Page 6855 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 18
                                                          of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.47739 SHAWN MARTIN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.47740 SHAWN MOSBY                                VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                            Litigation
        296101)ROBERT T. BRYSON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.47741 SHAWN MYERS                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47742 SHAWN MYERS                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.47743 SHAWN MYERS                                VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.47744 SHAWN MYERS                                VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


                                             Page 6856 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 19
                                                          of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47745 SHAWN MYERS                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47746 SHAWN PAGE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47747 SHAWN PAGE                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.47748 SHAWN PAGE                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.47749 SHAWN PAGE                               VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.47750 SHAWN RIPPNER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47751 SHAWN RIPPNER                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                        Litigation
        110909)                        ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


                                           Page 6857 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 20
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47752 SHAWN RIPPNER                            VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                       Litigation
        (BAR NO. 295951) RACHEL        ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.47753 SHAWN RIPPNER                            VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                 Litigation
        NO.254651)JOANNA LEE FOX       ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.47754 SHAWN SHAREI                             VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH JOHN TURRI, SBN:                                                       Litigation
        181994ATTILA PANCZEL, SBN:     ACCOUNT NO.: NOT AVAILABLE
        250799
        INSURANCE LITIGATORS &
        COUNSELOR PLC
        445 NORTH STATE STREET
        UKIAH, CA 95482


3.47755 SHAWN SHAREI                             VARIOUS                              Wildfire               UNDETERMINED
        LAWRENCE G. PAPALE, SBN:                                                      Litigation
        67068                          ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF LAWRENCE G.
        PAPALE
        THE CORNERSTONE
        BUILDING1308 MAIN STREET,
        SUITE 117
        ST. HELENA, CALIFORNIA 94574


3.47756 SHAWNA ANDERSON                          VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




                                           Page 6858 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 21
                                                        of 578
PG&E Corporation                                                                           Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.47757 SHAWNA ANDERSON                        VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                Litigation
        SCHACKNATASHA N. SERINO      ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.47758 SHAWNA ANDERSON                        VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                     Litigation
        WEAVER                       ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.47759 SHAWNA HUDSON-STROCK                   VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                               Litigation
        NO.254651)JOANNA LEE FOX     ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.47760 SHAWNA HUDSON-STROCK                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADI                  ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47761 SHAWNA HUDSON-STROCK                   VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                      Litigation
        110909)                      ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47762 SHAWNA HUDSON-STROCK                   VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                     Litigation
        (BAR NO. 295951) RACHEL      ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014




                                         Page 6859 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 22
                                                      of 578
PG&E Corporation                                                                            Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.47763 SHAWNA LOPEZ                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47764 SHAWNA LOPEZ                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.47765 SHAWNA LOPEZ                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.47766 SHAWNA LOPEZ                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.47767 SHAWNA SEWELL                           VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                     Litigation
        BRYSONKEVIN M. POLLACK        ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




                                          Page 6860 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 23
                                                       of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47768 SHAWNEE HUTTON                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47769 SHAWNEE HUTTON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47770 SHAWNEE HUTTON                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.47771 SHAWNEE HUTTON                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.47772 SHAWNEE HUTTON                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.47773 SHAWNEE WRIGHT                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                           Page 6861 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 24
                                                        of 578
PG&E Corporation                                                                            Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.47774 SHAWNEE WRIGHT                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.47775 SHAWNEE WRIGHT                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.47776 SHAWNEE WRIGHT                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47777 SHAWNEE WRIGHT                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.47778 SHAY AMMONS                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.47779 SHAY AMMONS                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




                                          Page 6862 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 25
                                                       of 578
PG&E Corporation                                                                            Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.47780 SHAY CARR                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.47781 SHAY CARR                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.47782 SHAY CARR                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.47783 SHAYLEE PARDINI                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                   Litigation
        111359 KRISTINE K.            ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




                                          Page 6863 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 26
                                                       of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.47784 Shaylee Pardini                                VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.47785 SHAYLEE PARDINI                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.47786 SHAYNA SPIELMAN                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                   Litigation
        DREYER BABICH BUCCOLA                ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47787 SHAYNA SPIELMAN                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                    Litigation
        WALKUP, MELODIA, KELLY &             ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47788 SHAYNA SPIELMAN                                VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                        Litigation
        262319)DEBORAH S. DIXON              ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.47789 SHAYNA SPIELMAN                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                        Litigation
        BAR #1999994) (PRO HAE VICE          ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


                                                 Page 6864 of 7835 to Schedule E/F Part 2

       Case: 19-30088            Doc# 900-13          Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 27
                                                              of 578
PG&E Corporation                                                                            Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.47790 SHAYNA SPIELMAN                         VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                        Litigation
        VICE PENDINGTEXAS BAR NO.     ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.47791 SHAYNE MARTIN                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.47792 SHAYNE MARTIN                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.47793 SHEA, DANIEL                            VARIOUS                              Wildfire               UNDETERMINED
        1333 W STEELE LN                                                             Litigation
        108                           ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.47794 SHEARER, BOBBI AND TOM                  VARIOUS                              Wildfire               UNDETERMINED
        14783 NORTHWOOD DR                                                           Litigation
        MAGALIA, CA 95954             ACCOUNT NO.: NOT AVAILABLE


3.47795 SHEFFERMAN, DAVE                        VARIOUS                              Wildfire               UNDETERMINED
        938 HORN AVE                                                                 Litigation
        GLEN ELLEN, CA 95442          ACCOUNT NO.: NOT AVAILABLE


3.47796 SHEILA D. CRAFT                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                          Page 6865 of 7835 to Schedule E/F Part 2

      Case: 19-30088           Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 28
                                                       of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47797 SHEILA D. CRAFT                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.47798 SHEILA D. CRAFT                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228BRETT R. PARKINSON,     ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.47799 SHEILA D. CRAFT                          VARIOUS                              Wildfire               UNDETERMINED
        §ETH L. GOLDSTEIN                                                             Litigation
        LAW OFFICES OF SETH L.         ACCOUNT NO.: NOT AVAILABLE
        GOLDSTEIN
        2100 GARDEN ROAD, SUITE H-8
        MONTEREY, CA. 93940


3.47800 SHEILA LEBLANC                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.47801 SHEILA LEBLANC                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.47802 SHEILA LEBLANC                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


                                           Page 6866 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 29
                                                        of 578
PG&E Corporation                                                                            Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.47803 SHEILA LEBLANC                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47804 SHEILA MCCARTHY                         VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                    Litigation
        (SBN 99126)NATASHA N.         ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.47805 SHEILA MCCARTHY                         VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                  Litigation
        9858)JESSICA W. HAYES.,       ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.47806 SHEILA MCCARTHY                         VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                  Litigation
        248092)JACK W. WEAVER,        ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.47807 SHEILA MCCARTHY                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                     Litigation
        A. BAGHDADI                   ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47808 SHEILA MONTEMAYOR                       VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. KERSHAWSTUART                                                     Litigation
        C. TALLEYIAN J. BARLOW        ACCOUNT NO.: NOT AVAILABLE
        KERSHAW, COOK & TALLEY PC
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


                                          Page 6867 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 30
                                                       of 578
PG&E Corporation                                                                          Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address     Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                         Account Number                            Claim

Wildfire Claims

3.47809 SHEILA RUTHERFORD                     VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                         Litigation
        ESQJENNIFER L. FIORE,       ACCOUNT NO.: NOT AVAILABLE
        ESQSOPHIA M. ACHERMANN,
        ESQ
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.47810 SHELBIE C. BYRD                       VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                    Litigation
        125868JUSTIN J. EBALLAR,    ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.47811 SHELBIE C. BYRD                       VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                      Litigation
        SINGLETONERIKA L.           ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.47812 SHELBIE C. BYRD                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                           Litigation
        WALKUP, MELODIA, KELLY &    ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47813 SHELBIE C. BYRD                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                          Litigation
        DREYER BABICH BUCCOLA       ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47814 SHELBIE C. BYRD                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                     Litigation
        DOMENIC MARTINI             ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103




                                        Page 6868 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13    Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 31
                                                     of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47815 SHELBIE DOLZADELLI                       VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.47816 SHELBIE DOLZADELLI                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47817 SHELBIE DOLZADELLI                       VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.47818 SHELBIE DOLZADELLI                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47819 SHELBIE DOLZADELLI                       VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.47820 SHELBY ANNE LORD                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                      Litigation
        LAW OFFICES OF JOHN COX        ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




                                           Page 6869 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 32
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47821 SHELBY ANNE LORD                         VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                         Litigation
        BOLDT                          ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.47822 SHELBY ANNE LORD                         VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                    Litigation
        HANSEN AND MILLER LAW FINN     ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.47823 SHELBY BOSTON                            VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.47824 SHELBY BOSTON                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.47825 SHELBY BOSTON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47826 SHELBY BOSTON                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.47827 SHELBY LEE WICKS LOVELADY                VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




                                           Page 6870 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 33
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47828 SHELBY LEE WICKS LOVELADY                VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.47829 SHELBY LYNN OTTO                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47830 SHELBY LYNN OTTO                         VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.47831 SHELBY LYNN OTTO                         VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.47832 SHELBY LYNN OTTO                         VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




                                           Page 6871 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 34
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47833 SHELBY MENDONCA                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.47834 SHELBY MENDONCA                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.47835 SHELBY MENDONCA                          VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.47836 SHELBY MENDONCA                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.47837 SHELBY MENDONCA                          VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.47838 SHELBY MUNSCH                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                              Litigation
        ABRAHAM, WATKINS, NICHOLS,     ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




                                           Page 6872 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 35
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47839 SHELBY MUNSCH                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                      Litigation
        AMANWILLIAM P. HARRIS          ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.47840 SHELBY THOMAS                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47841 SHELBY THOMAS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47842 SHELBY THOMAS                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.47843 SHELBY THOMAS                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.47844 SHELBY THOMAS                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




                                           Page 6873 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 36
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47845 SHELDON, GEOFFREY                        VARIOUS                              Wildfire               UNDETERMINED
        6487 HOLLYWOOD RD                                                             Litigation
        MAGALIA, CA 95954              ACCOUNT NO.: NOT AVAILABLE


3.47846 SHELDON, MELISSA                         VARIOUS                              Wildfire               UNDETERMINED
        190 W AUGA CALIENTE RD                                                        Litigation
        SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE


3.47847 SHELLEY RAMSEY                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                      Litigation
        NO. 197687)                    ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.47848 SHELLEY RAMSEY                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                        Litigation
        STATE BAR NO. 296841)PAIGE     ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.47849 SHELLEY WOODS-PEACE                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.47850 SHELLEY WOODS-PEACE                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                           Page 6874 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 37
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47851 SHELLEY WOODS-PEACE                      VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.47852 SHELLEY WOODS-PEACE                      VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.47853 SHELLEY, NORMA                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORACATIA G.                                                     Litigation
        SARAIVADREYER BABICH           ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA WOOD, ET AL.
        CAMPORA
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47854 SHELLS FARM FRESH,                       VARIOUS                              Wildfire               UNDETERMINED
        MICHELLE BERNARDINO                                                           Litigation
        12507 KROSENS ROAD             ACCOUNT NO.: NOT AVAILABLE
        LOMA RICA, CA 95901


3.47855 SHELLY A. PEDERSON                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47856 SHELLY A. PEDERSON                       VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                      Litigation
        TOSDAL LAW FIRM                ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075




                                           Page 6875 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 38
                                                        of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.47857 SHELLY A. PEDERSON                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.47858 SHELLY A. PEDERSON                        VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.47859 SHELLY WACHTER                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150DANIEL E.
        PASSMORE, ESQ., #312155
        JACKSON &PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.47860 SHELLY WACHTER                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ.,                                                           Litigation
        #166204COELL M. SIMMONS,        ACCOUNT NO.: NOT AVAILABLE
        ESQ., #292218
        ERIC RATINOFF LAW CORP
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.47861 SHELLY WACHTER                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN, ESQ.,                                                      Litigation
        #115632                         ACCOUNT NO.: NOT AVAILABLE
        FRIEDEMANN GOLDBERG LLP
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.47862 SHELLY WACHTER                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS, ESQ., #161563                                                   Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825




                                            Page 6876 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 39
                                                         of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.47863 SHELLY WHITE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.47864 SHELLY WHITE                              VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.47865 SHELLY WHITE                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.47866 SHELLY WHITE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47867 SHELTON LIVINGSTON                        VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.47868 SHELTON LIVINGSTON                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075




                                            Page 6877 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 40
                                                         of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47869 SHELTON LIVINGSTON                       VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.47870 SHELTON LIVINGSTON                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.47871 SHELTON LIVINGSTON                       VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.47872 SHENDE, ASHOK                            VARIOUS                              Wildfire               UNDETERMINED
        101 OLD OAK LN                                                                Litigation
        SANTA ROSA, CA 95409           ACCOUNT NO.: NOT AVAILABLE


3.47873 SHERBURNE, KEVIN                         VARIOUS                              Wildfire               UNDETERMINED
        3679 RUSTON LANE                                                              Litigation
        NAPA, CA 94558                 ACCOUNT NO.: NOT AVAILABLE


3.47874 SHERE L. ROBINSON                        VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                          Litigation
        #109455LAURA E. BROWN          ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.47875 SHERE L. ROBINSON                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                           Page 6878 of 7835 to Schedule E/F Part 2

      Case: 19-30088           Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 41
                                                        of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.47876 SHERE L. ROBINSON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.47877 SHERE L. ROBINSON                          VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.47878 SHERE L. ROBINSON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47879 SHEREE SPENCER                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.47880 SHEREE SPENCER                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                       Litigation
        MARTINI                          ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.47881 SHEREE SPENCER                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                             Page 6879 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 42
                                                          of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47882 SHEREE SPENCER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47883 SHEREE SPENCER                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.47884 SHERELEY ELAINE SMITH                    VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47885 SHERELEY ELAINE SMITH                    VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.47886 SHERELEY ELAINE SMITH                    VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.47887 SHERELEY ELAINE SMITH                    VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




                                           Page 6880 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 43
                                                        of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.47888 SHERI BAGLEY                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47889 SHERI BAGLEY                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.47890 SHERI BAGLEY                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.47891 SHERI BAGLEY                              VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.47892 SHERI DARDEN                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.47893 SHERI DARDEN                              VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




                                            Page 6881 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 44
                                                         of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47894 SHERI DARDEN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47895 SHERI DARDEN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.47896 SHERI DECARLO                            VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                       Litigation
        D. EDWARDS                     ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.47897 SHERI DECARLO                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                     Litigation
        DAVISKEVIN M.                  ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.47898 SHERI HILTMAN-MOSS                       VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.47899 SHERI HILTMAN-MOSS                       VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




                                           Page 6882 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 45
                                                        of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.47900 SHERI HILTMAN-MOSS                        VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.47901 SHERI HITMAN                              VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.47902 SHERI HITMAN                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.47903 SHERI LEFMAN                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.47904 SHERI LEFMAN                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.47905 SHERI LEFMAN                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403




                                            Page 6883 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 46
                                                         of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47906 SHERI LEFMAN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                 Litigation
        DEMAS LAW GROUP, P.C.          ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.47907 SHERI LOMELINO                           VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.47908 SHERI LOMELINO                           VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.47909 SHERI LOMELINO                           VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                  Litigation
        SCHACKNATASHA N. SERINO        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.47910 SHERI MEYERS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.47911 SHERI MEYERS                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




                                           Page 6884 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 47
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47912 SHERI MEYERS                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.47913 SHERI MEYERS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47914 SHERIDAN, LORNA                          VARIOUS                              Wildfire               UNDETERMINED
        724 CHARLES VAN DAMME                                                         Litigation
        SONOMA, CA 95476               ACCOUNT NO.: NOT AVAILABLE


3.47915 SHERILYN MEDIN                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.47916 SHERILYN MEDIN                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




                                           Page 6885 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 48
                                                        of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.47917 SHERILYN MEDIN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.47918 SHERILYN MEDIN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47919 SHERMAN, BONNIE                           VARIOUS                              Wildfire               UNDETERMINED
        43 BRANNAN ST.                                                                 Litigation
        6                               ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.47920 SHERMAN, COLLEEN                          VARIOUS                              Wildfire               UNDETERMINED
        3242 9TH ST                                                                    Litigation
        CLEARLAKE, CA 95422             ACCOUNT NO.: NOT AVAILABLE


3.47921 SHERRI DE CORONADO                        VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.47922 SHERRI DE CORONADO                        VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.47923 SHERRI DE CORONADO                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403




                                            Page 6886 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 49
                                                         of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.47924 SHERRI DE CORONADO                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                   Litigation
        DEMAS LAW GROUP, P.C.            ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.47925 SHERRI GARDNER                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47926 SHERRI GARDNER                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.47927 SHERRI GARDNER                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47928 SHERRI GARDNER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.47929 SHERRI GARDNER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47930 SHERRI GIBSON                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                             Litigation
        MICHAEL S. FEINBERG, APLC        ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


                                             Page 6887 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 50
                                                          of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47931 SHERRI GIBSON                            VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                 Litigation
        TOSDAL LAW FIRM                ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.47932 SHERRI GIBSON                            VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                      Litigation
        60768GAYLE M. BLATT, SBN       ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.47933 SHERRI LESLIE                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.47934 SHERRI LESLIE                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.47935 SHERRI LESLIE                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                           Page 6888 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 51
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47936 SHERRI LESLIE                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.47937 SHERRI PENA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47938 SHERRI PENA                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.47939 SHERRI PENA                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.47940 SHERRI PENA                              VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.47941 SHERRI QUAMMEN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                           Page 6889 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 52
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47942 SHERRI QUAMMEN                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.47943 SHERRI QUAMMEN                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.47944 SHERRI QUAMMEN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.47945 SHERRI R JACKSON                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.47946 SHERRI R JACKSON                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47947 SHERRI R JACKSON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


                                           Page 6890 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 53
                                                        of 578
PG&E Corporation                                                                            Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.47948 SHERRI R JACKSON                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.47949 SHERRI R JACKSON                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.47950 SHERRI THOMPSON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47951 SHERRI THOMPSON                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.47952 SHERRI THOMPSON                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47953 SHERRI THOMPSON                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




                                          Page 6891 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 54
                                                       of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.47954 SHERRI THOMPSON                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.47955 SHERRIE M. CRAWFORD                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47956 SHERRIE M. CRAWFORD                       VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.47957 SHERRIE M. CRAWFORD                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.47958 SHERRIE M. CRAWFORD                       VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.47959 SHERRY BROWN                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




                                            Page 6892 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 55
                                                         of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.47960 SHERRY BROWN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.47961 SHERRY BROWN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47962 SHERRY BROWN                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47963 SHERRY BROWN                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47964 SHERRY CSER                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47965 SHERRY CSER                                VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                    Litigation
        APPLICATION                      ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




                                             Page 6893 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 56
                                                          of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.47966 SHERRY CSER                                VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                       Litigation
        BAR NO. 154226)                  ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.47967 SHERRY CSER                                VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                      Litigation
        STATE BAR NO. 157400)            ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.47968 SHERRY EDINGTON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47969 SHERRY EDINGTON                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.47970 SHERRY EDINGTON                            VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.47971 SHERRY EDINGTON                            VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439




                                             Page 6894 of 7835 to Schedule E/F Part 2

       Case: 19-30088           Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 57
                                                          of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47972 SHERRY EDINGTON                          VARIOUS                              Wildfire               UNDETERMINED
        PEDRO "PETER" DE LA CERDA,                                                    Litigation
        OF COUNSEL - BAR NO. 249085    ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES
        250 VALLOMBROSA AVE STE.
        266
        CHICO, CA 95926


3.47973 SHERRY PRITCHETT                         VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.47974 SHERRY PRITCHETT                         VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.47975 SHERRY PRITCHETT                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.47976 SHERRY PRITCHETT                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.47977 SHERRY PRITCHETT                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




                                           Page 6895 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 58
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47978 SHERRY PRITCHETT                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47979 SHERRY PRITCHETT                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47980 SHERRY PRITCHETT                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.47981 SHERRYL LYNN HULL                        VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.47982 SHERRYL LYNN HULL                        VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.47983 SHERRYL LYNN HULL                        VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




                                           Page 6896 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 59
                                                        of 578
PG&E Corporation                                                                           Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.47984 SHERRYL LYNN HULL                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADI                  ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47985 SHERY GORDON                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                   Litigation
        PENDING)JOHN P. FISKE        ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.47986 SHERY GORDON                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                    Litigation
        VASQUEZ AMANDA LOCURTO       ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.47987 SHERY GORDON                           VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                              Litigation
        LAW OFFICES OF ALEXANDER     ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.47988 SHERY GORDON                           VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                     Litigation
        DIXONROBERT J. CHAMBERS II   ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.47989 SHERY GORDON                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                  Litigation
                                     ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103




                                         Page 6897 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 60
                                                      of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47990 SHERY GORDON                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.47991 SHERYL A. LAWSON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47992 SHERYL A. LAWSON                         VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.47993 SHERYL A. LAWSON                         VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                     Litigation
        BAR NO. 154226)                ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.47994 SHERYL A. LAWSON                         VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.47995 SHERYL ALMBURG                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                  Litigation
        BAR #1999994) (PRO HAE VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




                                           Page 6898 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 61
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.47996 SHERYL ALMBURG                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                         Litigation
        VICE PENDINGTEXAS BAR NO.      ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.47997 SHERYL ALMBURG                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.47998 SHERYL ALMBURG                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.47999 SHERYL ALMBURG                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48000 SHIANA LEE CHAMNESS                      VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.48001 SHIANA LEE CHAMNESS                      VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




                                           Page 6899 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 62
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.48002 SHIANA LEE CHAMNESS                      VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.48003 SHIANA LEE CHAMNESS                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48004 SHIARA NELSON                            VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                  Litigation
        APPLICATION                    ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.48005 SHIARA NELSON                            VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                    Litigation
        ZUMMERAMANDA J.                ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48006 SHIARA NELSON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48007 SHIARA NELSON                            VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                    Litigation
        STATE BAR NO. 157400)          ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




                                           Page 6900 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 63
                                                        of 578
PG&E Corporation                                                                                    Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:         List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address               Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.48008 SHIELDS, ANGELA                                 VARIOUS                              Wildfire               UNDETERMINED
        2040 MONROE ST                                                                       Litigation
        YOUNTVILLE, CA 94599                  ACCOUNT NO.: NOT AVAILABLE


3.48009 SHIELDS, WILLIAM                                VARIOUS                              Wildfire               UNDETERMINED
        4490 SANDALWOOD STREET                                                               Litigation
        NAPA, CA 94558                        ACCOUNT NO.: NOT AVAILABLE


3.48010 SHIGEO NAKATANI                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                             Litigation
        NO. 197687)                           ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.48011 Shigeo Nakatani                                 VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                         Litigation
        application anticipated)Guy           ACCOUNT NO.: NOT AVAILABLE
        Watts, II (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.48012 SHILOH AUSTIN                                   VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                    Litigation
        DREYER BABICH BUCCOLA                 ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48013 SHILOH AUSTIN                                   VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                                 Litigation
        #109455LAURA E. BROWN                 ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.48014 SHILOH AUSTIN                                   VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                            Litigation
        MARTINI                               ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




                                                  Page 6901 of 7835 to Schedule E/F Part 2

       Case: 19-30088              Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 64
                                                               of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.48015 SHILOH AUSTIN                              VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                      Litigation
        STATE BAR NO. 157400)            ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.48016 SHILOH AUSTIN                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.48017 SHILOH AUSTIN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.48018 SHILOH AUSTIN                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                           Litigation
        SINGLETONERIKA L.                ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48019 SHILOH AUSTIN                              VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                      Litigation
        ZUMMERAMANDA J.                  ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48020 SHILOH AUSTIN                              VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                    Litigation
        APPLICATION                      ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


                                             Page 6902 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 65
                                                          of 578
PG&E Corporation                                                                           Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.48021 SHILOH AUSTIN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48022 SHILOH AUSTIN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                    Litigation
        A. BAGHDADI                  ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48023 SHILOH AUSTIN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48024 SHILOH AUSTIN                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48025 SHILOH AUSTIN                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48026 SHIN LEE COBBLE AS                     VARIOUS                              Wildfire               UNDETERMINED
        ATTORNEY-IN-FACT FOR OK JA                                                  Litigation
        BAEK                         ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. DANKO - BAR NO.
        111359KRISTINE K.
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




                                         Page 6903 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 66
                                                      of 578
PG&E Corporation                                                                                Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.48027 SHIN LEE COBBLE AS                          VARIOUS                              Wildfire               UNDETERMINED
        ATTORNEY-IN-FACT FOR OK JA                                                       Litigation
        BAEK                              ACCOUNT NO.: NOT AVAILABLE
        ERIC GIBBS - BAR NO.
        178658DYLAN HUGHES- BAR
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48028 SHIN LEE COBBLE AS                          VARIOUS                              Wildfire               UNDETERMINED
        ATTORNEY-IN-FACT FOR OK JA                                                       Litigation
        BAEK                              ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48029 Shin Lee Cobble As Attorney-In-             VARIOUS                              Wildfire               UNDETERMINED
        Fact For Ok Ja Baek                                                              Litigation
        Dario De Ghetaldi - Bar No.       ACCOUNT NO.: NOT AVAILABLE
        126782Amanda L. Riddle - Bar
        No. 215221Steven M. Berki - Bar
        No. 245426Sumble Manzoor- Bar
        No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.48030 SHINKLE, ROBERT L. (ANCAR) &                VARIOUS                              Wildfire               UNDETERMINED
        SHELLEY G. (AMERMAN)                                                             Litigation
        DARIO DE GHETALDI AMANDA          ACCOUNT NO.: NOT AVAILABLE
        L. RIDDLE CLARE CAPACCIOLI
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48031 SHINKLE, ROBERT L. (ANCAR) &                VARIOUS                              Wildfire               UNDETERMINED
        SHELLEY G. (AMERMAN)                                                             Litigation
        MIKE DANKOKRISTINE                ACCOUNT NO.: NOT AVAILABLE
        MEREDITHSHAWN
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




                                              Page 6904 of 7835 to Schedule E/F Part 2

       Case: 19-30088           Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 67
                                                           of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.48032 SHIRLENA DOBRICH                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48033 SHIRLENA DOBRICH                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.48034 SHIRLENA DOBRICH                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48035 SHIRLENA DOBRICH                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.48036 SHIRLENA DOBRICH                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48037 SHIRLENE GILMAN                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                            Litigation
        VICEPENDING)JOHN P. FISKE        ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




                                             Page 6905 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 68
                                                          of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.48038 SHIRLENE GILMAN                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.48039 SHIRLENE GILMAN                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.48040 SHIRLENE GILMAN                          VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.48041 SHIRLENE GILMAN                          VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48042 SHIRLEY A HORNER                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                     Litigation
        MARTINI                        ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.48043 SHIRLEY A HORNER                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                           Page 6906 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 69
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.48044 SHIRLEY A HORNER                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                       Litigation
        125868JUSTIN J. EBALLAR,       ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48045 SHIRLEY A HORNER                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48046 SHIRLEY A HORNER                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                             Litigation
        DREYER BABICH BUCCOLA          ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48047 SHIRLEY ANDREWS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48048 SHIRLEY ANDREWS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48049 SHIRLEY ANDREWS                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




                                           Page 6907 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 70
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.48050 SHIRLEY ANDREWS                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48051 SHIRLEY BAUMANN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48052 SHIRLEY BAUMANN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48053 SHIRLEY BAUMANN                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48054 SHIRLEY BAUMANN                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




                                           Page 6908 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 71
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.48055 SHIRLEY BOTHWELL                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48056 SHIRLEY BOTHWELL                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48057 SHIRLEY BOTHWELL                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48058 SHIRLEY BOTHWELL                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48059 SHIRLEY BULLARD                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAELA. KELLY (SBN 71460)                                                   Litigation
        WALKUP MELODIA KELLY&          ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48060 SHIRLEY BULLARD                          VARIOUS                              Wildfire               UNDETERMINED
        BRIANJ. PANISH (SBN 116060)                                                   Litigation
        PANISH SHEA &BOYLE, LLP        ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025



                                           Page 6909 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 72
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.48061 SHIRLEY BULLARD                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                        Litigation
        110909)                        ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48062 SHIRLEY BULLARD                          VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE (SBN                                                           Litigation
        100077)ALISON E. CORDOVA       ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGA, CALIFORNIA 94111


3.48063 SHIRLEY DELLENBACK                       VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.48064 SHIRLEY DELLENBACK                       VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.48065 SHIRLEY DELLENBACK                       VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                            Litigation
        262319)DEBORAH S. DIXON        ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48066 SHIRLEY DELLENBACK                       VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




                                           Page 6910 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 73
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.48067 SHIRLEY DELLENBACK                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.48068 SHIRLEY HUBBERT                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48069 SHIRLEY HUBBERT                          VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                Litigation
        SIEGLOCKRACHEL                 ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.48070 SHIRLEY HUBBERT                          VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                Litigation
        FOXCOURTNEY VASQUEZ            ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.48071 SHIRLEY HUBBERT                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48072 SHIRLEY HUGHES                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


                                           Page 6911 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 74
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.48073 SHIRLEY HUGHES                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48074 SHIRLEY HUGHES                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48075 SHIRLEY HUGHES                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48076 SHIRLEY HUNTLEY                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                   Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.48077 SHIRLEY HUNTLEY                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                   Litigation
        126782 AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669




                                           Page 6912 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 75
                                                        of 578
PG&E Corporation                                                                           Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.48078 SHIRLEY HUNTLEY                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                  Litigation
        111359 KRISTINE K.           ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.48079 SHIRLEY L. BALDWIN                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                            Litigation
        WALKUP, MELODIA, KELLY &     ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48080 SHIRLEY L. BALDWIN                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                      Litigation
        DOMENIC MARTINI              ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.48081 SHIRLEY L. BALDWIN                     VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                     Litigation
        125868JUSTIN J. EBALLAR,     ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48082 SHIRLEY L. BALDWIN                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                           Litigation
        DREYER BABICH BUCCOLA        ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48083 SHIRLEY L. BALDWIN                     VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                       Litigation
        SINGLETONERIKA L.            ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                         Page 6913 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 76
                                                      of 578
PG&E Corporation                                                                                  Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.48084 Shirley M. Kirk                               VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.48085 SHIRLEY M. KIRK                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.48086 SHIRLEY STEEN                                 VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                           Litigation
        #117228BRETT R. PARKINSON,          ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150DANIEL E.
        PASSMORE, ESQ., #312155
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.48087 SHIRLEY STEEN                                 VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ.,                                                               Litigation
        #166204GREGORY A. STUCK,            ACCOUNT NO.: NOT AVAILABLE
        ESQ., #311162
        ERIC RATINOFF LAW CORP
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.48088 SHIRLEY STEEN                                 VARIOUS                              Wildfire               UNDETERMINED
                                                                                           Litigation
        DEMAS LAW GROUP, P.C.               ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.48089 SHIRLEY STEEN                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN, ESQ.,                                                          Litigation
        #115632                             ACCOUNT NO.: NOT AVAILABLE
        FRIEDEMANN GOLDBERG LLP
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403




                                                Page 6914 of 7835 to Schedule E/F Part 2

       Case: 19-30088             Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 77
                                                             of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.48090 SHIRLEY TUBOLIN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48091 SHIRLEY TUBOLIN                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.48092 SHIRLEY TUBOLIN                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48093 SHIRLEY TUBOLIN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.48094 SHIRLEY TUBOLIN                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48095 SHIRLEY WARD                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                             Page 6915 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 78
                                                          of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.48096 SHONA SMITH                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48097 SHONA SMITH                                VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.48098 SHONA SMITH                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48099 SHONA SMITH                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.48100 SHONA SMITH                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48101 SHONBRUN, WILL                             VARIOUS                              Wildfire               UNDETERMINED
        17535 HIGHLANDS                                                                 Litigation
        SONOMA, CA 95476                 ACCOUNT NO.: NOT AVAILABLE


3.48102 SHORT, MICHAEL A                           VARIOUS                              Wildfire               UNDETERMINED
        1544 ADOBE DRIVE                                                                Litigation
        PACIFICA, CA 94044               ACCOUNT NO.: NOT AVAILABLE




                                             Page 6916 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 79
                                                          of 578
PG&E Corporation                                                                           Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address      Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                          Account Number                            Claim

Wildfire Claims

3.48103 SHORTAL, JOSEPH DEAN; ORR,         VARIOUS                                  Wildfire               UNDETERMINED
        GRETA                                                                       Litigation
        CO-COUNSELDEMETRIOS A.     ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.48104 SHORTAL, JOSEPH DEAN; ORR,             VARIOUS                              Wildfire               UNDETERMINED
        GRETA                                                                       Litigation
        ELLIOT ADLERBRITTANY         ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48105 SHORTAL, JOSEPH DEAN; ORR,             VARIOUS                              Wildfire               UNDETERMINED
        GRETA                                                                       Litigation
        GERARD SINGLETONERIKA L.     ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48106 SHOUSE, WILLIAM (BURICH);              VARIOUS                              Wildfire               UNDETERMINED
        BURICH, DAWN (ANCAR);                                                       Litigation
        SHOUSE, ABRILH (ANCAR)       ACCOUNT NO.: NOT AVAILABLE
        DARIO DE GHETALDIAMANDA
        L. RIDDLECLARE CAPACCIOLI
        VELASQUEZ
        700 EL CAMINO REAL
        P.O BOX 669
        MILLBRAE, CA


3.48107 SHOUSE, WILLIAM (BURICH);              VARIOUS                              Wildfire               UNDETERMINED
        BURICH, DAWN (ANCAR);                                                       Litigation
        SHOUSE, ABRILH (ANCAR)       ACCOUNT NO.: NOT AVAILABLE
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48108 SHOW N' GLOW, LLC                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                  Litigation
        111359 KRISTINE K.           ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065



                                         Page 6917 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 80
                                                      of 578
PG&E Corporation                                                                            Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.48109 SHOW N' GLOW, LLC                       VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                  Litigation
                                      ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.48110 SHOW N' GLOW, LLC                       VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782 AMANDA L. RIDDLE -     ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.48111 SHRESTHA, PRATIPAL                 VARIOUS                                   Wildfire               UNDETERMINED
        5223 OLD REDWOOD HWY APT 6                                                   Litigation
        6                          ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.48112 SHUBEL, STEPHEN                         VARIOUS                              Wildfire               UNDETERMINED
        17301 HILLCREST AVE                                                          Litigation
        SONOMA, CA 95476              ACCOUNT NO.: NOT AVAILABLE


3.48113 SHUSUKE BENDER                          VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                  Litigation
         REINER, SLAUGHTER &          ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.48114 SHUSUKE BENDER                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                     Litigation
        #117228                       ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




                                          Page 6918 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 81
                                                       of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.48115 SHUSUKE BENDER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48116 SHUSUKE BENDER                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.48117 SHYANNE NOWLIN                           VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                  Litigation
        SCHACKNATASHA N. SERINO        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.48118 SHYANNE NOWLIN                           VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                       Litigation
        WEAVER                         ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.48119 SHYANNE NOWLIN                           VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                            Litigation
        SR.JESSICA HAYES               ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.48120 SHYENNE M BAKER                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                         Litigation
        SINGLETONERIKA L.              ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48121 SHYENNE M BAKER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


                                           Page 6919 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 82
                                                        of 578
PG&E Corporation                                                                            Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.48122 SHYENNE M BAKER                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48123 SHYENNE M BAKER                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.48124 SHYENNE M BAKER                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48125 SIAMAK TAROMI                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.48126 SIAMAK TAROMI                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.48127 SIBILIA, CHAD                           VARIOUS                              Wildfire               UNDETERMINED
        2180 CHIANTI DRIVE                                                           Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE




                                          Page 6920 of 7835 to Schedule E/F Part 2

      Case: 19-30088           Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 83
                                                       of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.48128 SIDIK TORUN DBA M.S TORUN                VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                     Litigation
        PENDING)JOHN P. FISKE          ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.48129 SIDIK TORUN DBA M.S TORUN                VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                      Litigation
        VASQUEZ AMANDA LOCURTO         ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.48130 SIDIK TORUN DBA M.S TORUN                VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                         Litigation
        TERRY SINGLETON, A.P.C.        ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.48131 SIDIK TORUN DBA M.S TORUN                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
                                       ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.48132 SIDIK TORUN DBA M.S TORUN                VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                Litigation
        LAW OFFICES OF ALEXANDER       ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.48133 SIDIK TORUN DBA M.S TORUN                VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                       Litigation
        DIXONROBERT J. CHAMBERS II     ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48134 SIECK, DAVID GWYNNE               VARIOUS                                     Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                        Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


                                           Page 6921 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 84
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.48135 SIECK, DAVID GWYNNE                      VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                      Litigation
        VASQUEZAMANDA LOCUTRO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48136 SIECK, DAVID GWYNNE                      VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                          Litigation
        ZUMMER                         ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48137 SIEFERT, CHRISTIAN DANIEL;               VARIOUS                              Wildfire               UNDETERMINED
        SIEFERT, AMY JANEL; SIEFERT,                                                  Litigation
        ADAM DANIEL (A MINOR, BY       ACCOUNT NO.: NOT AVAILABLE
        AND THROUGH HIS GUARDIAN
        AD LITEM CHRISTIAN DANIEL
        SIEFERT)
        GERALD SINGLETON
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48138 SIEFERT, CHRISTIAN DANIEL;               VARIOUS                              Wildfire               UNDETERMINED
        SIEFERT, AMY JANEL; SIEFERT,                                                  Litigation
        ADAM DANIEL (A MINOR, BY       ACCOUNT NO.: NOT AVAILABLE
        AND THROUGH HIS GUARDIAN
        AD LITEM CHRISTIAN DANIEL
        SIEFERT)
        ELLIOT ADLER
        402 W BROADWAY
        SUITE 860
        SAN DIEGO, CA 92101


3.48139 SIEFERT, CHRISTIAN DANIEL;               VARIOUS                              Wildfire               UNDETERMINED
        SIEFERT, AMY JANEL; SIEFERT,                                                  Litigation
        ADAM DANIEL (A MINOR, BY       ACCOUNT NO.: NOT AVAILABLE
        AND THROUGH HIS GUARDIAN
        AD LITEM CHRISTIAN DANIEL
        SIEFERT)
        CO-COUNSEL
        525 B STREET
        SUITE 1500
        SAN DIEGO, CA 92101


3.48140 SIENNA HUGHIE                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                              Litigation
        WALKUP, MELODIA, KELLY &       ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                           Page 6922 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 85
                                                        of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.48141 SIENNA HUGHIE                              VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.48142 SIENNA HUGHIE                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.48143 SIENNA HUGHIE                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48144 SIENNA HUGHIE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.48145 SIERETAS, CHEYANNE                         VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                            Litigation
        ZUMMER                           ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48146 SIERETAS, CHEYANNE                         VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                        Litigation
        VASQUEZAMANDA LOCUTRO            ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                             Page 6923 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 86
                                                          of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.48147 SIERETAS, CHEYANNE                VARIOUS                                     Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                        Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.48148 SIERRA BREWI                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48149 SIERRA BREWI                             VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                Litigation
        FOXCOURTNEY VASQUEZ            ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.48150 SIERRA BREWI                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48151 SIERRA BREWI                             VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                Litigation
        SIEGLOCKRACHEL                 ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.48152 SIERRA CASCADE PROPERTIES                VARIOUS                              Wildfire               UNDETERMINED
        LLC                                                                           Litigation
        ERIC RATINOFF, ESQ., #166204   ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP.
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




                                           Page 6924 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 87
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.48153 SIERRA CASCADE PROPERTIES                VARIOUS                              Wildfire               UNDETERMINED
        LLC                                                                           Litigation
        MICHAEL A. KELLYKHALDOUN       ACCOUNT NO.: NOT AVAILABLE
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48154 SIERRA CASCADE PROPERTIES                VARIOUS                              Wildfire               UNDETERMINED
        LLC                                                                           Litigation
        ROBERT W. JACKSON, ESQ.,       ACCOUNT NO.: NOT AVAILABLE
        #117228
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.48155 SIERRA CASCADE PROPERTIES                VARIOUS                              Wildfire               UNDETERMINED
        LLC                                                                           Litigation
        RUSSELL REINER, ESQ. #84461    ACCOUNT NO.: NOT AVAILABLE
         REINER, SLAUGHTER &
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.48156 SIERRA DAWN JONES                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48157 SIERRA DAWN JONES                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                    Litigation
        111359KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48158 SIERRA DAWN JONES                        VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                          Litigation
        178658DYLAN HUGHES- BAR        ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612



                                           Page 6925 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 88
                                                        of 578
PG&E Corporation                                                                            Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.48159 SIERRA DAWN JONES                       VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                  Litigation
        126782AMANDA L. RIDDLE -      ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48160 SIERRA E FLORES                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48161 SIERRA E FLORES                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.48162 SIERRA E FLORES                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48163 SIERRA E FLORES                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48164 SIERRA E FLORES                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




                                          Page 6926 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 89
                                                       of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.48165 SIERRA ROWNEY                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48166 SIERRA ROWNEY                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.48167 SIERRA ROWNEY                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.48168 SIERRA ROWNEY                            VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.48169 SIERRA WILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                   Litigation
         REINER, SLAUGHTER &           ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.48170 SIERRA WILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                      Litigation
        A. BAGHDADI                    ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                           Page 6927 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 90
                                                        of 578
PG&E Corporation                                                                             Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address        Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                            Account Number                            Claim

Wildfire Claims

3.48171 SIERRA WILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                      Litigation
        #117228                        ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.48172 SIERRA WILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                  Litigation
        ERIC RATINOFF LAW CORP.        ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.48173 SIG-BRITT IVEY                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                         Litigation
        208783)ERIKA L. VASQUEZ        ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.48174 SIG-BRITT IVEY                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                          Litigation
        VICEPENDING)JOHN P. FISKE      ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.48175 SIG-BRITT IVEY                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                    Litigation
        (SBN 69176)IAN C.              ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.48176 SIG-BRITT IVEY                           VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                    Litigation
        583 I 6)                       ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




                                           Page 6928 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 91
                                                        of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48177 SIG-BRITT IVEY                            VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48178 SIGURD JOHNSEN                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.48179 SIGURD JOHNSEN                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.48180 SILVA DARBINIAN                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       BRETT R. PARKINSON, ESQ.,

       DANIEL E. PASSMORE, ESQ.,
       JACKSON & PARKINSON, TRIAL
       LAWYERS
       205 WEST ALVARADO STREET
       FALLBROOK, CALIFORNIA 92028


3.48181 SILVA DARBINIAN                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ.,COELL                                                      Litigation
        M. SIMMONS, ESQ.,               ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.48182 SILVA DARBINIAN                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN, ESQ.,                                                      Litigation
        FRICDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


                                            Page 6929 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 92
                                                         of 578
PG&E Corporation                                                                            Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.48183 SILVA DARBINIAN                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS, ESQ.,                                                         Litigation
        DEMAS LAW GROUP, P.C.         ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.48184 SILVA REYES, ARCELIA                    VARIOUS                              Wildfire               UNDETERMINED
        408 CALIDO COURT                                                             Litigation
        SONOMA, CA 94576              ACCOUNT NO.: NOT AVAILABLE


3.48185 SILVANO RASTELLI                        VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J.                                                                 Litigation
        CABRASERROBERT J.             ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.48186 SILVAS, LEONARD JAMES             VARIOUS                                    Wildfire               UNDETERMINED
        (JOSES), AND AS                                                              Litigation
        ADMINISTRATOR AND         ACCOUNT NO.: NOT AVAILABLE
        SUCCESSOR IN INTEREST OF
        THE ESTATE OF DELORES
        SILVAS (ASHTON)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.48187 SILVAS, LEONARD JAMES                   VARIOUS                              Wildfire               UNDETERMINED
        (JOSES), AND AS                                                              Litigation
        ADMINISTRATOR AND             ACCOUNT NO.: NOT AVAILABLE
        SUCCESSOR IN INTEREST OF
        THE ESTATE OF DELORES
        SILVAS (ASHTON)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                          Page 6930 of 7835 to Schedule E/F Part 2

      Case: 19-30088           Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 93
                                                       of 578
PG&E Corporation                                                                            Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.48188 SILVAS, LEONARD JAMES                   VARIOUS                              Wildfire               UNDETERMINED
        (JOSES), AND AS                                                              Litigation
        ADMINISTRATOR AND             ACCOUNT NO.: NOT AVAILABLE
        SUCCESSOR IN INTEREST OF
        THE ESTATE OF DELORES
        SILVAS (ASHTON)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48189 SILVER STAR, INC., A                    VARIOUS                              Wildfire               UNDETERMINED
        CORPORATION                                                                  Litigation
        FRANK M. PITRE, STATE BAR     ACCOUNT NO.: NOT AVAILABLE
        NO. 100077
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010


3.48190 SILVER STAR, INC., A                    VARIOUS                              Wildfire               UNDETERMINED
        CORPORATION                                                                  Litigation
        BRIAN PANISH, STATE BAR NO.   ACCOUNT NO.: NOT AVAILABLE
        116060RAHUL RAVIPUDI,
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025


3.48191 SILVER STAR, INC., A                    VARIOUS                              Wildfire               UNDETERMINED
        CORPORATION                                                                  Litigation
        FRANK M. PITRE, STATE BAR     ACCOUNT NO.: NOT AVAILABLE
        NO. 100077
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010




                                          Page 6931 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 94
                                                       of 578
PG&E Corporation                                                                            Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.48192 SILVER STAR, INC., A                    VARIOUS                              Wildfire               UNDETERMINED
        CORPORATION                                                                  Litigation
        BRIAN PANISH, STATE BAR NO.   ACCOUNT NO.: NOT AVAILABLE
        116060RAHUL RAVIPUDI,
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025


3.48193 SILVER STAR, INC., A                    VARIOUS                              Wildfire               UNDETERMINED
        CORPORATION                                                                  Litigation
        MICHAEL A. KELLY, STATE BAR   ACCOUNT NO.: NOT AVAILABLE
        NO. 71460
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108


3.48194 SILVER STAR, INC., A                    VARIOUS                              Wildfire               UNDETERMINED
        CORPORATION                                                                  Litigation
        MICHAEL A. KELLY, STATE BAR   ACCOUNT NO.: NOT AVAILABLE
        NO. 71460
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108


3.48195 SILVERMAN, CYNTHIA                      VARIOUS                              Wildfire               UNDETERMINED
        5021 ODESSA AVE                                                              Litigation
        ENCINO, CA 91436              ACCOUNT NO.: NOT AVAILABLE


3.48196 SILVERMAN, PAULA                        VARIOUS                              Wildfire               UNDETERMINED
        2569 WESTBERRY DR                                                            Litigation
        SANTA ROSA, CA 95403          ACCOUNT NO.: NOT AVAILABLE


3.48197 SILVIA RODRIGUEZ                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                     Litigation
        SBN: 110909ROBERT A.          ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


                                          Page 6932 of 7835 to Schedule E/F Part 2

      Case: 19-30088           Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 95
                                                       of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48198 SILVIA SANTIAGO                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.48199 SILVIA SANTIAGO                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.48200 SILVIA SANTIAGO                           VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.48201 SIMIN GHIASVAND                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.48202 SIMIN GHIASVAND                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.48203 SIMIN GHIASVAND                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.48204 SIMIN GHIASVAND                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.48205 SIMMONS, CATHY                            VARIOUS                              Wildfire               UNDETERMINED
        4770 STONEHEDGE DR.                                                            Litigation
        SANTA ROSA, CA 95405            ACCOUNT NO.: NOT AVAILABLE


                                            Page 6933 of 7835 to Schedule E/F Part 2

      Case: 19-30088           Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 96
                                                         of 578
PG&E Corporation                                                                            Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.48206 SIMMONS, KATHRYN                        VARIOUS                              Wildfire               UNDETERMINED
        1412 SNOWY CLOUD WAY                                                         Litigation
        SANTA ROSA, CA 95409          ACCOUNT NO.: NOT AVAILABLE


3.48207 SIMMONS, MARY                           VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 1362                                                                Litigation
        KENWOOD, CA 95452             ACCOUNT NO.: NOT AVAILABLE


3.48208 SIMMONS, MARY                           VARIOUS                              Wildfire               UNDETERMINED
        2068 SCHULTZ RD                                                              Litigation
        KENWOOD, CA 95452             ACCOUNT NO.: NOT AVAILABLE


3.48209 SIMON J KEMPNER                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                             Litigation
        WALKUP, MELODIA, KELLY &      ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48210 SIMON J KEMPNER                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                        Litigation
        SINGLETONERIKA L.             ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48211 SIMON J KEMPNER                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48212 SIMON J KEMPNER                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                      Litigation
        125868JUSTIN J. EBALLAR,      ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48213 SIMON J KEMPNER                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                    Litigation
        MARTINI                       ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




                                          Page 6934 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 97
                                                       of 578
PG&E Corporation                                                                            Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address       Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                           Account Number                            Claim

Wildfire Claims

3.48214 SIMONA NELSON                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                     Litigation
        J. EBALLAR                    ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.48215 SIMONA NELSON                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.48216 SIMONE ANDERSON                         VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                             Litigation
        ABRAHAM, WATKINS, NICHOLS,    ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.48217 SIMONE ANDERSON                         VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                     Litigation
        AMANWILLIAM P. HARRIS         ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.48218 SIMONE HOPPE                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                            Litigation
        DREYER BABICH BUCCOLA         ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48219 SIMONE HOPPE                            VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                       Litigation
        SHEARJASON BOYER              ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105



                                          Page 6935 of 7835 to Schedule E/F Part 2

      Case: 19-30088          Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 98
                                                       of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.48220 SIMONE HOPPE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.48221 SIMONE HOPPE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48222 SIMONE HOPPE                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.48223 SIMPSON, DUSTIN                            VARIOUS                              Wildfire               UNDETERMINED
        5540 EL ENCANTO DRIVE                                                           Litigation
        SANTA ROSA, CA 95409             ACCOUNT NO.: NOT AVAILABLE


3.48224 SIMPSON, JULIE                             VARIOUS                              Wildfire               UNDETERMINED
        1432 GREAT HERON DR.                                                            Litigation
        SANTA ROSA, CA 95409             ACCOUNT NO.: NOT AVAILABLE


3.48225 SIMPSON, PATRICIA                          VARIOUS                              Wildfire               UNDETERMINED
        30 OLD COACH ROAD                                                               Litigation
        NAPA, CA 94558                   ACCOUNT NO.: NOT AVAILABLE


3.48226 SIMS, SAQUANA                              VARIOUS                              Wildfire               UNDETERMINED
        2022 PIONEER WAY                                                                Litigation
        126                              ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.48227 SINEAD NOONAN                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                            Litigation
        VICEPENDING)JOHN P. FISKE        ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




                                             Page 6936 of 7835 to Schedule E/F Part 2

      Case: 19-30088           Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10         Page 99
                                                          of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48228 SINEAD NOONAN                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.48229 SINEAD NOONAN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.48230 SINEAD NOONAN                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48231 SINEAD NOONAN                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.48232 SINGER, ARIELLE                           VARIOUS                              Wildfire               UNDETERMINED
        4312 SPANISH FLAT LOOP ROAD                                                    Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.48233 SINGER, BEVERLY                           VARIOUS                              Wildfire               UNDETERMINED
        228 MOCKING BIRD CIR                                                           Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE




                                            Page 6937 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       100 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48234 SINGER, DANIEL W.                 VARIOUS                                      Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS                                                          Litigation
        TRUSTEE OF THE DANIEL W.  ACCOUNT NO.: NOT AVAILABLE
        SINGER 2004 SEPARATE
        PROPERTY TRUST DATED
        DECEMBER 21, 2004)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.48235 SINGER, DANIEL W.                         VARIOUS                              Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS                                                          Litigation
        TRUSTEE OF THE DANIEL W.        ACCOUNT NO.: NOT AVAILABLE
        SINGER 2004 SEPARATE
        PROPERTY TRUST DATED
        DECEMBER 21, 2004)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48236 SINGER, DANIEL W.                         VARIOUS                              Wildfire               UNDETERMINED
        (INDIVIDUALLY, AND AS                                                          Litigation
        TRUSTEE OF THE DANIEL W.        ACCOUNT NO.: NOT AVAILABLE
        SINGER 2004 SEPARATE
        PROPERTY TRUST DATED
        DECEMBER 21, 2004)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48237 SINGH, SURJIT; KAUR,                      VARIOUS                              Wildfire               UNDETERMINED
        BIRINDER; SINGH, CHARANJIT;                                                    Litigation
        SINGH, BALJIT (A MINOR, BY      ACCOUNT NO.: NOT AVAILABLE
        AND THROUGH HIS GUARDIAN
        AD LITEM, SURJIT SINGH)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                            Page 6938 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       101 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48238 SINGH, SURJIT; KAUR,                VARIOUS                                    Wildfire               UNDETERMINED
        BIRINDER; SINGH, CHARANJIT;                                                    Litigation
        SINGH, BALJIT (A MINOR, BY  ACCOUNT NO.: NOT AVAILABLE
        AND THROUGH HIS GUARDIAN
        AD LITEM, SURJIT SINGH)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.48239 SINGH, SURJIT; KAUR,                      VARIOUS                              Wildfire               UNDETERMINED
        BIRINDER; SINGH, CHARANJIT;                                                    Litigation
        SINGH, BALJIT (A MINOR, BY      ACCOUNT NO.: NOT AVAILABLE
        AND THROUGH HIS GUARDIAN
        AD LITEM, SURJIT SINGH)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48240 SIOBHAN CECIL EDGAR                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48241 SIOBHAN CECIL EDGAR                       VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.48242 SIOBHAN CECIL EDGAR                       VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48243 SIOBHAN CECIL EDGAR                       VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014



                                            Page 6939 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       102 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48244 SIOBHAN MCGREGOR-GORDON                   VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.48245 SIOBHAN MCGREGOR-GORDON                   VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.48246 SIOBHAN MCGREGOR-GORDON                   VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.48247 SIOBHAN MCGREGOR-GORDON                   VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.48248 SKINNER, JACK                             VARIOUS                              Wildfire               UNDETERMINED
        6367 STONEHEDGE                                                                Litigation
        LOMA RICA, CA 95901             ACCOUNT NO.: NOT AVAILABLE


3.48249 SKYLA KIMBALL                             VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.48250 SKYLA OLDS                           VARIOUS                                   Wildfire               UNDETERMINED
        ELIZABETH J. CABRASERLEXI                                                      Litigation
        J. HAZAMROBERT J.            ACCOUNT NO.: NOT AVAILABLE
        NELSONANNIKA K.
        MARTINABBY R. WOLF
        LIEFF CABRASER HEIMANN &
        BERNSTEIN LLP
        275 BATTERY STREET, 29TH
        FLOOR
        SAN FRANCISCO, CA 94111-3339


                                            Page 6940 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       103 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48251 SKYLER ANN DAWN BELL                      VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.48252 SKYLER ANN DAWN BELL                      VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.48253 SKYLER ANN DAWN BELL                      VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.48254 SKYLER ANN DAWN BELL                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48255 SKYLER DELZELL                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.48256 SKYLER DELZELL                            VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401




                                            Page 6941 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       104 of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.48257 Skyler Lenchner                                VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.48258 SKYLER LENCHNER                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48259 SKYLER LENCHNER                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48260 SKYLER LONDO                                   VARIOUS                              Wildfire               UNDETERMINED
        EUSTACE DE SAINT                                                                    Litigation
        PHALLEJOSEPH R. LUCIA                ACCOUNT NO.: NOT AVAILABLE
        RAINS LUCIA STERN ST.
        PRALLE & SILVER, PC
        2300 CONTRA COSTA BLVD.,
        SUITE 500
        PLEASANT HILL, CA 94523


3.48261 SKYWAY PET HOSPITAL INC.                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                      Litigation
        71460KHALDOUN A. BAGHDADI            ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108



                                                 Page 6942 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                            105 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48262 SKYWAY PET HOSPITAL INC.                  VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                         Litigation
        SHEARJASON BOYER                ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.48263 SKYWAY PET HOSPITAL INC.                  VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48264 SKYWAY PET HOSPITAL INC.                  VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.48265 SKYWAY PET HOSPITAL INC.                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48266 SLADE, LAUREN                             VARIOUS                              Wildfire               UNDETERMINED
        2094 STONEFIELD LANE                                                           Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.48267 SLATER, STEPHEN                           VARIOUS                              Wildfire               UNDETERMINED
        3418 TERRA LINDA DRIVE                                                         Litigation
        SANTA ROSA, CA 95404            ACCOUNT NO.: NOT AVAILABLE


3.48268 SLAVEN, REX                               VARIOUS                              Wildfire               UNDETERMINED
        9450 WEST SIDE RD.                                                             Litigation
        POTTER VALLEY, CA 95469         ACCOUNT NO.: NOT AVAILABLE


3.48269 SLAYTER, DAVID LEE; SLAYTER,              VARIOUS                              Wildfire               UNDETERMINED
        CORDELIA ROSE                                                                  Litigation
        GERARD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                            Page 6943 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       106 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48270 SLAYTER, DAVID LEE; SLAYTER,              VARIOUS                              Wildfire               UNDETERMINED
        CORDELIA ROSE                                                                  Litigation
        ELLIOT ADLERBRITTANY            ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48271 SLAYTER, DAVID LEE; SLAYTER,         VARIOUS                                   Wildfire               UNDETERMINED
        CORDELIA ROSE                                                                  Litigation
        CO-COUNSELDEMETRIOS A.       ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.48272 SLEIGHT, AUTUMN                           VARIOUS                              Wildfire               UNDETERMINED
        3835 SONOMA HIGHWAY                                                            Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.48273 SLOANE MILHOLLAND                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                       Litigation
        SBN: 110909ROBERT A.            ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48274 SLOPOSKY, EMILY                           VARIOUS                              Wildfire               UNDETERMINED
        6004 MONTICELLO RD SPC 50                                                      Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.48275 SMAIL, JACQUALINE                         VARIOUS                              Wildfire               UNDETERMINED
        1441 TWILIGHT PLACE                                                            Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.48276 SMALL, MARGUERITE                         VARIOUS                              Wildfire               UNDETERMINED
        4069 MAHER STREET                                                              Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE




                                            Page 6944 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       107 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48277 SMALL, RICHARD H.                         VARIOUS                              Wildfire               UNDETERMINED
        (INDIVIDUALLY AND AS                                                           Litigation
        TRUSTEE OF THE CORDOVA          ACCOUNT NO.: NOT AVAILABLE
        SMALL FAMILY TRUST)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48278 SMALL, RICHARD H.                         VARIOUS                              Wildfire               UNDETERMINED
        (INDIVIDUALLY AND AS                                                           Litigation
        TRUSTEE OF THE CORDOVA          ACCOUNT NO.: NOT AVAILABLE
        SMALL FAMILY TRUST)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48279 SMALL, RICHARD H.                 VARIOUS                                      Wildfire               UNDETERMINED
        (INDIVIDUALLY AND AS                                                           Litigation
        TRUSTEE OF THE CORDOVA    ACCOUNT NO.: NOT AVAILABLE
        SMALL FAMILY TRUST)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.48280 SMILEY, TABBETHA JEAN                     VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48281 SMILEY, TABBETHA JEAN                     VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48282 SMILEY, TABBETHA JEAN             VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




                                            Page 6945 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       108 of 578
PG&E Corporation                                                                                  Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.48283 SMITH, CATHY                                  VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 435                                                                       Litigation
        DOBBINS, CA 95935                   ACCOUNT NO.: NOT AVAILABLE


3.48284 SMITH, CURTIS                                 VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 1601                                                                      Litigation
        GLEN ELLEN, CA 95442                ACCOUNT NO.: NOT AVAILABLE


3.48285 SMITH, DAVID                                  VARIOUS                              Wildfire               UNDETERMINED
        1915 SPINNAKER PL                                                                  Litigation
        SANTA ROSA, CA 95403                ACCOUNT NO.: NOT AVAILABLE


3.48286 SMITH, DEBORAH                                VARIOUS                              Wildfire               UNDETERMINED
        2133 SLATER STREET                                                                 Litigation
        SANTA ROSA, CA 95404                ACCOUNT NO.: NOT AVAILABLE


3.48287 SMITH, DEBRA                                  VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI AMANDA                                                           Litigation
        L. RIDDLE CLARE CAPACCIOLI          ACCOUNT NO.: NOT AVAILABLE
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48288 SMITH, DEBRA                                  VARIOUS                              Wildfire               UNDETERMINED
        MIKE DANKOKRISTINE                                                                 Litigation
        MEREDITHSHAWN                       ACCOUNT NO.: NOT AVAILABLE
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48289 Smith, Desirae Alyse; Bermingham,             VARIOUS                              Wildfire               UNDETERMINED
        Netaleigh Rae (Minors, By And                                                      Litigation
        Through Their Guardian Ad Litem     ACCOUNT NO.: NOT AVAILABLE
        Desirae Alyse Smith); Bermingham,
        Johan Matthew (Minors, By And
        Through Their Guardian Ad Litem
        Desirae Alyse Smith)
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101




                                                Page 6946 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                           109 of 578
PG&E Corporation                                                                                  Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.48290 Smith, Desirae Alyse; Bermingham,             VARIOUS                              Wildfire               UNDETERMINED
        Netaleigh Rae (Minors, By And                                                      Litigation
        Through Their Guardian Ad Litem     ACCOUNT NO.: NOT AVAILABLE
        Desirae Alyse Smith); Bermingham,
        Johan Matthew (Minors, By And
        Through Their Guardian Ad Litem
        Desirae Alyse Smith)
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.48291 Smith, Desirae Alyse; Bermingham,             VARIOUS                              Wildfire               UNDETERMINED
        Netaleigh Rae (Minors, By And                                                      Litigation
        Through Their Guardian Ad Litem     ACCOUNT NO.: NOT AVAILABLE
        Desirae Alyse Smith); Bermingham,
        Johan Matthew (Minors, By And
        Through Their Guardian Ad Litem
        Desirae Alyse Smith)
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


3.48292 SMITH, EDWARD                                 VARIOUS                              Wildfire               UNDETERMINED
        5241 OLD REDWOOD HWY                                                               Litigation
        SANTA ROSA, CA 95403                ACCOUNT NO.: NOT AVAILABLE


3.48293 SMITH, GERALD (LARRY) AND                     VARIOUS                              Wildfire               UNDETERMINED
        SMITH, BARBARA (BOBBIE)                                                            Litigation
        ELLIOT ADLERBRITTANY                ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48294 SMITH, GERALD (LARRY) AND                     VARIOUS                              Wildfire               UNDETERMINED
        SMITH, BARBARA (BOBBIE)                                                            Litigation
        GERARD SINGLETONERIKA L.            ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48295 SMITH, GERALD (LARRY) AND         VARIOUS                                          Wildfire               UNDETERMINED
        SMITH, BARBARA (BOBBIE)                                                            Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




                                                Page 6947 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                           110 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48296 SMITH, GLENN MAURICE                      VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48297 SMITH, GLENN MAURICE                      VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48298 SMITH, GLENN MAURICE              VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.48299 SMITH, JASON; BRANDON                     VARIOUS                              Wildfire               UNDETERMINED
        SMITH; SHELLY BOWES; JASON                                                     Litigation
        SMITH, JR.; CANDACE SMITH;      ACCOUNT NO.: NOT AVAILABLE
        EDWARD SMITH
        SCOTT SAMMY
        11440 WEST BERNARDO COURT
        SUITE 265
        SAN DIEGO, CA 92127


3.48300 SMITH, JASON; BRANDON                     VARIOUS                              Wildfire               UNDETERMINED
        SMITH; SHELLY BOWES; JASON                                                     Litigation
        SMITH, JR.; CANDACE SMITH;      ACCOUNT NO.: NOT AVAILABLE
        EDWARD SMITH
        JOHN GOMEZ
        655 W BROADWAY
        SUITE 1700
        SAN DIEGO, CA 92101


3.48301 SMITH, JAY R.; EMILY M. HUBBS;         VARIOUS                                 Wildfire               UNDETERMINED
        JAYLN N. SMITH; BELLA CLARK                                                    Litigation
        CO-COUNSELDEMETRIOS A.         ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




                                            Page 6948 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       111 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.48302 SMITH, JAY R.; EMILY M. HUBBS;             VARIOUS                              Wildfire               UNDETERMINED
        JAYLN N. SMITH; BELLA CLARK                                                     Litigation
        GERARD SINGLETONERIKA L.         ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48303 SMITH, JAY R.; EMILY M. HUBBS;             VARIOUS                              Wildfire               UNDETERMINED
        JAYLN N. SMITH; BELLA CLARK                                                     Litigation
        ELLIOT ADLERBRITTANY             ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48304 SMITH, JEFFREY                             VARIOUS                              Wildfire               UNDETERMINED
        2001 RANGE AVE.                                                                 Litigation
        APT. 147                         ACCOUNT NO.: NOT AVAILABLE
        SANAT ROSA, CA 95401


3.48305 SMITH, JOHNNY                              VARIOUS                              Wildfire               UNDETERMINED
        1114 TERRY LN                                                                   Litigation
        21                               ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.48306 SMITH, KELLY                               VARIOUS                              Wildfire               UNDETERMINED
        7700 SONOMA HWY                                                                 Litigation
        SANTA ROSA, CA 95409             ACCOUNT NO.: NOT AVAILABLE


3.48307 SMITH, KIMBERLY ANN                        VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                            Litigation
        ZUMMER                           ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48308 SMITH, KIMBERLY ANN                        VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                        Litigation
        VASQUEZAMANDA LOCUTRO            ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48309 SMITH, KIMBERLY ANN               VARIOUS                                       Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                          Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




                                             Page 6949 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        112 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48310 SMITH, LINDA                              VARIOUS                              Wildfire               UNDETERMINED
        P. O. BOX 75                                                                   Litigation
        POTTER VALLEY, CA 95469         ACCOUNT NO.: NOT AVAILABLE


3.48311 SMITH, LINDA                              VARIOUS                              Wildfire               UNDETERMINED
        10700 MAIN STREET                                                              Litigation
        POTTER VALLEY, CA 95469         ACCOUNT NO.: NOT AVAILABLE


3.48312 SMITH, MERTON                             VARIOUS                              Wildfire               UNDETERMINED
        241 OAK SHADOW DR                                                              Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.48313 SMITH, MICHAEL                            VARIOUS                              Wildfire               UNDETERMINED
        1894 NORTHFIELD DRIVE                                                          Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.48314 SMITH, PAUL                               VARIOUS                              Wildfire               UNDETERMINED
        2483 PLUM MEADOW CT                                                            Litigation
        SANTA ROSA, CA 95404            ACCOUNT NO.: NOT AVAILABLE


3.48315 SMITH, PAULA RAY                          VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48316 SMITH, PAULA RAY                          VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48317 SMITH, PAULA RAY                  VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.48318 SMITH, SCOTT RYAN                         VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                            Page 6950 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       113 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48319 SMITH, SCOTT RYAN                 VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.48320 SMITH, SCOTT RYAN                         VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48321 SMITH, SHERRY                             VARIOUS                              Wildfire               UNDETERMINED
        17277 HILLCREST AVE                                                            Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.48322 SMITH, TIMOTHY                            VARIOUS                              Wildfire               UNDETERMINED
        17805 RIVERSIDE DRIVE                                                          Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.48323 SMITHSON, SOYAJO                          VARIOUS                              Wildfire               UNDETERMINED
        214 SILVERADO SPRINGS DRIVE                                                    Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.48324 SNIDER, CHRISTINE                         VARIOUS                              Wildfire               UNDETERMINED
        130 CALISTOGA ROAD                                                             Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.48325 SNOW, JEFFERY                             VARIOUS                              Wildfire               UNDETERMINED
        6202 MONTECITO BLVD APT 1                                                      Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.48326 SOA VANG                                  VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.48327 SOA VANG                                  VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105

                                            Page 6951 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       114 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48328 SOARES, ARTHUR E., JR. &                  VARIOUS                              Wildfire               UNDETERMINED
        DIANNE                                                                         Litigation
        DARIO DE GHETALDI AMANDA        ACCOUNT NO.: NOT AVAILABLE
        L. RIDDLE CLARE CAPACCIOLI
        VELASQUEZ
        COREY, LUZAICH, DE
        GHETALDL, NASTARI & RIDDLE
        LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48329 SOARES, ARTHUR E., JR. &                  VARIOUS                              Wildfire               UNDETERMINED
        DIANNE                                                                         Litigation
        MIKE DANKOKRISTINE              ACCOUNT NO.: NOT AVAILABLE
        MEREDITHSHAWN
        MILLERBRAD BOWEN
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48330 SOBELMAN, HIDI ROSE                       VARIOUS                              Wildfire               UNDETERMINED
        3435 REDWOOD ROAD                                                              Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.48331 SOCO MUSIC COALITION INC.                 VARIOUS                              Wildfire               UNDETERMINED
        SANDRA RIBERA SPEEDMIA                                                         Litigation
        MATTIS                          ACCOUNT NO.: NOT AVAILABLE
        RIBERA LAW FIRM APC
        157 WEST PORTAL AVENUE,
        SUITE 2
        SAN FRANCISCO, CA 94127


3.48332 SOCORRO ROJAS                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.48333 SOCORRO ROJAS                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




                                            Page 6952 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       115 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48334 SOCORRO ROJAS                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.48335 SOCORRO ROJAS                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.48336 SOCORRO ROJAS                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48337 SODEN, THOMAS                             VARIOUS                              Wildfire               UNDETERMINED
        421 OAK VISTA DRIVE                                                            Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.48338 SOFIA DEFILIPPIS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48339 SOFIA DEFILIPPIS                          VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




                                            Page 6953 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       116 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.48340 SOFIA DEFILIPPIS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.48341 SOFIA DEFILIPPIS                           VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.48342 SOFIA DEFILIPPIS                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48343 SOFIA FOSTER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                             Litigation
        MICHAEL S. FEINBERG, APLC        ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.48344 SOFIA FOSTER                               VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                   Litigation
        TOSDAL LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.48345 SOFIA FOSTER                               VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                        Litigation
        60768GAYLE M. BLATT, SBN         ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101




                                             Page 6954 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        117 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48346 SOFIA LUECK                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.48347 SOFIA LUECK                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.48348 SOFIA LUECK                               VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.48349 SOFIA LUECK                               VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48350 SOFIA LUECK                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




                                            Page 6955 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       118 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48351 SOFIE DOLAN                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.48352 SOFIE DOLAN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.48353 SOFIE DOLAN                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.48354 SOKOL, RICHARD                            VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 983                                                                     Litigation
        VACAVILLE, CA 95696             ACCOUNT NO.: NOT AVAILABLE


3.48355 SOLANO, RAFAEL                            VARIOUS                              Wildfire               UNDETERMINED
        1621 LANCE DR                                                                  Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE


3.48356 SOLAR, JOSEPH                             VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




                                            Page 6956 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       119 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48357 SOLAR, JOSEPH                             VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48358 SOLAR, JOSEPH                     VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.48359 SOLIS, LORI                               VARIOUS                              Wildfire               UNDETERMINED
        531 BROADWAY                                                                   Litigation
        SONOMA, CA 95467                ACCOUNT NO.: NOT AVAILABLE


3.48360 SOLIS, LORI                               VARIOUS                              Wildfire               UNDETERMINED
        531 BROADWAY                                                                   Litigation
        SONOMA, CA 95467                ACCOUNT NO.: NOT AVAILABLE


3.48361 SOLLIDAY, HILDE B.                        VARIOUS                              Wildfire               UNDETERMINED
        (BARRETTO); OTTINGER, BRYAN                                                    Litigation
        (BURICH)                        ACCOUNT NO.: NOT AVAILABLE
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48362 SOLLIDAY, HILDE B.                        VARIOUS                              Wildfire               UNDETERMINED
        (BARRETTO); OTTINGER, BRYAN                                                    Litigation
        (BURICH)                        ACCOUNT NO.: NOT AVAILABLE
        DARIO DE GHETALDIAMANDA
        L. RIDDLECLARE CAPACCIOLI
        VELASQUEZ
        700 EL CAMINO REAL
        P.O BOX 669
        MILLBRAE, CA


3.48363 SOLORIO, MANUEL                           VARIOUS                              Wildfire               UNDETERMINED
        1424 OAK ST                                                                    Litigation
        CALISTOGA, CA 94515             ACCOUNT NO.: NOT AVAILABLE




                                            Page 6957 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       120 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48364 SOLSKI, RONALD W. AND                     VARIOUS                              Wildfire               UNDETERMINED
        SOLSKI, JUDY M. (INDIVIDUALLY                                                  Litigation
        AND AS TRUSTEES OF THE          ACCOUNT NO.: NOT AVAILABLE
        RONALD W. SOLSKI AND JUDY
        M. SOLSKI 1999 REVOCABLE
        TRUST)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48365 SOLSKI, RONALD W. AND                 VARIOUS                                  Wildfire               UNDETERMINED
        SOLSKI, JUDY M. (INDIVIDUALLY                                                  Litigation
        AND AS TRUSTEES OF THE        ACCOUNT NO.: NOT AVAILABLE
        RONALD W. SOLSKI AND JUDY
        M. SOLSKI 1999 REVOCABLE
        TRUST)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.48366 SOLSKI, RONALD W. AND                     VARIOUS                              Wildfire               UNDETERMINED
        SOLSKI, JUDY M. (INDIVIDUALLY                                                  Litigation
        AND AS TRUSTEES OF THE          ACCOUNT NO.: NOT AVAILABLE
        RONALD W. SOLSKI AND JUDY
        M. SOLSKI 1999 REVOCABLE
        TRUST)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48367 SOMBON, ROCHELLE                          VARIOUS                              Wildfire               UNDETERMINED
        1763 SHELLEY DR                                                                Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE


3.48368 SOMCHAI TUANTHET                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




                                            Page 6958 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       121 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48369 SOMCHAI TUANTHET                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48370 SOMCHAI TUANTHET                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48371 SOMCHAI TUANTHET                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48372 SOMERMEIER, AIMEE                         VARIOUS                              Wildfire               UNDETERMINED
        2527 WESTBERRY DR                                                              Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.48373 SOMERSTON WINE COMPANY,                   VARIOUS                              Wildfire               UNDETERMINED
        GREG MCKEOWN                                                                   Litigation
        3450 SAGE CANYON ROAD           ACCOUNT NO.: NOT AVAILABLE
        ST HELENA, CA 94574


3.48374 SOMNAME, NARAYAN                          VARIOUS                              Wildfire               UNDETERMINED
        14301 ARNOLD DR                                                                Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.48375 SOMNAME, NARAYAN                          VARIOUS                              Wildfire               UNDETERMINED
        190 FARMERS LANE                                                               Litigation
        SANTA ROSA, CA 95405            ACCOUNT NO.: NOT AVAILABLE


3.48376 SONDRA HARLAN                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                            Page 6959 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       122 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.48377 SONDRA HARLAN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48378 SONDRA HARLAN                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.48379 SONDRA HARLAN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.48380 SONDRA HARLAN                              VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.48381 SONEKEO, CORRINE                           VARIOUS                              Wildfire               UNDETERMINED
        1596 YARDLEY STREET                                                             Litigation
        SANTA ROSA, CA 95403             ACCOUNT NO.: NOT AVAILABLE


3.48382 SONIA HILTON                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                             Page 6960 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        123 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48383 SONIA HILTON                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48384 SONIA HILTON                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48385 SONIA HILTON                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48386 SONJA DEBRUNNER                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48387 SONJA DEBRUNNER                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




                                            Page 6961 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       124 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48388 SONJA DEBRUNNER                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48389 SONJA DEBRUNNER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48390 SONJA DEBRUNNER                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.48391 SONJA HAGY                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48392 SONJA HAGY                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48393 SONJA HAGY                                VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48394 SONJA HAGY                                VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403




                                            Page 6962 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       125 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48395 SONJA HAGY                                VARIOUS                              Wildfire               UNDETERMINED
        KEVIN 0. MOON, STATE BAR                                                       Litigation
        NO. 246792CHRISTOPHER D.        ACCOUNT NO.: NOT AVAILABLE
        MOON, STATE BAR NO. 246622
        MOON LAW APC
        499 SEAPORT COURT, SUITE 200
        REDWOOD CITY, CALIFORNIA
        94063


3.48396 SONOMA COUNTY                             VARIOUS                              Wildfire               UNDETERMINED
        AGRICULTURAL PRESERVATION                                                      Litigation
        AND OPEN SPACE DISTRICT         ACCOUNT NO.: NOT AVAILABLE
        SCOTT SUMMY (PRO HAC
        VICEPENDING)JOHN P.
        FISKETORRI SHERLIN
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.48397 SONOMA COUNTY                             VARIOUS                              Wildfire               UNDETERMINED
        AGRICULTURAL PRESERVATION                                                      Litigation
        AND OPEN SPACE DISTRICT         ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, ESQ.
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.48398 SONOMA COUNTY                             VARIOUS                              Wildfire               UNDETERMINED
        AGRICULTURAL PRESERVATION                                                      Litigation
        AND OPEN SPACE DISTRICT         ACCOUNT NO.: NOT AVAILABLE
        GERALD SINGLETONERIKA L.
        VASQUEZ AMANDA LOCURTO
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.48399 SONOMA COUNTY                             VARIOUS                              Wildfire               UNDETERMINED
        AGRICULTURAL PRESERVATION                                                      Litigation
        AND OPEN SPACE DISTRICT         ACCOUNT NO.: NOT AVAILABLE
        JOHN F. MCGUIRE, JR., ESQ.

       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103




                                            Page 6963 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       126 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48400 Sonoma County Agricultural                 VARIOUS                             Wildfire               UNDETERMINED
        Preservation and Open Space                                                    Litigation
        District                           ACCOUNT NO.: NOT AVAILABLE
        Bruce D. GoldsteinCounty
        CounselDebbie F. Latham Chief
        Deputy County CounselPetra
        BruggisserDeputy County Counsel
        Office of the County Counsel
        575 Administration Drive, Room 105
        Santa Rosa, California 95403-2815


3.48401 SONOMA COUNTY                             VARIOUS                              Wildfire               UNDETERMINED
        AGRICULTURAL PRESERVATION                                                      Litigation
        AND OPEN SPACE DISTRICT         ACCOUNT NO.: NOT AVAILABLE
        AHMED S. DIABDEBORAH S.
        DIXONROBERT J. CHAMBERS II
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48402 Sonoma County Community                    VARIOUS                             Wildfire               UNDETERMINED
        Development Commission                                                         Litigation
        Bruce D. GoldsteinCounty           ACCOUNT NO.: NOT AVAILABLE
        CounselDebbie F. Latham Chief
        Deputy County CounselPetra
        BruggisserDeputy County Counsel
        Office of the County Counsel
        575 Administration Drive, Room 105
        Santa Rosa, California 95403-2815


3.48403 SONOMA COUNTY COMMUNITY                   VARIOUS                              Wildfire               UNDETERMINED
        DEVELOPMENT COMMISSION                                                         Litigation
        SCOTT SUMMY (PRO HAC            ACCOUNT NO.: NOT AVAILABLE
        VICEPENDING)JOHN P.
        FISKETORRI SHERLIN
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.48404 SONOMA COUNTY COMMUNITY                   VARIOUS                              Wildfire               UNDETERMINED
        DEVELOPMENT COMMISSION                                                         Litigation
        GERALD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZ AMANDA LOCURTO
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.48405 SONOMA COUNTY COMMUNITY                   VARIOUS                              Wildfire               UNDETERMINED
        DEVELOPMENT COMMISSION                                                         Litigation
        TERRY SINGLETON, ESQ.           ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101



                                            Page 6964 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       127 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48406 SONOMA COUNTY COMMUNITY                   VARIOUS                              Wildfire               UNDETERMINED
        DEVELOPMENT COMMISSION                                                         Litigation
        JOHN F. MCGUIRE, JR., ESQ.      ACCOUNT NO.: NOT AVAILABLE

       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.48407 SONOMA COUNTY COMMUNITY                   VARIOUS                              Wildfire               UNDETERMINED
        DEVELOPMENT COMMISSION                                                         Litigation
        AHMED S. DIABDEBORAH S.         ACCOUNT NO.: NOT AVAILABLE
        DIXONROBERT J. CHAMBERS II
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48408 SONOMA COUNTY WATER                       VARIOUS                              Wildfire               UNDETERMINED
        AGENCY                                                                         Litigation
        SCOTT SUMMY (PRO HAC            ACCOUNT NO.: NOT AVAILABLE
        VICEPENDING)JOHN P.
        FISKETORRI SHERLIN
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.48409 SONOMA COUNTY WATER                       VARIOUS                              Wildfire               UNDETERMINED
        AGENCY                                                                         Litigation
        BRUCE D. GOLDSTEINCOUNTY        ACCOUNT NO.: NOT AVAILABLE
        COUNSELDEBBIE F. LATHAM

       CHIEF DEPUTY COUNTY
       COUNSELPETRA
       BRUGGISSERDEPUTY
       COUNTY COUNSEL
       OFFICE OF THE COUNTY
       COUNSEL
       575 ADMINISTRATION DRIVE,
       ROOM 105
       SANTA ROSA, CALIFORNIA
       95403-2815


3.48410 SONOMA COUNTY WATER                       VARIOUS                              Wildfire               UNDETERMINED
        AGENCY                                                                         Litigation
        GERALD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZ AMANDA LOCURTO
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075




                                            Page 6965 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       128 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48411 SONOMA COUNTY WATER                       VARIOUS                              Wildfire               UNDETERMINED
        AGENCY                                                                         Litigation
        TERRY SINGLETON, ESQ.           ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.48412 SONOMA COUNTY WATER                       VARIOUS                              Wildfire               UNDETERMINED
        AGENCY                                                                         Litigation
        JOHN F. MCGUIRE, JR., ESQ.      ACCOUNT NO.: NOT AVAILABLE

       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.48413 SONOMA COUNTY WATER                       VARIOUS                              Wildfire               UNDETERMINED
        AGENCY                                                                         Litigation
        AHMED S. DIABDEBORAH S.         ACCOUNT NO.: NOT AVAILABLE
        DIXONROBERT J. CHAMBERS II
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48414 SONOMA VALLEY COUNTY                      VARIOUS                              Wildfire               UNDETERMINED
        SANITATION DISTRICT                                                            Litigation
        TERRY SINGLETON, ESQ.           ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.48415 SONOMA VALLEY COUNTY                      VARIOUS                              Wildfire               UNDETERMINED
        SANITATION DISTRICT                                                            Litigation
        GERALD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZ AMANDA LOCURTO
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.48416 SONOMA VALLEY COUNTY                      VARIOUS                              Wildfire               UNDETERMINED
        SANITATION DISTRICT                                                            Litigation
        AHMED S. DIABDEBORAH S.         ACCOUNT NO.: NOT AVAILABLE
        DIXONROBERT J. CHAMBERS II
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




                                            Page 6966 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       129 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48417 Sonoma Valley County Sanitation            VARIOUS                             Wildfire               UNDETERMINED
        District                                                                       Litigation
        Bruce D. GoldsteinCounty           ACCOUNT NO.: NOT AVAILABLE
        CounselDebbie F. Latham Chief
        Deputy County CounselPetra
        BruggisserDeputy County Counsel
        Office of the County Counsel
        575 Administration Drive, Room 105
        Santa Rosa, California 95403-2815


3.48418 SONOMA VALLEY COUNTY                      VARIOUS                              Wildfire               UNDETERMINED
        SANITATION DISTRICT                                                            Litigation
        SCOTT SUMMY (PRO HAC            ACCOUNT NO.: NOT AVAILABLE
        VICEPENDING)JOHN P.
        FISKETORRI SHERLIN
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.48419 SONOMA VALLEY COUNTY                      VARIOUS                              Wildfire               UNDETERMINED
        SANITATION DISTRICT                                                            Litigation
        JOHN F. MCGUIRE, JR., ESQ.      ACCOUNT NO.: NOT AVAILABLE

       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.48420 SONOMA VALLEY FITNESS-                    VARIOUS                              Wildfire               UNDETERMINED
        ZARRAGOZA, JUAN                                                                Litigation
        17465 SONOMA HWY                ACCOUNT NO.: NOT AVAILABLE
        SONOMA, CA 95476


3.48421 SONYA PEREZ                               VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.48422 SONYA PEREZ                               VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401




                                            Page 6967 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       130 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48423 SONYA SWEENEY                             VARIOUS                              Wildfire               UNDETERMINED
        C. BROOKS CUTTERJOHN G.                                                        Litigation
        ROUSSASMATTHEW M.               ACCOUNT NO.: NOT AVAILABLE
        BREINING
        CUTTER LAW P.C.
        401 WATT AVENUE
        SACRAMENTO, CA 95864


3.48424 SOPALLIN KHOUNN                           VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.48425 SOPER, ROBERT                             VARIOUS                              Wildfire               UNDETERMINED
        1091A LA GRANDE AVE                                                            Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.48426 SOPHIA ACEVES                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP MELODIA KELLY &          ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48427 SOPHIA ACEVES                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE JOSEPH W.                                                       Litigation
        COTCHETTALISON E.               ACCOUNT NO.: NOT AVAILABLE
        CORDOVAABIGAIL D.
        BLODGETT
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.48428 SOPHIA ACEVES                             VARIOUS                              Wildfire               UNDETERMINED
        BRENDAN M. KUNKLEMICHAEL                                                       Litigation
        D. GREENSCOTT R.                ACCOUNT NO.: NOT AVAILABLE
        MONTGOMERY
        ABBEY, WEITZENBERG,
        WARREN & EMERY, PC
        100 STONY POINT RD, SUITE 200
        SANTA ROSA, CA 95401




                                            Page 6968 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       131 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48429 SOPHIA ACEVES                             VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. PANISH                                                                Litigation
        PANISH SHEA & BOYLE, LLP        ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.48430 SOPHIA ACEVES                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48431 SOPHIA CORBETT                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48432 SOPHIA CORBETT                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48433 SOPHIA CORBETT                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48434 SOPHIA CORBETT                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48435 SOPHIA CORBETT                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


                                            Page 6969 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       132 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48436 SOPHIA FORBIS                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.48437 SOPHIA FORBIS                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.48438 SOPHIA FORBIS                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.48439 SOPHIA FORBIS                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.48440 SOPHIA GOSPE                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNS JONATHAN                                                        Litigation
        E. DAVIS KEVIN M. OSBORNE       ACCOUNT NO.: NOT AVAILABLE

       SHOUNAK S. DHARAP
       THE ARNS LAW FIRM A
       PROFESSIONAL CORPORATION
       515 FOLSOM STREET, 3RD
       FLOOR
       SAN FRANCISCO, CALIFORNIA
       94105


3.48441 SOPHIA GOSPE                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERRENCE                                                       Litigation
        D. EDWARDS                      ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CA 94104




                                            Page 6970 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       133 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48442 SOPHIA LOPEZ                              VARIOUS                              Wildfire               UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                     Litigation
        54426) DANIEL S. ROBINSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.48443 SOPHIA LOPEZ                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48444 SOPHIA LOPEZ                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48445 SOPHIA LOPEZ                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48446 SOPHIA LOPEZ                              VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.48447 SOPHIA LOPEZ                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024




                                            Page 6971 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       134 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48448 SOPHIA LOPEZ                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.48449 SOPHIA NIEHAGE                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.48450 SOPHIA NIEHAGE                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.48451 SOPHIA RITCHER-CZLONKA,                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.48452 SOPHIA RITCHER-CZLONKA,                   VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612




                                            Page 6972 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       135 of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.48453 Sophia Ritcher-Czlonka,                        VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Sumble Manzoor- Bar No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.48454 SOPHIA RODRIGUEZ                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                                Litigation
        VICEPENDING)JOHN P. FISKE            ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.48455 SOPHIA RODRIGUEZ                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                               Litigation
        208783)ERIKA L. VASQUEZ              ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.48456 SOPHIA RODRIGUEZ                               VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                                  Litigation
        262319)DEBORAH S. DIXON              ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48457 SOPHIA RODRIGUEZ                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                          Litigation
        (SBN 69176)IAN C.                    ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




                                                 Page 6973 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13          Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                            136 of 578
PG&E Corporation                                                                                  Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.48458 SOPHIA RODRIGUEZ                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                         Litigation
        583 I 6)                            ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.48459 SOPHIE PETTIGREEN                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                                   Litigation
        ABRAHAM, WATKINS, NICHOLS,          ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.48460 SOPHIE PETTIGREEN                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                           Litigation
        AMANWILLIAM P. HARRIS               ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.48461 Soracco, Sam L.; Soracco, Genelle             VARIOUS                              Wildfire               UNDETERMINED
        M. (Joses); Soracco, Vinnie                                                        Litigation
        Samuel, (A Minor, By And Through    ACCOUNT NO.: NOT AVAILABLE
        His Guardian Ad Litem, Gennelle
        M. Soracco) (Ashton)
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.48462 SORACCO, SAM L.; SORACCO,                     VARIOUS                              Wildfire               UNDETERMINED
        GENELLE M. (JOSES);                                                                Litigation
        SORACCO, VINNIE SAMUEL, (A          ACCOUNT NO.: NOT AVAILABLE
        MINOR, BY AND THROUGH HIS
        GUARDIAN AD LITEM,
        GENNELLE M. SORACCO)
        (ASHTON)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




                                                Page 6974 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                           137 of 578
PG&E Corporation                                                                                  Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.48463 Soracco, Sam L.; Soracco, Genelle             VARIOUS                              Wildfire               UNDETERMINED
        M. (Joses); Soracco, Vinnie                                                        Litigation
        Samuel, (A Minor, By And Through    ACCOUNT NO.: NOT AVAILABLE
        His Guardian Ad Litem, Gennelle
        M. Soracco) (Ashton)
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.48464 SORAYA MAHMOUD                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                   Litigation
        WALKUP, MELODIA, KELLY &            ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48465 SORAYA MAHMOUD                                VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                            Litigation
        125868JUSTIN J. EBALLAR,            ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48466 SORAYA MAHMOUD                                VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                              Litigation
        SINGLETONERIKA L.                   ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48467 SORAYA MAHMOUD                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                             Litigation
        DOMENIC MARTINI                     ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.48468 SORAYA MAHMOUD                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                  Litigation
        DREYER BABICH BUCCOLA               ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                                Page 6975 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                           138 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48469 SOTO, MARGARITA                           VARIOUS                              Wildfire               UNDETERMINED
        2840 APPLE VALLEY LN                                                           Litigation
        1                               ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.48470 SOTO, MARIA                               VARIOUS                              Wildfire               UNDETERMINED
        600 LOUISE WAY #315                                                            Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.48471 SOTO, MARY                                VARIOUS                              Wildfire               UNDETERMINED
        4067 TOKAY DRIVE                                                               Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.48472 SOTO, SILVIA                              VARIOUS                              Wildfire               UNDETERMINED
        18317 LUCAS AVE                                                                Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.48473 SOTOPOMEROY, YVONNE                       VARIOUS                              Wildfire               UNDETERMINED
        963 MARTIN STREET                                                              Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.48474 SOUKUP, MICHAEL FABIAN                    VARIOUS                              Wildfire               UNDETERMINED
        16964 FALCON LANE                                                              Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.48475 SOULIER, MARISA                           VARIOUS                              Wildfire               UNDETERMINED
        200 ELAINE'S WAY                                                               Litigation
        203                             ACCOUNT NO.: NOT AVAILABLE
        SONOMA, CA 95476


3.48476 SOULSBURG, GREG                           VARIOUS                              Wildfire               UNDETERMINED
        1232 DARLING STREET                                                            Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.48477 SOUSA, ROBYN                              VARIOUS                              Wildfire               UNDETERMINED
        6456 RANGER CT.                                                                Litigation
        MAGALIA, CA 95954               ACCOUNT NO.: NOT AVAILABLE


3.48478 SOUZA, ANDREW                             VARIOUS                              Wildfire               UNDETERMINED
        14706 BRIARWOOD DR                                                             Litigation
        MAGALIA, CA 95954               ACCOUNT NO.: NOT AVAILABLE


3.48479 SOVUTHY RAMOS                             VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704

                                            Page 6976 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       139 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48480 SOVUTHY RAMOS                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.48481 SOVUTHY RAMOS                             VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.48482 SPARK, BONNIE                             VARIOUS                              Wildfire               UNDETERMINED
        18299 MARIPOSA CREEK ROAD                                                      Litigation
        WILLITS, CA 95490               ACCOUNT NO.: NOT AVAILABLE


3.48483 SPARKS, KEVIN; SPARKS,            VARIOUS                                      Wildfire               UNDETERMINED
        MARNI; SPARKS, SPENCER                                                         Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.48484 SPARKS, KEVIN; SPARKS,                    VARIOUS                              Wildfire               UNDETERMINED
        MARNI; SPARKS, SPENCER                                                         Litigation
        ELLIOT ADLERBRITTANY            ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48485 SPARKS, KEVIN; SPARKS,                    VARIOUS                              Wildfire               UNDETERMINED
        MARNI; SPARKS, SPENCER                                                         Litigation
        GERARD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48486 SPARKS, RICK                              VARIOUS                              Wildfire               UNDETERMINED
        3657 BANYAN PL                                                                 Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.48487 SPEAR, JEFF                               VARIOUS                              Wildfire               UNDETERMINED
        17675 ARNOLD DR                                                                Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.48488 SPEAR, JEFF                               VARIOUS                              Wildfire               UNDETERMINED
        17675 ARNOLD DR                                                                Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE

                                            Page 6977 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       140 of 578
PG&E Corporation                                                                                    Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:         List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address               Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.48489 SPENCER EVANKO                                  VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                            Litigation
        BAR #104975)                          ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.48490 SPENCER EVANKO                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                             Litigation
        A. BAGHDADIDORIS                      ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48491 Spencer Humphrey                                VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                         Litigation
        application anticipated)Guy           ACCOUNT NO.: NOT AVAILABLE
        Watts, II (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.48492 SPENCER HUMPHREY                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                             Litigation
        NO. 197687)                           ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.48493 SPENCER NOWLIN                                  VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                              Litigation
        WEAVER                                ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.48494 SPENCER NOWLIN                                  VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                         Litigation
        SCHACKNATASHA N. SERINO               ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127



                                                  Page 6978 of 7835 to Schedule E/F Part 2

          Case: 19-30088             Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                             141 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48495 SPENCER NOWLIN                            VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.48496 SPENCER, ERIKA                            VARIOUS                              Wildfire               UNDETERMINED
        2417 REDOAK COURT                                                              Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.48497 SPENCER, KAMMY                            VARIOUS                              Wildfire               UNDETERMINED
        1466 SALVADOR AVE                                                              Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.48498 SPENCER, NANCY                            VARIOUS                              Wildfire               UNDETERMINED
        908 SHADOW RANCH RD                                                            Litigation
        ROSEBURG, CA 97470              ACCOUNT NO.: NOT AVAILABLE


3.48499 SPITZ, HARRIET                            VARIOUS                              Wildfire               UNDETERMINED
        108 AUTUMN RUN WAY                                                             Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.48500 SPITZ, HARRIET AND MARTY                  VARIOUS                              Wildfire               UNDETERMINED
        108 AUTUMN RUN WAY                                                             Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.48501 SPRAYBERRY, SANGCHAN; YI YA         VARIOUS                                    Wildfire               UNDETERMINED
        DANIEL G. WHALEN                                                               Litigation
        ENGSTROM LIPSCOMB & LACK    ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.48502 SPRING VALLEY RANCH                       VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.48503 SPRING VALLEY RANCH                       VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                         Litigation
        SHEARJASON BOYER                ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105

                                            Page 6979 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       142 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.48504 SPRING VALLEY RANCH                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48505 SPRING VALLEY RANCH                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48506 SPRING VALLEY RANCH                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.48507 SPRINKLE, ROB                              VARIOUS                              Wildfire               UNDETERMINED
        1728 WALNUT CREEK DR.                                                           Litigation
        SANTA ROSA, CA 95403             ACCOUNT NO.: NOT AVAILABLE


3.48508 SQUIRES, ROBERT                            VARIOUS                              Wildfire               UNDETERMINED
        3111 PASEO GRANADA                                                              Litigation
        PLEASANTON, CA 94566             ACCOUNT NO.: NOT AVAILABLE


3.48509 SROR KAT-KUOY                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.48510 SROR KAT-KUOY                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                        Litigation
        J. EBALLAR                       ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024



                                             Page 6980 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        143 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48511 ST PAUL FIRE AND MARINE                   VARIOUS                              Wildfire               UNDETERMINED
        A. SCOTT LOEWE,                                                                Litigation
        #230606MARIE BAUMAN.            ACCOUNT NO.: NOT AVAILABLE
        #252584PA1RICK Y. HOWELL,
        #298296
        BAUMAN LOEWE WITT &
        MAXWELL, PLLC
        8765 E. BELL ROAD, SUITE 210
        SCOTTSDALE, AZ 85265


3.48512 ST. CLAIR, KATHLEEN                       VARIOUS                              Wildfire               UNDETERMINED
        337 GATE WAY                                                                   Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE


3.48513 STAATERMAN, ROBERT ALAN;          VARIOUS                                      Wildfire               UNDETERMINED
        STAATERMAN, ROBYN SUSAN                                                        Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.48514 STAATERMAN, ROBERT ALAN;                  VARIOUS                              Wildfire               UNDETERMINED
        STAATERMAN, ROBYN SUSAN                                                        Litigation
        ELLIOT ADLERBRITTANY            ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48515 STAATERMAN, ROBERT ALAN;                  VARIOUS                              Wildfire               UNDETERMINED
        STAATERMAN, ROBYN SUSAN                                                        Litigation
        GERARD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48516 STACE STANLEY,                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




                                            Page 6981 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       144 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48517 STACE STANLEY,                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.48518 STACE STANLEY,                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.48519 STACEY BARBARA COOK                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48520 STACEY BARBARA COOK                       VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.48521 STACEY BARBARA COOK                       VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




                                            Page 6982 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       145 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48522 STACEY BARBARA COOK                       VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.48523 STACEY BIAGI                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP.
        400 WATT AVENUE
        SACRAMENTO, CA 95864


3.48524 STACEY BIAGI                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT JACKSONBRETT R.                                                         Litigation
        PARKISONDANIEL PASSMORE         ACCOUNT NO.: NOT AVAILABLE
        JACKSON & PARKISON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALBROOK, CA 92028


3.48525 STACEY BIAGI                              VARIOUS                              Wildfire               UNDETERMINED
        DEMAS LAW GROUP, P.C                                                           Litigation
        701 HOWE AVENUE, SUITE A-1      ACCOUNT NO.: NOT AVAILABLE
        SACRAMENTO
        CA, 95825


3.48526 STACEY L. WINDLE                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.48527 STACEY L. WINDLE                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48528 STACEY L. WINDLE                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


                                            Page 6983 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       146 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48529 STACEY L. WINDLE                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48530 STACEY L. WINDLE                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48531 STACEY VERMILLION                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48532 STACEY VERMILLION                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48533 STACEY VERMILLION                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48534 STACEY VERMILLION                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




                                            Page 6984 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       147 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48535 STACEY VERMILLION                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.48536 STACEY ZUCCOLILLO                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48537 STACEY ZUCCOLILLO                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48538 STACEY ZUCCOLILLO                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48539 STACEY ZUCCOLILLO                         VARIOUS                              Wildfire               UNDETERMINED
        J. GARY GWILLIAMRANDALL E.                                                     Litigation
        STRAUSS                         ACCOUNT NO.: NOT AVAILABLE
        GWILLIAM, IVARY, CHIOSSO,
        CAVALLI & BREWER
        1999 HARRISON STREET, SUITE
        1600
        OAKLAND, CA 94612


3.48540 STACEY ZUCCOLILLO                         VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403




                                            Page 6985 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       148 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48541 STACIE HERNANDEZ                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.48542 STACIE HERNANDEZ                          VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.48543 STACIE M MILLER                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.48544 STACIE M MILLER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48545 STACIE M MILLER                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48546 STACIE M MILLER                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




                                            Page 6986 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       149 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48547 STACIE M MILLER                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48548 STACIE MURPHY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48549 STACIE MURPHY                             VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.48550 STACIE MURPHY                             VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48551 STACIE MURPHY                             VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.48552 STACY B. PHILLIPS                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590




                                            Page 6987 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       150 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48553 STACY B. PHILLIPS                         VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.48554 STACY B. PHILLIPS                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48555 STACY B. PHILLIPS                         VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.48556 STACY DEFRIETAS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48557 STACY DEFRIETAS                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.48558 STACY DEFRIETAS                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




                                            Page 6988 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       151 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48559 STACY DEFRIETAS                           VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.48560 STACY LAZZARINO                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48561 STACY LAZZARINO                           VARIOUS                              Wildfire               UNDETERMINED
        RONALD L.M. GOLDMAN, ESQ.                                                      Litigation
        (STATE BAR #33422) DIANE        ACCOUNT NO.: NOT AVAILABLE
        MARGER MOORE, ESQ. (FLA.
        BAR #268364) (PRO HAE VICE
        APPLICATION PENDING)
        BAUM HEDLUND ARISTEI &
        GOLDMAN, P.C.
        10940 WILSHIRE BOULEVARD.,
        17TH FLOOR
        LOS ANGELES, CALIFORNIA
        90024


3.48562 STACY LAZZARINO                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.48563 STACY LAZZARINO                           VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                         Litigation
        (STATE BAR #103252)BRIANNA      ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.48564 STACY LAZZARINO                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                            Page 6989 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       152 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48565 STACY MILLER-CULLEN                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAELA. KELLY (SBN 71460)                                                    Litigation
        WALKUP MELODIA KELLY&           ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48566 STACY MILLER-CULLEN                       VARIOUS                              Wildfire               UNDETERMINED
        BRIANJ. PANISH (SBN 116060)                                                    Litigation
        PANISH SHEA &BOYLE, LLP         ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.48567 STACY MILLER-CULLEN                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48568 STACY MILLER-CULLEN                       VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE (SBN                                                            Litigation
        100077)ALISON E. CORDOVA        ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGA, CALIFORNIA 94111


3.48569 STACY PENN                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48570 STACY PENN                                VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




                                            Page 6990 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       153 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.48571 STACY PENN                                 VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48572 STACY PENN                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.48573 STACY PENN                                 VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.48574 STACY WATSON                               VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                          Litigation
        BOLDT                            ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.48575 STACY WATSON                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                        Litigation
        NO. 197687)                      ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.48576 STACY WATSON                               VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                      Litigation
        HANSEN & MILLER LAW FIRM         ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403




                                             Page 6991 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        154 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48577 STACY WINDLE                              VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.48578 STACY WINDLE                              VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48579 STACY WINDLE                              VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.48580 STACY WINDLE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48581 STAFFORD, WILLIAM SAMUEL                  VARIOUS                              Wildfire               UNDETERMINED
        (NORFOLK); FERRETTI, HATTIE                                                    Litigation
        LUCILLE (JOSES)                 ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48582 STAFFORD, WILLIAM SAMUEL            VARIOUS                                    Wildfire               UNDETERMINED
        (NORFOLK); FERRETTI, HATTIE                                                    Litigation
        LUCILLE (JOSES)             ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101



                                            Page 6992 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       155 of 578
PG&E Corporation                                                                                  Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.48583 STAFFORD, WILLIAM SAMUEL                      VARIOUS                              Wildfire               UNDETERMINED
        (NORFOLK); FERRETTI, HATTIE                                                        Litigation
        LUCILLE (JOSES)                     ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48584 STALLCUP, JOHN                                VARIOUS                              Wildfire               UNDETERMINED
        3513 FOXRIDGE                                                                      Litigation
        NAPA, CA 94558                      ACCOUNT NO.: NOT AVAILABLE


3.48585 STALLINGS, VIRGINIA                           VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 721                                                                       Litigation
        FOREST RANCH, CA 95942              ACCOUNT NO.: NOT AVAILABLE


3.48586 Stamatina Meek                                VARIOUS                              Wildfire               UNDETERMINED
        Elizabeth J. Cabraser (State Bar                                                   Litigation
        No. 083151) Robert J. Nelson        ACCOUNT NO.: NOT AVAILABLE
        (State Bar No. 132797) Lexi J.
        Hazam (State Bar No. 224457)
        Fabrice N. Vincent (State Bar No.
        160780) Abby R. Wolf(State Bar
        No. 313049)
        Lieff Cabraser Heimann &
        Bernstein, LLP
        275 Battery Street, 29th Floor
        San Francisco, CA 94111-3339


3.48587 STAN COMMERFORD                               VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                           Litigation
        BRYSONKEVIN M. POLLACK              ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.48588 STAN COMMERFORD                               VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                    Litigation
        EDGAR LAW FIRM                      ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.48589 STAN GRAVES CERAMIC TILE                      VARIOUS                              Wildfire               UNDETERMINED
        GAVES                                                                              Litigation
        P.O BOX 36220                       ACCOUNT NO.: NOT AVAILABLE
        PARADSISE, CA 95969




                                                Page 6993 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                           156 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48590 STAN GRAVES CERAMIC TILE                  VARIOUS                              Wildfire               UNDETERMINED
        GAVES                                                                          Litigation
        6456 ROCKYLANE                  ACCOUNT NO.: NOT AVAILABLE
        PARADSISE, CA 95969


3.48591 STAN RICKABY                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48592 STAN RICKABY                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48593 STAN RICKABY                              VARIOUS                              Wildfire               UNDETERMINED
        LARRY A. PELUSO                                                                Litigation
        PELUSO LAW GROUP, PC            ACCOUNT NO.: NOT AVAILABLE
        P.O. BOX 1971
        NEWPORT BEACH, CA 92659


3.48594 STAN RICKABY                              VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.48595 STAN RICKABY                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48596 STAN SCOTT                                VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




                                            Page 6994 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       157 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48597 STAN SCOTT                                VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.48598 STANBRO, AMANDA                           VARIOUS                              Wildfire               UNDETERMINED
        2779 ROYAL OAK PLACE                                                           Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.48599 STANDARD GUARANTY                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        CRAIG S. SIMON                  ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.48600 STANFIELD, ALLISON                        VARIOUS                              Wildfire               UNDETERMINED
        5358 LOVALL VALLEY RD                                                          Litigation
        B                               ACCOUNT NO.: NOT AVAILABLE
        SONOMA, CA 95476


3.48601 STANFORD, JESSICA                         VARIOUS                              Wildfire               UNDETERMINED
        1925 GENOA PL                                                                  Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.48602 STANLEY CURTIS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48603 STANLEY CURTIS                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




                                            Page 6995 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       158 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48604 STANLEY CURTIS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48605 STANLEY CURTIS                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48606 STANLEY FEINGOLD                          VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                       Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.48607 STANLEY HOOVER                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.48608 STANLEY HOOVER                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




                                            Page 6996 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       159 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48609 STANLEY MILLER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48610 STANLEY MILLER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48611 STANLEY MILLER                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48612 STANLEY MILLER                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48613 STANLEY POWERS                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                            Page 6997 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       160 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48614 STANLEY POWERS                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.48615 STANLEY POWERS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48616 STANLEY POWERS                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48617 STANLEY POWERS                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48618 STANLEY SMITH                             VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.48619 STANLEY V. SCHREIBER                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 6998 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       161 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48620 STANLEY V. SCHREIBER                      VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.48621 STANLEY V. SCHREIBER                      VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48622 STANLEY V. SCHREIBER                      VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.48623 STANLEY WILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.48624 STANLEY WILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.48625 STANLEY YOUNG                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




                                            Page 6999 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       162 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And       C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                             Claim

Wildfire Claims

3.48626 STANLEY YOUNG                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                        Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.48627 Star Insurance Company                      VARIOUS                             Wildfire               UNDETERMINED
        Paul A. Casetta (Pro Hac                                                        Litigation
        Pending)Alan B. McMaster (Pro       ACCOUNT NO.: NOT AVAILABLE
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, CAlifornia 90067


3.48628 STARR CARTER                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                       Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.48629 STARR CARTER                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48630 STARR CARTER                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48631 STARR CARTER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                             Page 7000 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        163 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And       C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                             Claim

Wildfire Claims

3.48632 STARR CARTER                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                           Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48633 Starr Surplus Lines Insurance               VARIOUS                             Wildfire               UNDETERMINED
        Company                                                                         Litigation
        Paul A. Casetta (Pro Hac            ACCOUNT NO.: NOT AVAILABLE
        Pending)Alan B. McMaster (Pro
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, CAlifornia 90067


3.48634 STARR SURPLUS LINES                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                               Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.48635 STARR SURPLUS LINES                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                               Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.48636 STARR SURPLUS LINES                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                               Litigation
        HOWARD D. MAYCON                ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017




                                             Page 7001 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        164 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48637 STATE FARM GENERAL                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MAURA WALSH OCHOA (SBN          ACCOUNT NO.: NOT AVAILABLE
        193799)WAYLON J. PICKETT
        (SBN 248865)
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.48638 STATE FARM GENERAL                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MAURA WALSH OCHOA               ACCOUNT NO.: NOT AVAILABLE

       WAYLON J. PICKETT
       GROTEFELD, HOFFMAN,
       SCHLEITER, GORDON, OCHOA &
       EVINGER, LLP
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939


3.48639 STATE FARM GENERAL                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.48640 STATE FARM GENERAL                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.48641 STATE FARM GENERAL                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY; STATE                                                       Litigation
        FARM MUTUAL AUTOMOBILE          ACCOUNT NO.: NOT AVAILABLE
        INSURANCE COMPANY
        MAURA WALSH OCHOA
        655 MONTGOMERY STREET
        SUITE 1220
        SAN FRANCISCO, CA 94111




                                            Page 7002 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       165 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48642 STATE FARM GENERAL                        VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY; STATE                                                       Litigation
        FARM MUTUAL AUTOMOBILE          ACCOUNT NO.: NOT AVAILABLE
        INSURANCE COMPANY
        MAURA WALSH
        OCHOAWAYLON J. PICKETT
        GROTEFELD HOFFMANN
        655 MONTGOMERY STREET,
        SUITE 1220
        SAN FRANCISCO, CA 94111


3.48643 STATE FARM MUTUAL                         VARIOUS                              Wildfire               UNDETERMINED
        AUTOMIBLE INSURANCE                                                            Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        MAURA WALSH OCHOA (SBN
        193799)WAYLON J. PICKETT
        (SBN 248865)
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.48644 STATE FARM MUTUAL                         VARIOUS                              Wildfire               UNDETERMINED
        AUTOMOBILE INSURANCE                                                           Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.48645 STATE FARM MUTUAL                         VARIOUS                              Wildfire               UNDETERMINED
        AUTOMOBILE INSURANCE                                                           Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.48646 STATE FARM MUTUAL                         VARIOUS                              Wildfire               UNDETERMINED
        AUTOMOBILE INSURANCE                                                           Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        MAURA WALSH OCHOA

       WAYLON J. PICKETT
       GROTEFELD, HOFFMAN,
       SCHLEITER, GORDON, OCHOA &
       EVINGER, LLP
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939



                                            Page 7003 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       166 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48647 STATE FARM, SUBROGATION                   VARIOUS                              Wildfire               UNDETERMINED
        SERVICES                                                                       Litigation
        P.O. BOX 106172                 ACCOUNT NO.: NOT AVAILABLE
        ATLANTA, CA 30348-6172


3.48648 STATE NATIONAL INSURANCE                  VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        KENNETH W. TURNER, ESQ. SB#     ACCOUNT NO.: NOT AVAILABLE
        100393
        LAW OFFICES OF KENNETH W.
        TORNER
        2057 FOREST AVENUE, SUITE 3
        CHICO, CA 95928


3.48649 STATE NATIONAL INSURANCE                  VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.48650 STATE NATIONAL INSURANCE                  VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        KENNETH W. TURNER, ESQ. SB#     ACCOUNT NO.: NOT AVAILABLE
        100393
        LAW OFFICES OF KENNETH W.
        TURNER
        2057 FOREST AVENUE, SUITE 3
        CHICO, CALIFORNIA 95928


3.48651 STATE NATIONAL INSURANCE                  VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.48652 STAVROS PARDINI                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




                                            Page 7004 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       167 of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.48653 Stavros Pardini                                VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.48654 STAVROS PARDINI                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48655 STCLAIRE, LINDA                                VARIOUS                              Wildfire               UNDETERMINED
        1415 SIERRA AVE                                                                     Litigation
        NAPA, CA 94558                       ACCOUNT NO.: NOT AVAILABLE


3.48656 STEADFAST INSURANCE                            VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                             Litigation
        HOWARD D. MAYCON                     ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.48657 STEADFAST INSURANCE                            VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                             Litigation
        ALAN J. JANG SALLY NOMA              ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.48658 STEADFAST INSURANCE                            VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                             Litigation
        KEVIN D. BUSHTHOMAS M.               ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101



                                                 Page 7005 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                            168 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48659 STECK, PAUL                       VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.48660 STECK, PAUL                               VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48661 STECK, PAUL                               VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48662 STECK, PAUL R. AND STECK,                 VARIOUS                              Wildfire               UNDETERMINED
        TRINIA R.(AS TRUSTEE OF THE                                                    Litigation
        STECK TRUST)                    ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48663 STECK, PAUL R. AND STECK,           VARIOUS                                    Wildfire               UNDETERMINED
        TRINIA R.(AS TRUSTEE OF THE                                                    Litigation
        STECK TRUST)                ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.48664 STECK, PAUL R. AND STECK,                 VARIOUS                              Wildfire               UNDETERMINED
        TRINIA R.(AS TRUSTEE OF THE                                                    Litigation
        STECK TRUST)                    ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




                                            Page 7006 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       169 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48665 STEFAN KOLODZIEJCZYK                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48666 STEFAN KOLODZIEJCZYK                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48667 STEFAN KOLODZIEJCZYK                      VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48668 STEFAN KOLODZIEJCZYK                      VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48669 STEFANI LONTZ                             VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.48670 STEFANI LONTZ                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401



                                            Page 7007 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       170 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48671 STEFANI LONTZ                             VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.48672 STEFANIE LONTZ                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.48673 STEFANIE LONTZ                            VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN AND MILLER LAW FINN      ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.48674 STEFANIE LONTZ                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.48675 STEIL, JOSEPH                             VARIOUS                              Wildfire               UNDETERMINED
        7810 SILVERADO TRAIL                                                           Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.48676 STEINFELD, CHRIS                          VARIOUS                              Wildfire               UNDETERMINED
        3303 WOOD VALLEY RD                                                            Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.48677 STEINLEY, KOURTNEY                        VARIOUS                              Wildfire               UNDETERMINED
        2260 MARSH ROAD                                                                Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.48678 STEINLEY, PEGGY                           VARIOUS                              Wildfire               UNDETERMINED
        P.O BOX 248                                                                    Litigation
        KENWOOD, CA 95452               ACCOUNT NO.: NOT AVAILABLE


3.48679 STELLAR CLARK                             VARIOUS                              Wildfire               UNDETERMINED
        EUSTACE DE SAINT                                                               Litigation
        PHALLEJOSEPH R. LUCIA           ACCOUNT NO.: NOT AVAILABLE
        RAINS LUCIA STERN ST.
        PRALLE & SILVER, PC
        2300 CONTRA COSTA BLVD.,
        SUITE 500
        PLEASANT HILL, CA 94523


                                            Page 7008 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       171 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48680 STELLAR TERMITE SERVICES,                 VARIOUS                              Wildfire               UNDETERMINED
        TAMARA JONES                                                                   Litigation
        2323 HIDDEN VALLEY DR           ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95404


3.48681 STEPHANEY THOMPSON                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48682 STEPHANEY THOMPSON                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48683 STEPHANEY THOMPSON                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48684 STEPHANEY THOMPSON                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48685 STEPHANEY THOMPSON                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.48686 STEPHANI THOMPSON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7009 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       172 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48687 STEPHANI THOMPSON                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.48688 STEPHANI THOMPSON                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.48689 STEPHANI THOMPSON                         VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.48690 STEPHANIE A FINNEY                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48691 STEPHANIE A FINNEY                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48692 STEPHANIE A FINNEY                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48693 STEPHANIE A FINNEY                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


                                            Page 7010 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       173 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48694 STEPHANIE A FINNEY                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.48695 STEPHANIE A. MCCOY                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48696 STEPHANIE A. MCCOY                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48697 STEPHANIE A. MCCOY                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48698 STEPHANIE A. MCCOY                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN R. GARNER (SBN 246729)                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       MARIA E. MINNEY (SBN 289131)
       GARNER & ASSOCIATES
       P.O. BOX 908109 N. MARSHALL
       AVENUE
       WILLOWS, CA 95988


3.48699 STEPHANIE A. MCCOY                        VARIOUS                              Wildfire               UNDETERMINED
        IVY T. NGO (SBN                                                                Litigation
        249860)JAMES P. RUDOLPH         ACCOUNT NO.: NOT AVAILABLE
        (SBN 244396)
        FRANKLIN D. AZAR &
        ASSOCIATES
        14426 EAST EVANS AVENUE
        AURORA, CO 80014




                                            Page 7011 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       174 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48700 STEPHANIE BECKER                          VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.48701 STEPHANIE COCKRELL                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48702 STEPHANIE COCKRELL                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48703 STEPHANIE COCKRELL                        VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48704 STEPHANIE COCKRELL                        VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.48705 STEPHANIE COCKRELL                        VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




                                            Page 7012 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       175 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48706 STEPHANIE DILLARD DBA CC                  VARIOUS                              Wildfire               UNDETERMINED
        CUSTOM AUTO SPECIALIST                                                         Litigation
        ROBERT W. JACKSON, ESQ.,        ACCOUNT NO.: NOT AVAILABLE
        #117228
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.48707 STEPHANIE DILLARD DBA CC                  VARIOUS                              Wildfire               UNDETERMINED
        CUSTOM AUTO SPECIALIST                                                         Litigation
        RUSSELL REINER, ESQ. #84461     ACCOUNT NO.: NOT AVAILABLE
         REINER, SLAUGHTER &
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.48708 STEPHANIE DILLARD DBA CC                  VARIOUS                              Wildfire               UNDETERMINED
        CUSTOM AUTO SPECIALIST                                                         Litigation
        MICHAEL A. KELLYKHALDOUN        ACCOUNT NO.: NOT AVAILABLE
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48709 STEPHANIE DILLARD DBA CC                  VARIOUS                              Wildfire               UNDETERMINED
        CUSTOM AUTO SPECIALIST                                                         Litigation
        ERIC RATINOFF, ESQ., #166204    ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP.
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.48710 STEPHANIE GRADO                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48711 STEPHANIE GRADO                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




                                            Page 7013 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       176 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.48712 STEPHANIE GRADO                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.48713 STEPHANIE GRADO                            VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.48714 STEPHANIE GRADO                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48715 STEPHANIE GREENSPAN                        VARIOUS                              Wildfire               UNDETERMINED
        GEOFF J. SPRETER, ESQ. (SBN                                                     Litigation
        257707) BENJAMIN D.              ACCOUNT NO.: NOT AVAILABLE
        PETIPRIN, ESQ. (SBN 256797)
        SPRETER & PETIPRIN, APC
        601 3RD STREET
        CORONADO, CA 92118


3.48716 STEPHANIE HARGRAVE                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                            Litigation
        178658DYLAN HUGHES- BAR          ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48717 STEPHANIE HARGRAVE                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669



                                             Page 7014 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        177 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48718 STEPHANIE HARGRAVE                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48719 STEPHANIE HARGRAVE                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48720 STEPHANIE JOHNSON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48721 STEPHANIE JOHNSON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.48722 STEPHANIE JOHNSON                         VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.48723 STEPHANIE JOHNSON                         VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101




                                            Page 7015 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       178 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48724 STEPHANIE LOPEZ                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.48725 STEPHANIE LOPEZ                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.48726 STEPHANIE MARTINEZ                        VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.48727 STEPHANIE MARTINEZ                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.48728 STEPHANIE MARTINEZ                        VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




                                            Page 7016 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       179 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48729 STEPHANIE MARTINEZ                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.48730 STEPHANIE MARTINEZ                        VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48731 STEPHANIE MCCARY                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48732 STEPHANIE MCCARY                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48733 STEPHANIE MCCARY                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7017 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       180 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48734 STEPHANIE MCCARY                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48735 STEPHANIE MODENA                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48736 STEPHANIE MODENA                          VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48737 STEPHANIE MODENA                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.48738 STEPHANIE MODENA                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.48739 STEPHANIE MODENA                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                            Page 7018 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       181 of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.48740 STEPHANIE MORGAN,                              VARIOUS                              Wildfire               UNDETERMINED
        INDIVIDUALLY AND DBA BLUE                                                           Litigation
        SPRUCE MOBILE ESTATES                ACCOUNT NO.: NOT AVAILABLE
        BRIANJ. PANISH (SBN 116060)
        PANISH SHEA &BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.48741 Stephanie Morgan, Individually And             VARIOUS                              Wildfire               UNDETERMINED
        Dba Blue Spruce Mobile Estates                                                      Litigation
        Frank M. Pitre (SBN                  ACCOUNT NO.: NOT AVAILABLE
        100077)Alison E. Cordova (SBN
        284942)John P. Thyken (SBN
        286598)
        Cotchett, Pitre & Mccarthy, LLP
        San Francisco Airport Office
        Center840 Malcolm Road, Suite
        200
        Burlingame, CA 94010


3.48742 STEPHANIE MORGAN,                              VARIOUS                              Wildfire               UNDETERMINED
        INDIVIDUALLY AND DBA BLUE                                                           Litigation
        SPRUCE MOBILE ESTATES                ACCOUNT NO.: NOT AVAILABLE
        MICHAELA. KELLY (SBN 71460)
        WALKUP MELODIA KELLY&
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48743 STEPHANIE MORGAN,                              VARIOUS                              Wildfire               UNDETERMINED
        INDIVIDUALLY AND DBA BLUE                                                           Litigation
        SPRUCE MOBILE ESTATES                ACCOUNT NO.: NOT AVAILABLE
        RICHARD L. HARRIMAN
        (SBN66124)
        LAW OFFICES OF RICHARD L.
        HARRIMAN
        1078 VIA VERONA DR.
        CHICO, CA 95973


3.48744 STEPHANIE SIKKILA                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                                Litigation
        VICEPENDING)JOHN P. FISKE            ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




                                                 Page 7019 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13          Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                            182 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48745 STEPHANIE SIKKILA                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.48746 STEPHANIE SIKKILA                         VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.48747 STEPHANIE SIKKILA                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.48748 STEPHANIE SIKKILA                         VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48749 STEPHANIE STECK-BENTHIN                   VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. THOMPSON                                                             Litigation
        THOMPSON LAW OFFICES, P.C.      ACCOUNT NO.: NOT AVAILABLE
        700 AIRPORT BLVD., SUITE 160
        BURLINGAME, CA 94010


3.48750 STEPHANIE TRUSLEY                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7020 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       183 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48751 STEPHANIE TRUSLEY                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48752 STEPHANIE TRUSLEY                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48753 STEPHANIE TRUSLEY                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48754 STEPHANIE UTLEY                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.48755 STEPHANIE UTLEY                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.48756 STEPHANIE UTLEY                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


                                            Page 7021 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       184 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48757 STEPHANIE UTLEY                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.48758 STEPHANIE UUZZA                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48759 STEPHANIE UUZZA                           VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                    Litigation
        SBN 119554MICHAEL H.            ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48760 STEPHANIE UUZZA                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                     Litigation
        87492WILLIAM P. HARRIS III,     ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.48761 STEPHANIE UUZZA                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48762 STEPHANIE UUZZA                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                            Page 7022 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       185 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48763 STEPHANIE VAN ECK                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48764 STEPHANIE VAN ECK                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48765 STEPHANIE VAN ECK                         VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48766 STEPHANIE VAN ECK                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48767 STEPHANIE WAGGENER                        VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                     Litigation
        167700STEVEN S. KANE, ESQ.,     ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101




                                            Page 7023 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       186 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48768 STEPHANIE WAGGENER                        VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.48769 STEPHANIE WAGGENER                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48770 STEPHANIE WAGGENER                        VARIOUS                              Wildfire               UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                      Litigation
        SBN: 147086                     ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I


3.48771 STEPHANIE WILT                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48772 STEPHANIE WILT                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.48773 STEPHANIE WILT                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




                                            Page 7024 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       187 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48774 STEPHANIE WILT                            VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.48775 STEPHEN BAILEY                            VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.48776 STEPHEN BAILEY                            VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.48777 STEPHEN BAILEY                            VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.48778 STEPHEN BECKER                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.48779 STEPHEN BOWNE                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864




                                            Page 7025 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       188 of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.48780 STEPHEN BOWNE                                  VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                             Litigation
        R. PARKINSONDANIEL E.                ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.48781 STEPHEN BOWNE                                  VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                                  Litigation
        FRIEDEMANN GOLDBERG LLP              ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.48782 STEPHEN BOWNE                                  VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                       Litigation
        DEMAS LAW GROUP, P.C.                ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.48783 STEPHEN BREITENSTEIN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48784 Stephen Breitenstein                           VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669




                                                 Page 7026 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                            189 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48785 STEPHEN BREITENSTEIN                      VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.48786 STEPHEN C MILLER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48787 STEPHEN C MILLER                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48788 STEPHEN C MILLER                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.48789 STEPHEN C MILLER                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48790 STEPHEN C MILLER                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




                                            Page 7027 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       190 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48791 STEPHEN CANNON                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.48792 STEPHEN CANNON                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.48793 STEPHEN CANNON                            VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48794 STEPHEN CANNON                            VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.48795 STEPHEN CANNON                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.48796 STEPHEN CLIFFORD                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7028 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       191 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48797 STEPHEN CLIFFORD                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.48798 STEPHEN CLIFFORD                          VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                     Litigation
        167700STEVEN S. KANE, ESQ.,     ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.48799 STEPHEN CLIFFORD                          VARIOUS                              Wildfire               UNDETERMINED
        C. BROOKS CUTTER, SBN                                                          Litigation
        121407JOHN G. ROUSSAS,          ACCOUNT NO.: NOT AVAILABLE
        SBN 227325MATTHEW M.
        BREINING, SBN 306788
        CUTTER LAW P.C.
        401 WATT AVENUE

       SACRAMENTO, CA 95864


3.48800 STEPHEN DILLE                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.48801 STEPHEN DILLE                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.48802 STEPHEN DILLE                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




                                            Page 7029 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       192 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48803 STEPHEN DILLE                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.48804 STEPHEN DILLE                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.48805 STEPHEN ELLISEN                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.48806 STEPHEN ELLISEN                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.48807 STEPHEN ESTES                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7030 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       193 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48808 STEPHEN ESTES                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48809 STEPHEN ESTES                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48810 STEPHEN ESTES                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48811 STEPHEN G. GAMA                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.48812 STEPHEN G. GAMA                           VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




                                            Page 7031 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       194 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48813 STEPHEN G. JUELSGAARD                     VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.48814 STEPHEN GENTILE                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48815 STEPHEN GENTILE                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48816 STEPHEN GENTILE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48817 STEPHEN GENTILE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




                                            Page 7032 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       195 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48818 STEPHEN HEROLD                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.48819 STEPHEN HEROLD                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.48820 STEPHEN HEROLD                            VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48821 STEPHEN HEROLD                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.48822 STEPHEN HEROLD                            VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.48823 STEPHEN HITCHKO                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                            Page 7033 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       196 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48824 STEPHEN HITCHKO                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48825 STEPHEN HITCHKO                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48826 STEPHEN HITCHKO                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.48827 STEPHEN HITCHKO                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48828 STEPHEN HOWARD                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.48829 STEPHEN HOWARD                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




                                            Page 7034 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       197 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48830 STEPHEN HUTCHINS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48831 STEPHEN HUTCHINS                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48832 STEPHEN HUTCHINS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48833 STEPHEN HUTCHINS                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48834 STEPHEN KASTNER                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                      Litigation
        DAVISKEVIN M.                   ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105




                                            Page 7035 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       198 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48835 STEPHEN KASTNER                           VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                        Litigation
        D. EDWARDS                      ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.48836 STEPHEN M. OVERMYER                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48837 STEPHEN M. OVERMYER                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48838 STEPHEN M. OVERMYER                       VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48839 STEPHEN M. OVERMYER                       VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.48840 STEPHEN M. OVERMYER                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.48841 STEPHEN MARADA                            VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


                                            Page 7036 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       199 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48842 STEPHEN MARADA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48843 STEPHEN MARADA                            VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.48844 STEPHEN MARADA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.48845 STEPHEN MCARTHUR                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48846 STEPHEN MCARTHUR                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.48847 STEPHEN MCARTHUR                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




                                            Page 7037 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       200 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48848 STEPHEN MCARTHUR                          VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.48849 STEPHEN MOORE                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.48850 STEPHEN MOORE                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.48851 STEPHEN MOORE                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48852 STEPHEN MOORE                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.48853 STEPHEN MOORE                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




                                            Page 7038 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       201 of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.48854 STEPHEN PANKE                                  VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                            Litigation
        BRYSONKEVIN M. POLLACK               ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.48855 STEPHEN PETTIT                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48856 Stephen Pettit                                 VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.48857 STEPHEN PETTIT                                 VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48858 STEPHEN PORTIS                                 VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORAROBERT                                                             Litigation
        A. BUCCOLACATIA G. SARAIVA           ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                                 Page 7039 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                            202 of 578
PG&E Corporation                                                                                Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.48859 STEPHEN PORTIS                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                          Litigation
        COTCHETTALISON E.                 ACCOUNT NO.: NOT AVAILABLE
        CORDOVAACORDOVA@CPMLE
        GAL.COM
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA


3.48860 STEPHEN PORTIS                              VARIOUS                              Wildfire               UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE


3.48861 STEPHEN PORTIS                              VARIOUS                              Wildfire               UNDETERMINED
        TELEPHONE: (650) 697-                                                            Litigation
        6000FACSIMILE: (650) 697-         ACCOUNT NO.: NOT AVAILABLE
        0577FPITRE@CPMLEGAL.COM

        JCOTCHETT@CPMLEGAL.COM
        JCOTCHETT@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA


3.48862 STEPHEN PORTIS                              VARIOUS                              Wildfire               UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                  Litigation
        477-1699                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        BAGHDADIANDREW P.
        MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA


3.48863 STEPHEN R. FOLEY                            VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                          Litigation
        WEAVER                            ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.48864 STEPHEN R. FOLEY                            VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                               Litigation
        SR.JESSICA HAYES                  ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130



                                              Page 7040 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                         203 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48865 STEPHEN R. FOLEY                          VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.48866 STEPHEN SANDERS                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.48867 STEPHEN SANDERS                           VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.48868 STEPHEN SCALISI                           VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.48869 STEPHEN SCALISI                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.48870 STEPHEN SOKOL                             VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                        Litigation
        D. EDWARDS                      ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104




                                            Page 7041 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       204 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48871 STEPHEN SOKOL                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                      Litigation
        DAVISKEVIN M.                   ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.48872 STEPHEN TCHUDI                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48873 STEPHEN TCHUDI                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.48874 STEPHEN TCHUDI                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48875 STEPHEN TCHUDI                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48876 STEPHEN TCHUDI                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




                                            Page 7042 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       205 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48877 STEPHEN VERGARA                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48878 STEPHEN VERGARA                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.48879 STEPHEN VERGARA                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.48880 STEPHEN VERGARA                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.48881 STEPHEN W. MUSER                          VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                         Litigation
        SHEARJASON BOYER                ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105




                                            Page 7043 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       206 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.48882 STEPHEN W. MUSER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.48883 STEPHEN W. MUSER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48884 STEPHEN W. MUSER                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48885 STEPHEN W. MUSER                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.48886 STEPHEN WALLACE                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                          Litigation
        STATE BAR NO. 296841)PAIGE       ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.48887 STEPHEN WALLACE                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                        Litigation
        NO. 197687)                      ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




                                             Page 7044 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        207 of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.48888 STEPHEN WILSON                                 VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                            Litigation
        AMANWILLIAM P. HARRIS                ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.48889 Stephen Wilson                                 VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.48890 STEPHEN WILSON                                 VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                                    Litigation
        ABRAHAM, WATKINS, NICHOLS,           ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.48891 STEPHEN WILSON                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48892 STEPHEN WILSON                                 VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




                                                 Page 7045 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                            208 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48893 STEPHENS, TIFFANY                         VARIOUS                              Wildfire               UNDETERMINED
        5328 REXFORD WAY                                                               Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.48894 STERLING CAPITAL PARTNERS                 VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.48895 STERLING CAPITAL PARTNERS                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.48896 STERLING CAPITAL PARTNERS                 VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.48897 STERLING EDWARD FAIRBANKS                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48898 STERLING EDWARD FAIRBANKS                 VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




                                            Page 7046 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       209 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48899 STERLING EDWARD FAIRBANKS                 VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.48900 STERLING EDWARD FAIRBANKS                 VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.48901 STETSON, JOEY & YVONNE                    VARIOUS                              Wildfire               UNDETERMINED
        6190 KILGORD COURT                                                             Litigation
        MAGALIA, CA 95954               ACCOUNT NO.: NOT AVAILABLE


3.48902 STETZEL, SANDRA                           VARIOUS                              Wildfire               UNDETERMINED
        324 SINGING BROOK CIRCLE                                                       Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.48903 STEVE BAKER                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.48904 STEVE BAKER                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.48905 STEVE BAKER                               VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




                                            Page 7047 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       210 of 578
PG&E Corporation                                                                                  Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.48906 STEVE BAKER                                   VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                         Litigation
        (SBN 69176)IAN C.                   ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.48907 STEVE BAKER                                   VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                                 Litigation
        262319)DEBORAH S. DIXON             ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48908 Steve C. Mulvihill (DBA Nature's              VARIOUS                              Wildfire               UNDETERMINED
        Best Landscarping)                                                                 Litigation
        Mikal C. Watts (Pro Hac Vice        ACCOUNT NO.: NOT AVAILABLE
        Application anticipated)Guy Watts
        (Pro Hac Vice Application
        anticipated)Paige Boldt (Cal.
        State Bar No. 308772)
        Watts Guerra LLP
        70 Stony Point Road, Suite A
        Santa Rosa, CA 95401


3.48909 STEVE C. MULVIHILL (DBA                       VARIOUS                              Wildfire               UNDETERMINED
        NATURE'S BEST                                                                      Litigation
        LANDSCARPING)                       ACCOUNT NO.: NOT AVAILABLE
        JOSEPH M. EARLEY III (CAL.
        STATE BAR NO. 157400)
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.48910 STEVE C. MULVIHILL (DBA                       VARIOUS                              Wildfire               UNDETERMINED
        NATURE'S BEST                                                                      Litigation
        LANDSCARPING)                       ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                                Page 7048 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                           211 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48911 STEVE C. MULVIHILL (DBA                   VARIOUS                              Wildfire               UNDETERMINED
        NATURE'S BEST                                                                  Litigation
        LANDSCARPING)                   ACCOUNT NO.: NOT AVAILABLE
        E. ELLIOT ADLERBRITTANY S.
        ZUMMERAMANDA J.
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48912 STEVE CHERMA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48913 STEVE CHERMA                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48914 STEVE CHERMA                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48915 STEVE CHERMA                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




                                            Page 7049 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       212 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48916 STEVE DEUBLE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48917 STEVE DEUBLE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48918 STEVE DEUBLE                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.48919 STEVE DEUBLE                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48920 STEVE E FINCANNON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48921 STEVE E FINCANNON                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


                                            Page 7050 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       213 of 578
PG&E Corporation                                                                                Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.48922 STEVE E FINCANNON                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48923 STEVE E FINCANNON                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                          Litigation
        125868JUSTIN J. EBALLAR,          ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.48924 STEVE E FINCANNON                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                        Litigation
        MARTINI                           ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.48925 STEVE GEISLER                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREALISON E.                                                          Litigation
        CORDOVADONALD J.                  ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER
        840 MALCOLM ROAD, SUITE 200,
        BURLINGAME CA


3.48926 STEVE GEISLER                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                Litigation
        DREYER BABICH BUCCOLA             ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48927 STEVE GEISLER                               VARIOUS                              Wildfire               UNDETERMINED
        TELE: (415) 981-7210 FAX: (415)                                                  Litigation
        391-6965                          ACCOUNT NO.: NOT AVAILABLE




                                              Page 7051 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                         214 of 578
PG&E Corporation                                                                                Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.48928 STEVE GEISLER                               VARIOUS                              Wildfire               UNDETERMINED
        TELE: (310) 477-1700 FAX: (310)                                                  Litigation
        477-1699                          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        BAGHDADIANDREW P.
        MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, SAN
        FRANCISCO CA


3.48929 STEVE GEISLER                               VARIOUS                              Wildfire               UNDETERMINED
        TELEPHONE: (650) 697-6000                                                        Litigation
                                          ACCOUNT NO.: NOT AVAILABLE
        FACSIMILE: (650) 697-
        0577FPITRE@CPMLEGAL.COM

        ACORDOVA@CPMLEGAL.COM
        DMAGILLIGAN@CPMLEGAL.COM
        BRIAN J. PANISH
        PANISH SHEA & BOYLE, LLP
        11111 SANTA MONICA BLVD.,
        SUITE 700, LOS ANGELES CA


3.48930 STEVE GRIMALDO                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                         Litigation
        SBN: 110909ROBERT A.              ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48931 STEVE HENEISE                               VARIOUS                              Wildfire               UNDETERMINED
        BRIAN PANISH, STATE BAR NO.                                                      Litigation
        116060RAHUL RAVIPUDI,             ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025


3.48932 STEVE HENEISE                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, STATE BAR                                                        Litigation
        NO. 100077                        ACCOUNT NO.: NOT AVAILABLE
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010

                                              Page 7052 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                         215 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48933 STEVE HENEISE                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY, STATE BAR                                                    Litigation
        NO. 71460                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108


3.48934 STEVE HOANG                               VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.48935 STEVE HOANG                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.48936 STEVE LAMBACH                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48937 STEVE LAMBACH                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48938 STEVE LAMBACH                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


                                            Page 7053 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       216 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48939 STEVE LAMBACH                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48940 STEVE LARNED                              VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48941 STEVE LARNED                              VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.48942 STEVE LARNED                              VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.48943 STEVE LARNED                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7054 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       217 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48944 STEVE MATTHEWS                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48945 STEVE MATTHEWS                            VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                        Litigation
        (BAR NO. 295951) RACHEL         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.48946 STEVE MATTHEWS                            VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                  Litigation
        NO.254651)JOANNA LEE FOX        ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.48947 STEVE MATTHEWS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48948 STEVE MCMAHON                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




                                            Page 7055 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       218 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48949 STEVE MCMAHON                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48950 STEVE MCMAHON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48951 STEVE MCMAHON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48952 STEVE MCPHERSON                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48953 STEVE MCPHERSON                           VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. PANISH (SBN 116060)                                                   Litigation
        PANISH SHEA &BOYLE, LLP         ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025




                                            Page 7056 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       219 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48954 STEVE MCPHERSON                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE (SBN                                                            Litigation
        100077)ALISON E. CORDOVA        ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGA


3.48955 STEVE MCPHERSON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48956 STEVE MIDKIFF                             VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48957 STEVE MIDKIFF                             VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.48958 STEVE MIDKIFF                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7057 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       220 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48959 STEVE MIDKIFF                             VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.48960 STEVE MORROW                              VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.48961 STEVE MORROW                              VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.48962 STEVE MORROW                              VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.48963 STEVE PAPP                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.48964 STEVE PAPP                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612



                                            Page 7058 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       221 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48965 STEVE PAPP                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.48966 STEVE PAPP                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48967 STEVE RAHMN                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ.,                                                           Litigation
        #166204COELL M. SIMMONS,        ACCOUNT NO.: NOT AVAILABLE
        ESQ., #292218
        ERIC RATINOFF LAW CORP
        401 WATT AVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.48968 STEVE RAHMN                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150DANIEL E.
        PASSMORE, ESQ., #312155
        JACKSON &PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.48969 STEVE RAHMN                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS, ESQ., #161563                                                   Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.48970 STEVE RAHMN                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN, ESQ.,                                                      Litigation
        #115632                         ACCOUNT NO.: NOT AVAILABLE
        FRIEDEMANN GOLDBERG LLP
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403




                                            Page 7059 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       222 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48971 STEVE S. ACKER                            VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.48972 STEVE S. ACKER                            VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.48973 STEVE S. ACKER                            VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.48974 STEVE S. ACKER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48975 STEVE SLYKER                              VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.48976 STEVE SLYKER                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105



                                            Page 7060 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       223 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48977 STEVE TANTI                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.48978 STEVE TANTI                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.48979 STEVE TANTI                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.48980 STEVE TANTI                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.48981 STEVE THOMSON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.48982 STEVE THOMSON                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612




                                            Page 7061 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       224 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48983 STEVE THOMSON                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.48984 STEVE THOMSON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48985 STEVE WATERMAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48986 STEVE WATERMAN                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.48987 STEVE WATERMAN                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48988 STEVE WATERMAN                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


                                            Page 7062 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       225 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.48989 STEVE WATERMAN                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.48990 STEVE WILSON                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.48991 STEVE WILSON                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.48992 STEVE WILSON                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.48993 STEVE WILSON                              VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.48994 STEVEN AHNMARK                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7063 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       226 of 578
PG&E Corporation                                                                                 Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address            Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.48995 STEVEN AHNMARK                               VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                      Litigation
        262319)DEBORAH S. DIXON            ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.48996 STEVEN AHNMARK                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                 Litigation
        DREYER BABICH BUCCOLA              ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.48997 STEVEN AHNMARK                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                      Litigation
        BAR #1999994) (PRO HAE VICE        ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.48998 STEVEN AHNMARK                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                             Litigation
        VICE PENDINGTEXAS BAR NO.          ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.48999 STEVEN ALLEN LA WHUN                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                      Litigation
        BAR #1999994) (PRO HAE VICE        ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.49000 Steven Allen La Whun                         VARIOUS                              Wildfire               UNDETERMINED
        Ronald L.M. Goldman, Esq. (State                                                  Litigation
        Bar #33422) Diane Marger Moore,    ACCOUNT NO.: NOT AVAILABLE
        Esq. (Fla. Bar #268364) (Pro Hae

        Vice Application Pending)
        Baum Hedlund Aristei & Goldman,
        P.C.
        10940 Wilshire Boulevard., 17th
        Floor
        Los Angeles, California 90024



                                               Page 7064 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                          227 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49001 STEVEN ALLEN LA WHUN                      VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49002 STEVEN ALLEN LA WHUN                      VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                         Litigation
        (STATE BAR #103252)BRIANNA      ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.49003 STEVEN ALLEN LA WHUN                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49004 STEVEN ANDREW WALKER                      VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49005 STEVEN ANDREW WALKER                      VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.49006 STEVEN ANDREW WALKER                      VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




                                            Page 7065 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       228 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49007 STEVEN ANDREW WALKER                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49008 STEVEN ANGLIN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49009 STEVEN ANGLIN                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.49010 STEVEN ANGLIN                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49011 STEVEN ANGLIN                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49012 STEVEN ANGLIN                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




                                            Page 7066 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       229 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49013 STEVEN ARAGON                             VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.49014 STEVEN ARAGON                             VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.49015 STEVEN BOWNE                              VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.49016 STEVEN BOWNE                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49017 STEVEN BOWNE                              VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.49018 STEVEN CHAPMAN                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.49019 STEVEN CHAPMAN                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




                                            Page 7067 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       230 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49020 STEVEN COX                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.49021 STEVEN COX                                 VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.49022 STEVEN COX                                 VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.49023 STEVEN COX                                 VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                    Litigation
        BAR #1999994) (PRO HAE VICE      ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.49024 STEVEN COX                                 VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49025 STEVEN COX                                 VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                    Litigation
        262319)DEBORAH S. DIXON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




                                             Page 7068 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        231 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49026 STEVEN COX                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49027 STEVEN COX                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49028 STEVEN COX                                VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.49029 STEVEN COX                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49030 STEVEN DALE DOHERT                        VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49031 STEVEN DALE DOHERT                        VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




                                            Page 7069 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       232 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49032 STEVEN DALE DOHERT                        VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49033 STEVEN DALE DOHERT                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49034 STEVEN DICKINSON                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.49035 STEVEN DICKINSON                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.49036 STEVEN DICKINSON                          VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.49037 STEVEN DICKINSON                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


                                            Page 7070 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       233 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49038 STEVEN DICKINSON                           VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                              Litigation
        262319)DEBORAH S. DIXON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49039 STEVEN DOBRICH                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.49040 STEVEN DOBRICH                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49041 STEVEN DOBRICH                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.49042 STEVEN DOBRICH                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49043 STEVEN DOBRICH                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                             Page 7071 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        234 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49044 STEVEN E. VASQUEZ                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49045 STEVEN E. VASQUEZ                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49046 STEVEN E. VASQUEZ                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49047 STEVEN E. VASQUEZ                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.49048 STEVEN E. VASQUEZ                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49049 STEVEN G. JOHNSON                         VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.49050 STEVEN G. JOHNSON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590




                                            Page 7072 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       235 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49051 STEVEN G. JOHNSON                         VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.49052 STEVEN HEALD                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49053 STEVEN HEALD                              VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49054 STEVEN HEALD                              VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49055 STEVEN HEALD                              VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




                                            Page 7073 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       236 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49056 STEVEN HIGDON                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.49057 STEVEN HIGDON                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.49058 STEVEN HOSMER                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.49059 STEVEN HOSMER                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49060 STEVEN HOSMER                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.49061 STEVEN HOSMER                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403




                                            Page 7074 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       237 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49062 STEVEN J HELM                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49063 STEVEN J HELM                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49064 STEVEN J HELM                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49065 STEVEN J HELM                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49066 STEVEN J HELM                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49067 STEVEN JOHNSON                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




                                            Page 7075 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       238 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49068 STEVEN KARLIN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49069 STEVEN KARLIN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.49070 STEVEN KARLIN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.49071 STEVEN KARLIN                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.49072 STEVEN KLAUSER                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




                                            Page 7076 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       239 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49073 STEVEN KLAUSER                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.49074 STEVEN LEE                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49075 STEVEN LEE                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49076 STEVEN LEE                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49077 STEVEN LEE                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




                                            Page 7077 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       240 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49078 STEVEN M. BRUMBAUGH                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49079 STEVEN M. BRUMBAUGH                       VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49080 STEVEN M. BRUMBAUGH                       VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49081 STEVEN M. BRUMBAUGH                       VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.49082 STEVEN MAYS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49083 STEVEN MAYS                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                            Page 7078 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       241 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49084 STEVEN MAYS                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.49085 STEVEN MAYS                                VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.49086 STEVEN MAYS                                VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.49087 STEVEN MCFARLAND                           VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                     Litigation
        248092)JACK W. WEAVER,           ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.49088 STEVEN MCFARLAND                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                             Page 7079 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        242 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49089 STEVEN MCFARLAND                          VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                      Litigation
        (SBN 99126)NATASHA N.           ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.49090 STEVEN MCFARLAND                          VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                    Litigation
        9858)JESSICA W. HAYES.,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.49091 STEVEN MCKENZIE                           VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49092 STEVEN MCKENZIE                           VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49093 STEVEN MCKENZIE                           VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




                                            Page 7080 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       243 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49094 STEVEN MCKENZIE                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49095 STEVEN MOORE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.49096 STEVEN MOORE                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49097 STEVEN MOORE                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49098 STEVEN MOORE                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.49099 STEVEN MOORE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                             Page 7081 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        244 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49100 STEVEN MOURGINIS                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ./                                                       Litigation
        SBN: 110909ROBERT A.            ACCOUNT NO.: NOT AVAILABLE
        BUCCOLA, ESQ./ SBN:
        112880CATIA G. SARAIVA,
        ESQ./ SBN: 232479ANDREA R.
        CROWL, ESQ./ SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49101 STEVEN MOURGINIS                          VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITREJOSEPH W.                                                        Litigation
        COTCHETTDONALD                  ACCOUNT NO.: NOT AVAILABLE
        MAGILLIGAN
        COTCHETT, PITRE & MCCARTHY
        LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGAME, CA 94010


3.49102 STEVEN PALMILLER                          VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.49103 STEVEN PIMENTAL                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49104 STEVEN PIMENTAL                           VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.49105 STEVEN PIMENTAL                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




                                            Page 7082 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       245 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49106 STEVEN R. REEVES                          VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.49107 STEVEN ROBERTS                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49108 STEVEN ROBERTS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49109 STEVEN ROBERTS                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49110 STEVEN ROBERTS                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49111 STEVEN ROBERTS                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




                                            Page 7083 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       246 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49112 STEVEN S ACKER                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49113 STEVEN S ACKER                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49114 STEVEN S ACKER                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49115 STEVEN S ACKER                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49116 STEVEN S ACKER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49117 STEVEN S MCCONNELL                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49118 STEVEN S MCCONNELL                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


                                            Page 7084 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       247 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49119 STEVEN S MCCONNELL                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49120 STEVEN S MCCONNELL                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49121 STEVEN S MCCONNELL                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49122 STEVEN SCHWARTZ                           VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.49123 STEVEN SCHWARTZ                           VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.49124 STEVEN SCHWARTZ                           VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




                                            Page 7085 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       248 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49125 STEVEN SPECKERT                           VARIOUS                              Wildfire               UNDETERMINED
        VICTOR                                                                         Litigation
        JACOBELLISSTEPHANIE POLI        ACCOUNT NO.: NOT AVAILABLE
        MERLIN LAW GROUP, P.A.
        1160 BATTERY STREET EAST,
        SUITE 100
        SAN FRANCISCO, CALIFORNIA
        94111


3.49126 STEVEN SPECKERT                           VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. LEVINLAUREL L.                                                      Litigation
        SIMES RACHEL B.                 ACCOUNT NO.: NOT AVAILABLE
        ABRAMSAMY ESKINMEGHAN
        E. MCCORMICK
        LEVIN SIMES LLP
        1160 BATTERY STREET EAST,
        SUITE 100
        SAN FRANCISCO, CALIFORNIA
        94111


3.49127 STEVEN VELASQUEZ                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49128 STEVEN VELASQUEZ                          VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.49129 STEVEN WHITE                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




                                            Page 7086 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       249 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49130 STEVEN WHITE                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.49131 STEVEN WHITE                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.49132 STEVEN WHITE                              VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.49133 STEVEN WIENER                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49134 STEVEN WIENER                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




                                            Page 7087 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       250 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49135 STEVEN WIENER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49136 STEVEN WIENER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49137 STEVEN WRANGHAM                           VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.49138 STEVENS, EVA                              VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49139 STEVENS, EVA                      VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.49140 STEVENS, EVA                              VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49141 STEVENS, JOHN                             VARIOUS                              Wildfire               UNDETERMINED
        11952 KIMBERLY RD                                                              Litigation
        MARYSVILLE, CA 95901            ACCOUNT NO.: NOT AVAILABLE


                                            Page 7088 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       251 of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.49142 Stevens, Magdalena Nichole;                    VARIOUS                              Wildfire               UNDETERMINED
        Stevens, Richard Paul, Jr.                                                          Litigation
        (Individually, And As Trustees Of    ACCOUNT NO.: NOT AVAILABLE
        The Richard Paul Stevens Living
        Trust Utd 7-28-08); Stevens,
        Richard Paul (Individually, And As
        Trustees Of The Richard Paul
        Stevens Living Trust Utd 7-28-08)
        Notice
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.49143 Stevens, Magdalena Nichole;                    VARIOUS                              Wildfire               UNDETERMINED
        Stevens, Richard Paul, Jr.                                                          Litigation
        (Individually, And As Trustees Of    ACCOUNT NO.: NOT AVAILABLE
        The Richard Paul Stevens Living
        Trust Utd 7-28-08); Stevens,
        Richard Paul (Individually, And As
        Trustees Of The Richard Paul
        Stevens Living Trust Utd 7-28-08)
        Notice
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.49144 Stevens, Magdalena Nichole;                    VARIOUS                              Wildfire               UNDETERMINED
        Stevens, Richard Paul, Jr.                                                          Litigation
        (Individually, And As Trustees Of    ACCOUNT NO.: NOT AVAILABLE
        The Richard Paul Stevens Living
        Trust Utd 7-28-08); Stevens,
        Richard Paul (Individually, And As
        Trustees Of The Richard Paul
        Stevens Living Trust Utd 7-28-08)
        Notice
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


3.49145 STEWARD, PAUL                                  VARIOUS                              Wildfire               UNDETERMINED
        2001 RANGE AVE                                                                      Litigation
        APT 41                               ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95401


3.49146 STEWART AYRES                                  VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                             Litigation
        D. EDWARDS                           ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104

                                                 Page 7089 of 7835 to Schedule E/F Part 2

          Case: 19-30088             Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                            252 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49147 STEWART AYRES                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                      Litigation
        DAVISKEVIN M.                   ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.49148 STEWART DALIE IV                          VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.49149 STEWART DALIE IV                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.49150 STEWART, CHRIS                            VARIOUS                              Wildfire               UNDETERMINED
        2266 COVENTRY CT                                                               Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE


3.49151 STEWART, DONALD                           VARIOUS                              Wildfire               UNDETERMINED
        2920 INDUSTRIAL CT                                                             Litigation
        FAIRFIELD, CA 94533             ACCOUNT NO.: NOT AVAILABLE


3.49152 STEWART, JOLENE                           VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49153 STEWART, JOLENE                           VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                            Page 7090 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       253 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49154 STEWART, JOLENE                   VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.49155 STEWART, KAREN ANN                        VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49156 STEWART, KAREN ANN                VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.49157 STEWART, KAREN ANN                        VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49158 STEWART, LESLIE                           VARIOUS                              Wildfire               UNDETERMINED
        3405 MT VEEDER ROAD                                                            Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.49159 STEWART, ROBERT                           VARIOUS                              Wildfire               UNDETERMINED
        342 LAKE ST.                                                                   Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.49160 STEWART, SHELLEY                          VARIOUS                              Wildfire               UNDETERMINED
        2156 VALDES DR.                                                                Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.49161 STEWART, WAYNE                            VARIOUS                              Wildfire               UNDETERMINED
        33 DON TIMOTEO COURT                                                           Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.49162 STEYER, GREGORY CARL              VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


                                            Page 7091 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       254 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49163 STEYER, GREGORY CARL                      VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49164 STEYER, GREGORY CARL                      VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49165 STIER RICHARD                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49166 STIER RICHARD                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49167 STIER RICHARD                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49168 STIER RICHARD                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49169 STIER RICHARD                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103



                                            Page 7092 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       255 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49170 STILLMAN, DANIEL                          VARIOUS                              Wildfire               UNDETERMINED
        603 BOYES BLVD                                                                 Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.49171 STILLWATER INSURANCE                      VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.49172 STILLWATER INSURANCE                      VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.49173 STILLWATER INSURANCE                      VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        HOWARD D. MAYCON                ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.49174 STILLWATER PROPERTY &                     VARIOUS                              Wildfire               UNDETERMINED
        CASUALTY INSURANCE                                                             Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.49175 STILLWATER PROPERTY &                     VARIOUS                              Wildfire               UNDETERMINED
        CASUALTY INSURANCE                                                             Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017




                                            Page 7093 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       256 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49176 STILLWATER PROPERTY &                     VARIOUS                              Wildfire               UNDETERMINED
        CASUALTY INSURANCE                                                             Litigation
        COMPANY                         ACCOUNT NO.: NOT AVAILABLE
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.49177 STOCKONSMITH, DANA                        VARIOUS                              Wildfire               UNDETERMINED
        3621 BAXTER AVE                                                                Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.49178 STOECKMAN, ROB                            VARIOUS                              Wildfire               UNDETERMINED
        1564 A LOMBARD ST                                                              Litigation
        SAN FRANCISCO, CA 94123         ACCOUNT NO.: NOT AVAILABLE


3.49179 STOECKMAN, ROB                            VARIOUS                              Wildfire               UNDETERMINED
        423 CHESTNUT AVE.                                                              Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.49180 STOHLMAN, DEBBIE                          VARIOUS                              Wildfire               UNDETERMINED
        2396 RED OAK DR                                                                Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.49181 STOKES, PATRICIA                          VARIOUS                              Wildfire               UNDETERMINED
        1 MOCKINGBIRD PLACE                                                            Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.49182 STOLLENWERK, BRETT PAUL;                  VARIOUS                              Wildfire               UNDETERMINED
        STOLLENWERK, FRANCHESCA                                                        Litigation
        ELIZABETH                       ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49183 STOLLENWERK, BRETT PAUL;          VARIOUS                                      Wildfire               UNDETERMINED
        STOLLENWERK, FRANCHESCA                                                        Litigation
        ELIZABETH                 ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




                                            Page 7094 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       257 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49184 STOLLENWERK, BRETT PAUL;                  VARIOUS                              Wildfire               UNDETERMINED
        STOLLENWERK, FRANCHESCA                                                        Litigation
        ELIZABETH                       ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49185 STOLLMEYER, DAVID                         VARIOUS                              Wildfire               UNDETERMINED
        1455 HILL RD                                                                   Litigation
        GLEN ELLEN, CA 95442            ACCOUNT NO.: NOT AVAILABLE


3.49186 STONE, DAREN MITCHELL                     VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49187 STONE, DAREN MITCHELL                     VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49188 STONE, DAREN MITCHELL             VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.49189 STONE, DEBI                               VARIOUS                              Wildfire               UNDETERMINED
        157 ESPOSTI MEADOWS WAY                                                        Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.49190 STONE, KATHIE                             VARIOUS                              Wildfire               UNDETERMINED
        DANIEL G. WHALEN                                                               Litigation
        ENGSTROM LIPSCOMB & LACK        ACCOUNT NO.: NOT AVAILABLE
        10100 SANTA MONICA BLVD.,
        12TH FLOOR
        LOS ANGELES, CA 90067


3.49191 STONE, RANDY                              VARIOUS                              Wildfire               UNDETERMINED
        4462 DUMAS ST                                                                  Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE




                                            Page 7095 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       258 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49192 STONEY KING                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49193 STONEY KING                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49194 STONEY KING                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49195 STONEY KING                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49196 STONEY KING                               VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49197 STONEY KING                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49198 STONEY KING                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


                                            Page 7096 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       259 of 578
PG&E Corporation                                                                                  Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.49199 STONEY KING                                   VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                          Litigation
        MARTINI                             ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49200 STONEY KING                                   VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                       Litigation
        BAR #1999994) (PRO HAE VICE         ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.49201 STONEY KING                                   VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                              Litigation
        VICE PENDINGTEXAS BAR NO.           ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.49202 STOPPELLO, TRENT                              VARIOUS                              Wildfire               UNDETERMINED
        3374 TWIN OAKS DR                                                                  Litigation
        NAPA, CA 94558                      ACCOUNT NO.: NOT AVAILABLE


3.49203 Stoughton, Carlos (Individually,              VARIOUS                              Wildfire               UNDETERMINED
        And As Trustees Of The John and                                                    Litigation
        Maria Stoughton Family Trust);      ACCOUNT NO.: NOT AVAILABLE
        Stoughton, Maria Cleofas
        (Individually, And As Trustees Of
        The John and Maria Stoughton
        Family Trust); Stoughton, John
        (Individually, And As Trustees Of
        The Jo
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101




                                                Page 7097 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                           260 of 578
PG&E Corporation                                                                                  Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.49204 Stoughton, Carlos (Individually,              VARIOUS                              Wildfire               UNDETERMINED
        And As Trustees Of The John and                                                    Litigation
        Maria Stoughton Family Trust);      ACCOUNT NO.: NOT AVAILABLE
        Stoughton, Maria Cleofas
        (Individually, And As Trustees Of
        The John and Maria Stoughton
        Family Trust); Stoughton, John
        (Individually, And As Trustees Of
        The Jo
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.49205 Stoughton, Carlos (Individually,              VARIOUS                              Wildfire               UNDETERMINED
        And As Trustees Of The John and                                                    Litigation
        Maria Stoughton Family Trust);      ACCOUNT NO.: NOT AVAILABLE
        Stoughton, Maria Cleofas
        (Individually, And As Trustees Of
        The John and Maria Stoughton
        Family Trust); Stoughton, John
        (Individually, And As Trustees Of
        The Jo
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101


3.49206 STOVER, STIRLING                              VARIOUS                              Wildfire               UNDETERMINED
        17155 SKYWAY                                                                       Litigation
        STIRLING CITY, CA 95978             ACCOUNT NO.: NOT AVAILABLE


3.49207 STOYANOFF, CHRISTINE                          VARIOUS                              Wildfire               UNDETERMINED
        2001 RANGE AVE                                                                     Litigation
        SANTA ROSA, CA 95401                ACCOUNT NO.: NOT AVAILABLE


3.49208 STROM, IAN                                    VARIOUS                              Wildfire               UNDETERMINED
        1142 TERRY LANE                                                                    Litigation
        APT. 15                             ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.49209 STRONG, LYNN                                  VARIOUS                              Wildfire               UNDETERMINED
        6004 MONTICELLO RD                                                                 Litigation
        SPC 25                              ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA 94558




                                                Page 7098 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                           261 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49210 STUART BANNISTER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49211 Stuart Bannister                           VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No.                                                     Litigation
        126782 Amanda L. Riddle - Bar    ACCOUNT NO.: NOT AVAILABLE
        No. 215221 Steven M. Berki -
        Bar No. 245426 Sumble
        Manzoor- Bar No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.49212 STUART BANNISTER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359 KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49213 STUART BANNISTER                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                     Litigation
                                         ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES- BAR NO.
        209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49214 STUART CARRIER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49215 STUART CARRIER                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                           Litigation
        SINGLETONERIKA L.                ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


                                             Page 7099 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        262 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49216 STUART CARRIER                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49217 STUART CARRIER                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49218 STUART CARRIER                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49219 STUART FUNK                               VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ.PHILIP                                                    Litigation
        C. AMAN, ESQ.WILLIAM P.         ACCOUNT NO.: NOT AVAILABLE
        HARRIS III, ESQ.M. REGINA
        BAGDASARIAN, ESQ.GEORGE
        T. STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.49220 STUART FUNK                               VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD,                                                          Litigation
        ESQ.MICHAEL H. ARTINIAN,        ACCOUNT NO.: NOT AVAILABLE
        ESQ.
        BRIDGFORD, GLEASON &
        ARTINIAN
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403


3.49221 STUART FUNK                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        3558 ROUND BARN BLVD.,
        SUITE 215
        SANTA ROSA, CA 95403



                                            Page 7100 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       263 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49222 STUART GLASS                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49223 STUART GLASS                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49224 STUART GLASS                              VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49225 STUART GLASS                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.49226 STUART GLASS                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.49227 STUART LANGFORD                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                            Page 7101 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       264 of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.49228 STUART LANGFORD                                VARIOUS                              Wildfire               UNDETERMINED
        PEDRO "PETER" DE LA CERDA,                                                          Litigation
        OF COUNSEL - BAR NO. 249085          ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES
        250 VALLOMBROSA AVE STE.
        266
        CHICO, CA 95926


3.49229 STUART LANGFORD                                VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                           Litigation
        160461)                              ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.49230 STUART LANGFORD                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                    Litigation
        WALKUP, MELODIA, KELLY &             ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49231 STUART LANGFORD                                VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                            Litigation
        BAR #304697)                         ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.49232 STUERMER, DANIEL                               VARIOUS                              Wildfire               UNDETERMINED
        14319 CARNEGIE RD                                                                   Litigation
        MAGALIA, CA 95954                    ACCOUNT NO.: NOT AVAILABLE


3.49233 Stump, Donald Wayne (Individually,             VARIOUS                              Wildfire               UNDETERMINED
        And As Trustees of The Stump                                                        Litigation
        1993 Revocable Trust and             ACCOUNT NO.: NOT AVAILABLE
        Representatives of Hathaway
        Holdings, LLC as Doing Business
        As Joma's Artisan Ice Cream);
        Stump, Joann (Individually, And As
        Trustees of The Stump 1993
        Revocable Trus
        Elliot AdlerBrittany Zummer
        ADLER LAW GROUP, APLC
        420 W. Broadway, Suite 860
        San Diego, CA 92101




                                                 Page 7102 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13          Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                            265 of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.49234 Stump, Donald Wayne (Individually,             VARIOUS                              Wildfire               UNDETERMINED
        And As Trustees of The Stump                                                        Litigation
        1993 Revocable Trust and             ACCOUNT NO.: NOT AVAILABLE
        Representatives of Hathaway
        Holdings, LLC as Doing Business
        As Joma's Artisan Ice Cream);
        Stump, Joann (Individually, And As
        Trustees of The Stump 1993
        Revocable Trus
        Co-CounselDemetrios A.
        Sparacino
        SPARACINO LAW CORPORATIOn
        525 B Street, Suite 1500
        San Diego, CA 92101


3.49235 Stump, Donald Wayne (Individually,             VARIOUS                              Wildfire               UNDETERMINED
        And As Trustees of The Stump                                                        Litigation
        1993 Revocable Trust and             ACCOUNT NO.: NOT AVAILABLE
        Representatives of Hathaway
        Holdings, LLC as Doing Business
        As Joma's Artisan Ice Cream);
        Stump, Joann (Individually, And As
        Trustees of The Stump 1993
        Revocable Trus
        Gerard SingletonErika L.
        VasquezAmanda LoCutro
        SINGLETON LAW FIRM
        115 West Plaza Street
        Solana Beach, CA 92075


3.49236 STUTCHMAN, JOHN                                VARIOUS                              Wildfire               UNDETERMINED
        43 BRANNAN ST.                                                                      Litigation
        1                                    ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.49237 STUTSMAN, DORIS                                VARIOUS                              Wildfire               UNDETERMINED
        682 ROAD N                                                                          Litigation
        REDWOOD VALLEY, CA 95470             ACCOUNT NO.: NOT AVAILABLE


3.49238 SUE ANN IOTT                                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                            Litigation
        A. BAGHDADI                          ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49239 SUE ANN IOTT                                   VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                          Litigation
        167700STEVEN S. KANE, ESQ.,          ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


                                                 Page 7103 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13          Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                            266 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49240 SUE ANN IOTT                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.49241 SUE ANN IOTT                              VARIOUS                              Wildfire               UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                      Litigation
        SBN: 147086                     ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I


3.49242 SUE GRIFFIN                               VARIOUS                              Wildfire               UNDETERMINED
        MARK P. ROBINSON,-JR. (SBN                                                     Litigation
        054426) KEVIN CALCAGNIE         ACCOUNT NO.: NOT AVAILABLE
        (SBN 108994) SHANNON LUKEI
        (SBN 202868)LILA RAZMARA
        (SBN 269779)
        ROBINSON CALCAGNIE
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CALIFORNIA
        92660


3.49243 SUE L WILLIAMS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49244 SUE L WILLIAMS                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49245 SUE L WILLIAMS                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                            Page 7104 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       267 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49246 SUE L WILLIAMS                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49247 SUE L WILLIAMS                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49248 SUE MIDKIFF                               VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.49249 SUE MIDKIFF                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49250 SUE MIDKIFF                               VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49251 SUE MIDKIFF                               VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




                                            Page 7105 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       268 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49252 SUE REMICK                                VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.49253 SUE REMICK                                VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.49254 SUE REMICK                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.49255 SUE REMICK                                VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49256 SUE REMICK                                VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.49257 SUFFLE, JENNIE                            VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                            Page 7106 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       269 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49258 SUFFLE, JENNIE                    VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.49259 SUFFLE, JENNIE                            VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49260 SUITS, GAYLE                              VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 1207 208 GRISWOLD                                                       Litigation
        AVE                             ACCOUNT NO.: NOT AVAILABLE
        KENWOOD, CA 95452


3.49261 SUK LEE                                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49262 SUK LEE                                   VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49263 SUK LEE                                   VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




                                            Page 7107 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       270 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49264 SUK LEE                                   VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49265 SULLIVAN ELLIS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49266 SULLIVAN ELLIS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49267 SULLIVAN ELLIS                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49268 SULLIVAN ELLIS                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




                                            Page 7108 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       271 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49269 SULLIVAN, JENNIFER                        VARIOUS                              Wildfire               UNDETERMINED
        1975 WINDMILL CIR                                                              Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.49270 SULLIVAN, JOAN                            VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 261                                                                     Litigation
        VINEBURG, CA 95487              ACCOUNT NO.: NOT AVAILABLE


3.49271 SUMER STEPHENS                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49272 SUMER STEPHENS                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.49273 SUMER STEPHENS                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49274 SUMER STEPHENS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49275 SUMER STEPHENS                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




                                            Page 7109 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       272 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49276 SUMMER PRESTIDGE                          VARIOUS                              Wildfire               UNDETERMINED
        SANDRA RIBERA SPEEDMIA                                                         Litigation
        MATTIS                          ACCOUNT NO.: NOT AVAILABLE
        RIBERA LAW FIRM APC
        157 WEST PORTAL AVENUE,
        SUITE 2
        SAN FRANCISCO, CA 94127


3.49277 SUMMER HARLEY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49278 SUMMER HARLEY                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49279 SUMMER HARLEY                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.49280 SUMMER HARLEY                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.49281 SUMMER HILL                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




                                            Page 7110 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       273 of 578
PG&E Corporation                                                                                    Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:         List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address               Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.49282 Summer Hill                                     VARIOUS                              Wildfire               UNDETERMINED
        Shelly A. Sanford (Pro Hac Vice                                                      Litigation
        application anticipated)Linda K.      ACCOUNT NO.: NOT AVAILABLE
        Leibfarth (Pro Hac Vice application
        anticipated)Mikal C. Watts (Pro
        Hac Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.49283 SUMMER SUPINGER                                 VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                             Litigation
        BRYSONKEVIN M. POLLACK                ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.49284 SUMMERS, CYNTHIA                                VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 473                                                                         Litigation
        BERRY CREEK, CA 95916                 ACCOUNT NO.: NOT AVAILABLE


3.49285 SUMMERS, TODD                                   VARIOUS                              Wildfire               UNDETERMINED
        840 E. NAPA ST                                                                       Litigation
        SONOMA, CA 95476                      ACCOUNT NO.: NOT AVAILABLE


3.49286 SUN, BEIBEI                                     VARIOUS                              Wildfire               UNDETERMINED
        1489 GREAT HERON DR.                                                                 Litigation
        SANTA ROSA, CA 95409                  ACCOUNT NO.: NOT AVAILABLE


3.49287 SUN, JOHN                                       VARIOUS                              Wildfire               UNDETERMINED
        4700 WARM SPRINGS RD.                                                                Litigation
        GLEN ELLEN, CA 95442                  ACCOUNT NO.: NOT AVAILABLE


3.49288 SUNCING, DELIA                                  VARIOUS                              Wildfire               UNDETERMINED
        5256 SUMMIT AVE                                                                      Litigation
        MARYSVILLE, CA 95901                  ACCOUNT NO.: NOT AVAILABLE


3.49289 SUNDIN, SANDRA                                  VARIOUS                              Wildfire               UNDETERMINED
        4163 SILVERADO TRAIL                                                                 Litigation
        NAPA, CA 94558                        ACCOUNT NO.: NOT AVAILABLE


3.49290 SUNDQUIST, PAUL & TAMARA                        VARIOUS                              Wildfire               UNDETERMINED
        4730 LONDONBERRY DRIVE                                                               Litigation
        SANTA ROSA, CA 95403                  ACCOUNT NO.: NOT AVAILABLE




                                                  Page 7111 of 7835 to Schedule E/F Part 2

          Case: 19-30088             Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                             274 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49291 SUNJA M DUNCAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49292 SUNJA M DUNCAN                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49293 SUNJA M DUNCAN                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49294 SUNJA M DUNCAN                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49295 SUNJA M DUNCAN                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49296 SUNNY HUTCHISON                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




                                            Page 7112 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       275 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49297 SUNNY HUTCHISON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.49298 SUNNY HUTCHISON                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49299 SUNNY HUTCHISON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49300 SUNNY HUTCHISON                            VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.49301 SUNSERI, JOSEPH                            VARIOUS                              Wildfire               UNDETERMINED
        1557 LOFTY PERCH PL                                                             Litigation
        SANTA ROSA, CA 95409             ACCOUNT NO.: NOT AVAILABLE


3.49302 SUNSHINE HANG                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                             Page 7113 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        276 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49303 SUNSHINE HANG                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.49304 SUNSHINE HANG                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.49305 SUNSHINE HANG                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.49306 SUPER LA FAVORITA #1-ULLOA,               VARIOUS                              Wildfire               UNDETERMINED
        ALFONSO                                                                        Litigation
        17484 SONOMA HWY                ACCOUNT NO.: NOT AVAILABLE
        SONOMA, CA 95476


3.49307 SURGIN SURGICAL                           VARIOUS                              Wildfire               UNDETERMINED
        INSTRUMENTATION, INC.                                                          Litigation
        THOMAS J. BRANDITERENCE         ACCOUNT NO.: NOT AVAILABLE
        D. EDWARDSJASON B.
        FRIEDMAN
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104




                                            Page 7114 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       277 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49308 SURGIN SURGICAL                           VARIOUS                              Wildfire               UNDETERMINED
        INSTRUMENTATION, INC.                                                          Litigation
        THE ARNS LAW FIRM               ACCOUNT NO.: NOT AVAILABLE
        ROBERT S. ARNS
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.49309 SUSAN A. PENNINGTON                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49310 SUSAN A. PENNINGTON                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49311 SUSAN A. PENNINGTON                       VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49312 SUSAN A. PENNINGTON                       VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49313 SUSAN A. PENNINGTON                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103




                                            Page 7115 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       278 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49314 SUSAN ADAMS                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.49315 SUSAN ADAMS                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.49316 SUSAN ADAMS                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.49317 SUSAN BRANDT-HAWLEY                       VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH J.                                                                   Litigation
        CABRASERROBERT J.               ACCOUNT NO.: NOT AVAILABLE
        NELSON LEXI J. HAZAM

       FABRICE N. VINCENTANNIKA
       K. MARTINABBY R. WOLF
       LIEFF CABRASER HEIMANN &
       BERNSTEIN, LLP
       275 BATTERY STREET, 29TH
       FLOOR
       SAN FRANCISCO, CA 94111-3339


3.49318 SUSAN BUCK                                VARIOUS                              Wildfire               UNDETERMINED
        NOREEN EVANSRYAN L.                                                            Litigation
        THOMPSONPAIGE BOLDT             ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704

                                            Page 7116 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       279 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49319 SUSAN BUCK                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49320 SUSAN BUCK                                VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN AND MILLER LAW FIRM      ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.49321 SUSAN CHARVEL                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.49322 SUSAN CHARVEL                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                      Litigation
        SBN: 110909ANDREA R.            ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49323 SUSAN CHARVEL                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49324 SUSAN CHARVEL                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7117 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       280 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49325 SUSAN CHARVEL                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.49326 SUSAN COULOMBE                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49327 SUSAN COULOMBE                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359KRISTINE K.                ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49328 SUSAN COULOMBE                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                            Litigation
        178658DYLAN HUGHES- BAR          ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49329 SUSAN COULOMBE                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




                                             Page 7118 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        281 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49330 SUSAN DEL SANTO                           VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.49331 SUSAN DIZMANG                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.49332 SUSAN DIZMANG                             VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.49333 SUSAN E EPPERSON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49334 SUSAN E EPPERSON                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49335 SUSAN E EPPERSON                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




                                            Page 7119 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       282 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49336 SUSAN E EPPERSON                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49337 SUSAN E EPPERSON                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49338 SUSAN FIFE                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49339 SUSAN FIFE                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49340 SUSAN FIFE                                VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.49341 SUSAN FIFE                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




                                            Page 7120 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       283 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49342 SUSAN FIORI                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.49343 SUSAN FIORI                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.49344 SUSAN FIORI                               VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49345 SUSAN FIORI                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.49346 SUSAN FIORI                               VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.49347 SUSAN GROVES                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




                                            Page 7121 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       284 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49348 SUSAN GROVES                              VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.49349 SUSAN HARRIS                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.49350 SUSAN HARRIS                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.49351 SUSAN HAUPTMAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49352 SUSAN HAUPTMAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7122 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       285 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49353 SUSAN HAUPTMAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49354 SUSAN HAUPTMAN                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49355 SUSAN HAUPTMAN                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49356 SUSAN HAUPTMAN                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.49357 SUSAN HAUPTMAN                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49358 SUSAN HAUPTMAN                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




                                            Page 7123 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       286 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49359 SUSAN HAUPTMAN                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49360 SUSAN HOLMES                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.49361 SUSAN HOLMES                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.49362 SUSAN HOLMES                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49363 SUSAN HOLMES                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49364 SUSAN HOLMES                               VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


                                             Page 7124 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        287 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49365 SUSAN HOWARD                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49366 SUSAN HOWARD                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49367 SUSAN HOWARD                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.49368 SUSAN HOWARD                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.49369 SUSAN HOWARD                               VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.49370 SUSAN HUGE                                 VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                             Page 7125 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        288 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49371 SUSAN HUGE                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49372 SUSAN HUGE                                VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49373 SUSAN HUGE                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.49374 SUSAN HUGE                                VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.49375 SUSAN J BRIGGS                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49376 SUSAN J BRIGGS                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                            Page 7126 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       289 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49377 SUSAN J BRIGGS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49378 SUSAN J BRIGGS                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49379 SUSAN J BRIGGS                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49380 SUSAN JOY                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49381 SUSAN JOY                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49382 SUSAN JOY                                 VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




                                            Page 7127 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       290 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49383 SUSAN JOY                                 VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49384 SUSAN KAY HULAC                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.49385 SUSAN KAY HULAC                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49386 SUSAN KAY HULAC                           VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN AND MILLER LAW FINN      ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.49387 SUSAN KEEHN                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49388 SUSAN KEEHN                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




                                            Page 7128 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       291 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49389 SUSAN KEEHN                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.49390 SUSAN KEEHN                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.49391 SUSAN KOMAR                               VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                         Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.49392 SUSAN KOMAR                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.49393 SUSAN KOMAR                               VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.49394 SUSAN L. THOMPSON                         VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.49395 SUSAN L. THOMPSON                         VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




                                            Page 7129 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       292 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49396 SUSAN L. THOMPSON                         VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.49397 SUSAN LACKEY                              VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.49398 SUSAN LACKEY                              VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.49399 SUSAN LANG                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49400 SUSAN LANG                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49401 SUSAN LANG                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.49402 SUSAN LANG                                VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001



                                            Page 7130 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       293 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49403 SUSAN LOZANO                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.49404 SUSAN LOZANO                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.49405 SUSAN M MANGINO                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49406 SUSAN M MANGINO                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49407 SUSAN M MANGINO                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49408 SUSAN M MANGINO                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7131 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       294 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49409 SUSAN M MANGINO                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49410 SUSAN MALLORY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49411 SUSAN MALLORY                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49412 SUSAN MALLORY                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.49413 SUSAN MALLORY                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.49414 SUSAN MARTHA DOBRA                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7132 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       295 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49415 SUSAN MARTHA DOBRA                        VARIOUS                              Wildfire               UNDETERMINED
        BRIAN R. STRANGE, ESQ.                                                         Litigation
        (STATE BAR #103252)BRIANNA      ACCOUNT NO.: NOT AVAILABLE
        STRANGE, ESQ. (STATE BAR
        #321882
        STRANGE & BUTLER
        12100 WILSHIRE BOULEVARD,
        SUITE 1900
        LOS ANGELES, CA 90025


3.49416 SUSAN MARTHA DOBRA                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49417 SUSAN MARTHA DOBRA                        VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.49418 SUSAN MARTHA DOBRA                        VARIOUS                              Wildfire               UNDETERMINED
        RONALD L.M. GOLDMAN, ESQ.                                                      Litigation
        (STATE BAR #33422) DIANE        ACCOUNT NO.: NOT AVAILABLE
        MARGER MOORE, ESQ. (FLA.
        BAR #268364) (PRO HAE VICE
        APPLICATION PENDING)
        BAUM HEDLUND ARISTEI &
        GOLDMAN, P.C.
        10940 WILSHIRE BOULEVARD.,
        17TH FLOOR
        LOS ANGELES, CALIFORNIA
        90024


3.49419 SUSAN MCDANIEL                            VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                      Litigation
        160461)                         ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.49420 SUSAN MCDANIEL                            VARIOUS                              Wildfire               UNDETERMINED
        DAVID P. MATTHEWS- PRO HAC                                                     Litigation
        VICE TO BE FILED                ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES LAW
        FIRM
        290S SACKETT ST.
        HOUSTON, TEXAS 77098




                                            Page 7133 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       296 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49421 SUSAN MCDANIEL                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49422 SUSAN MCDANIEL                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49423 SUSAN MCDANIEL                             VARIOUS                              Wildfire               UNDETERMINED
        MELVIN C. BELLI - BAR NO.                                                       Litigation
        111309ROBERT J.A. FORDIANI       ACCOUNT NO.: NOT AVAILABLE
        — BAR NO. 256041
        THE BELLI LAW FIRM
        33 MILLER AVE
        MILL VALLEY, CALIFORNIA 94941


3.49424 SUSAN MCNAMARA                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49425 SUSAN MCNAMARA                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49426 SUSAN MCNAMARA                             VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.49427 SUSAN MCNAMARA                             VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439



                                             Page 7134 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        297 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49428 SUSAN MCNAMARA                             VARIOUS                              Wildfire               UNDETERMINED
        PEDRO "PETER" DE LA CERDA,                                                      Litigation
        OF COUNSEL - BAR NO. 249085      ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES
        250 VALLOMBROSA AVE STE.
        266
        CHICO, CA 95926


3.49429 SUSAN MCSHANNOCK                           VARIOUS                              Wildfire               UNDETERMINED
        OMAR I. HABBAS                                                                  Litigation
        HABBAS & ASSOCIATES              ACCOUNT NO.: NOT AVAILABLE
        675 N. FIRST STREET, SUITE
        1000
        SAN JOSE, CA 95112


3.49430 SUSAN MCSHANNOCK                           VARIOUS                              Wildfire               UNDETERMINED
        J. GARY GWILLIAMRANDALL E.                                                      Litigation
        STRAUSSROBERT J.                 ACCOUNT NO.: NOT AVAILABLE
        SCHWARTZ
        GWILLIAM, IVARY, CHIOSSO,
        CAVALLI & BREWER
        1999 HARRISON ST., SUITE 1600,
        OAKLAND, CA 94612


3.49431 SUSAN MCSHANNOCK                           VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                              Litigation
        DANIELS LAW                      ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.49432 SUSAN MEDIN                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49433 SUSAN MEDIN                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




                                             Page 7135 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        298 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49434 SUSAN MEDIN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49435 SUSAN MEDIN                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49436 SUSAN MILLER                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49437 SUSAN MILLER                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49438 SUSAN MILLER                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




                                            Page 7136 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       299 of 578
PG&E Corporation                                                                                  Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.49439 SUSAN MILLER                                  VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                        Litigation
        126782AMANDA L. RIDDLE -            ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49440 SUSAN MOECKEL                                 VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                                   Litigation
        ABRAHAM, WATKINS, NICHOLS,          ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.49441 SUSAN MOECKEL                                 VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                           Litigation
        AMANWILLIAM P. HARRIS               ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.49442 SUSAN MOORE                                   VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.49443 Susan Moore                                   VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704




                                                Page 7137 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                           300 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49444 SUSAN PATE ULRICH                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49445 SUSAN PATE ULRICH                         VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.49446 SUSAN PATE ULRICH                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.49447 SUSAN PATE ULRICH                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.49448 SUSAN PLANT                               VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.49449 SUSAN PLANT                               VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49450 SUSAN PLANT                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


                                            Page 7138 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       301 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49451 SUSAN PLANT                               VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49452 SUSAN PLICHCIK                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.49453 SUSAN PLICHCIK                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49454 SUSAN PLICHCIK                            VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.49455 SUSAN RAYMOND                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49456 SUSAN RAYMOND                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065




                                            Page 7139 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       302 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49457 SUSAN RAYMOND                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49458 SUSAN RAYMOND                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49459 SUSAN RIZZO                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49460 SUSAN RIZZO                               VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49461 SUSAN RIZZO                               VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




                                            Page 7140 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       303 of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.49462 SUSAN RIZZO                                    VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                          Litigation
        STATE BAR NO. 157400)                ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.49463 SUSAN SCHNEIDER                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                            Litigation
        A. BAGHDADI                          ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49464 SUSAN SCHNEIDER                                VARIOUS                              Wildfire               UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                           Litigation
        SBN: 147086                          ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I


3.49465 SUSAN SCHNEIDER                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                            Litigation
        #117228BRETT R. PARKINSON,           ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.49466 SUSAN SCHNEIDER                                VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                          Litigation
        167700STEVEN S. KANE, ESQ.,          ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.49467 Susan Scudder                                  VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


                                                 Page 7141 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                            304 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49468 SUSAN SCUDDER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.49469 SUSAN SCUDDER                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.49470 SUSAN SHIRLEY                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49471 SUSAN SHIRLEY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49472 SUSAN SHIRLEY                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49473 SUSAN SHIRLEY                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




                                            Page 7142 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       305 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49474 SUSAN SHIRLEY                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.49475 SUSAN SMITH                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49476 SUSAN SMITH                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49477 SUSAN SMITH                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.49478 SUSAN SMITH                               VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.49479 SUSAN SPENCER                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




                                            Page 7143 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       306 of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.49480 SUSAN SPENCER                                  VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                         Litigation
        126782AMANDA L. RIDDLE -             ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49481 SUSAN SPENCER                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359KRISTINE K.                    ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49482 SUSAN SPENCER                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                            Litigation
        A. BAGHDADI                          ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49483 Susan Stahr-Geasland                           VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669




                                                 Page 7144 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                            307 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49484 SUSAN STAHR-GEASLAND                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.49485 SUSAN STAHR-GEASLAND                      VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.49486 SUSAN TU                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.49487 SUSAN TU                                  VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.49488 SUSAN TU                                  VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.49489 SUSAN WOLHEIM                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7145 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       308 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49490 SUSAN WOLHEIM                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49491 SUSAN WOLHEIM                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.49492 SUSAN WOLHEIM                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.49493 SUSAN WOLHEIM                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49494 SUSANA EMBER                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49495 SUSANA EMBER                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




                                            Page 7146 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       309 of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.49496 SUSANA EMBER                                   VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                       Litigation
        DEMAS LAW GROUP, P.C.                ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.49497 SUSANA EMBER                                   VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                                  Litigation
        FRIEDEMANN GOLDBERG LLP              ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.49498 SUSANNA SEGURA                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49499 Susanna Segura                                 VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.49500 SUSANNA SEGURA                                 VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49501 SUSANNE BARTON                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                    Litigation
        WALKUP, MELODIA, KELLY &             ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


                                                 Page 7147 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                            310 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49502 SUSANNE BARTON                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49503 SUSANNE BARTON                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49504 SUSANNE BARTON                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.49505 SUSANNE BARTON                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.49506 SUSANNE DUNNIGAN                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES A. FRANCIS (PRO HAC                                                      Litigation
        VICE FORTHCOMING)               ACCOUNT NO.: NOT AVAILABLE
        FRANCIS & MAILMAN, P .C.
        LAND TITLE BUILDING, 19TH
        FLOOR100 SOUTH BROAD
        STREET
        PHILADELPHIA, PA 19110


3.49507 SUSANNE DUNNIGAN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. CADDELLCYNTHIA                                                      Litigation
        B. CHAPMANAMY E. TABOR          ACCOUNT NO.: NOT AVAILABLE
        CADDELL & CHAPMAN
        628 EAST 9TH STREET
        HOUSTON, TX 77007-1722




                                            Page 7148 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       311 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49508 SUSANNE HARRISON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49509 SUSANNE HARRISON                          VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.49510 SUSANNE PORTER                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.49511 SUSANNE PORTER                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49512 SUSANNE PORTER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49513 SUSANNE PORTER                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




                                            Page 7149 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       312 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49514 SUSANNE PORTER                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49515 SUTTON, KRISTA CORINNE            VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.49516 SUTTON, KRISTA CORINNE                    VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49517 SUTTON, KRISTA CORINNE                    VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49518 SUZANNE CRAMTON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49519 SUZANNE CRAMTON                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




                                            Page 7150 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       313 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49520 SUZANNE CRAMTON                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49521 SUZANNE CRAMTON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49522 SUZANNE FRANK                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49523 SUZANNE FRANK                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49524 SUZANNE FRANK                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




                                            Page 7151 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       314 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49525 SUZANNE FRANK                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                     Litigation
        126782AMANDA L. RIDDLE -         ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49526 SUZANNE HAUPTMAN                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.49527 SUZANNE HAUPTMAN                           VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.49528 SUZANNE HAUPTMAN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.49529 SUZANNE HAUPTMAN                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49530 SUZANNE HAUPTMAN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


                                             Page 7152 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        315 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49531 SUZANNE M. CARRINGTON                     VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.49532 SUZANNE M. CARRINGTON                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49533 SUZANNE M. CARRINGTON                     VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49534 SUZANNE M. CARRINGTON                     VARIOUS                              Wildfire               UNDETERMINED
        MARK P. ROBINSON, JR. (SBN                                                     Litigation
        54426) DANIEL S. ROBINSON       ACCOUNT NO.: NOT AVAILABLE
        (SBN 244245)
        ROBINSON CALCAGINE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CA 92660


3.49535 SUZANNE M. CARRINGTON                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49536 SUZANNE NARDUCCI                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                      Litigation
        DAVISKEVIN M.                   ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105




                                            Page 7153 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       316 of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.49537 SUZANNE NARDUCCI                               VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                             Litigation
        D. EDWARDS                           ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.49538 SUZANNE PASKY-FOUTS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49539 SUZANNE PASKY-FOUTS                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49540 Suzanne Pasky-Fouts                            VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Sumble Manzoor- Bar No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.49541 SUZANNE R KLEHR                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                    Litigation
        WALKUP, MELODIA, KELLY &             ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                                 Page 7154 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13          Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                            317 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49542 SUZANNE R KLEHR                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                           Litigation
        SINGLETONERIKA L.                ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49543 SUZANNE R KLEHR                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49544 SUZANNE R KLEHR                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49545 SUZANNE R KLEHR                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                       Litigation
        MARTINI                          ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49546 SUZANNE REEVES                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.49547 SUZANNE REEVES                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                             Page 7155 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        318 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49548 SUZANNE REEVES                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.49549 SUZANNE REEVES                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49550 SUZANNE REEVES                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49551 SUZANNE WAKIM                             VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.49552 SUZANNE WAKIM                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49553 SUZANNE WAKIM                             VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014




                                            Page 7156 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       319 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49554 SUZANNE WAKIM                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49555 SUZANNE WINCHESTER                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49556 SUZANNE WINCHESTER                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49557 SUZANNE WINCHESTER                         VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.49558 SUZANNE WINCHESTER                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49559 SUZANNE WINCHESTER                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




                                             Page 7157 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        320 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49560 SUZETTE DELBONTA                          VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.49561 SUZETTE DELBONTA                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.49562 SUZIE DUKES                               VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.49563 SUZIE DUKES                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49564 SUZIE DUKES                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49565 SUZIE DUKES                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.49566 SWANTON, KASSANDRA                        VARIOUS                              Wildfire               UNDETERMINED
        17 MOUNTAIN AVE                                                                Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE



                                            Page 7158 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       321 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49567 SWARTZ, STEVEN                            VARIOUS                              Wildfire               UNDETERMINED
        225 WHITEOAK DRIVE                                                             Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.49568 SWISHER, JEFF                             VARIOUS                              Wildfire               UNDETERMINED
        15095 TOREY PINE RD                                                            Litigation
        MAGALIA, CA 95954               ACCOUNT NO.: NOT AVAILABLE


3.49569 SWITZER, RANDY                            VARIOUS                              Wildfire               UNDETERMINED
        780 BEAVER LN                                                                  Litigation
        DISCOVERY BAY, CA 94514         ACCOUNT NO.: NOT AVAILABLE


3.49570 SYAMALA ATI                               VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.49571 SYAMALA ATI                               VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.49572 SYBIL E. CODY                             VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                  Litigation
        NO.254651)JOANNA LEE FOX        ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.49573 SYBIL E. CODY                             VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                        Litigation
        (BAR NO. 295951) RACHEL         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014




                                            Page 7159 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       322 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49574 SYBIL E. CODY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49575 SYBIL E. CODY                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49576 SYDNEE D. PETERSON                        VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.49577 SYDNEY ZIMMERMAN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49578 SYDNEY ZIMMERMAN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49579 SYDNEY ZIMMERMAN                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




                                            Page 7160 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       323 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49580 SYDNEY ZIMMERMAN                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49581 SYDNI ROBERSON                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.49582 SYDNI ROBERSON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.49583 SYDNI ROBERSON                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612




                                            Page 7161 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       324 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49584 SYDONIA BROWN                             VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.49585 SYLVIA ARNOTT                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49586 SYLVIA ARNOTT                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49587 SYLVIA ARNOTT                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49588 SYLVIA ARNOTT                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




                                            Page 7162 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       325 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49589 SYLVIA BRAY                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49590 SYLVIA BRAY                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.49591 SYLVIA BRAY                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.49592 SYLVIA BRAY                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.49593 SYLVIA BYCZINSKI                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.49594 SYLVIA BYCZINSKI                          VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.49595 SYLVIA BYCZINSKI                          VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101




                                            Page 7163 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       326 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49596 SYLVIA CHAPMAN                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49597 SYLVIA CHAPMAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49598 SYLVIA CHAPMAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49599 SYLVIA CHAPMAN                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49600 SYLVIA CLEVENGER                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49601 SYLVIA CLEVENGER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



                                            Page 7164 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       327 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49602 SYLVIA CLEVENGER                          VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49603 SYLVIA CLEVENGER                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.49604 SYLVIA CLEVENGER                          VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.49605 SYLVIA DIANE HERRERA                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49606 SYLVIA DIANE HERRERA                      VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49607 SYLVIA DIANE HERRERA                      VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101



                                            Page 7165 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       328 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49608 SYLVIA DIANE HERRERA                      VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.49609 SYLVIA E.D SWETT                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49610 SYLVIA E.D SWETT                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49611 SYLVIA E.D SWETT                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49612 SYLVIA E.D SWETT                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49613 SYLVIA E.D SWETT                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




                                            Page 7166 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       329 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49614 SYLVIA KAY                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49615 SYLVIA KAY                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49616 SYLVIA KAY                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49617 SYLVIA KAY                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49618 SYMONDS, LISA                             VARIOUS                              Wildfire               UNDETERMINED
        6932 FAIRFIELD DR.                                                             Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.49619 SZCZEKOCKI, STACEY                        VARIOUS                              Wildfire               UNDETERMINED
        5911 MOUNTAIN HAWK DR                                                          Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.49620 SZUPELLO SMITH, TAMMIE                    VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 184                                                                     Litigation
        POTTER VALLEY, CA 94969         ACCOUNT NO.: NOT AVAILABLE




                                            Page 7167 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       330 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49621 T & L AUTOMOTIVE                          VARIOUS                              Wildfire               UNDETERMINED
        ENTERPRISES, LLC                                                               Litigation
        GERARD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49622 T & L AUTOMOTIVE                  VARIOUS                                      Wildfire               UNDETERMINED
        ENTERPRISES, LLC                                                               Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.49623 T & L AUTOMOTIVE                          VARIOUS                              Wildfire               UNDETERMINED
        ENTERPRISES, LLC                                                               Litigation
        ELLIOT ADLERBRITTANY            ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49624 TABATHA ANNE BREWSTER                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49625 TABATHA ANNE BREWSTER                     VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49626 TABATHA ANNE BREWSTER                     VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




                                            Page 7168 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       331 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49627 TABATHA ANNE BREWSTER                     VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.49628 TABATHA WILKERSON                         VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.49629 TABATHA WILKERSON                         VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.49630 TABER, DANIEL                             VARIOUS                              Wildfire               UNDETERMINED
        9600 SPRING VALLEY RD                                                          Litigation
        POTTER VALLEY, CA 95469         ACCOUNT NO.: NOT AVAILABLE


3.49631 TABERT, TERILIN                           VARIOUS                              Wildfire               UNDETERMINED
        2639 WESTBERRY DR                                                              Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.49632 TAD SIMONS                                VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.49633 TAD SIMONS                                VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




                                            Page 7169 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       332 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49634 TAD SIMONS                                VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.49635 TAGHRID DIAB                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49636 TAGHRID DIAB                              VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.49637 TAGHRID DIAB                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49638 TAGHRID DIAB                              VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.49639 TAHNEE COLEMAN                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




                                            Page 7170 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       333 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49640 TAHNEE COLEMAN                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49641 TAHNEE COLEMAN                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.49642 TAHNEE COLEMAN                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.49643 TAIT SMITH                                VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.49644 TAIT SMITH                                VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.49645 TAIT SMITH                                VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.49646 TAIT SMITH                                VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




                                            Page 7171 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       334 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49647 TAIT SMITH                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.49648 TAIT SMITH                                VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49649 TAKARA, TARI (JOSES);                     VARIOUS                              Wildfire               UNDETERMINED
        TAKARA, DARRELL (ASHTON)                                                       Litigation
        GERARD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49650 TAKARA, TARI (JOSES);                     VARIOUS                              Wildfire               UNDETERMINED
        TAKARA, DARRELL (ASHTON)                                                       Litigation
        ELLIOT ADLERBRITTANY            ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49651 TAKARA, TARI (JOSES);             VARIOUS                                      Wildfire               UNDETERMINED
        TAKARA, DARRELL (ASHTON)                                                       Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.49652 TAKIYAH HAYES                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105



                                            Page 7172 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       335 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49653 TAKIYAH HAYES                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.49654 TALINE COULIER                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.49655 TALINE COULIER                            VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                     Litigation
        167700STEVEN S. KANE, ESQ.,     ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.49656 TALINE COULIER                            VARIOUS                              Wildfire               UNDETERMINED
        ARA JABAGCHOURIAN                                                              Litigation
        LAW OFFICES OF ARA              ACCOUNT NO.: NOT AVAILABLE
        JABAGCHOURIAN, P.C.
        1650 S. AMPHLETT BOULEVARD,
        SUITE 216
        SAN MATEO, CA 94402


3.49657 TALINE COULIER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49658 TALLEY, MICHAEL                           VARIOUS                              Wildfire               UNDETERMINED
        ADDRESS NOT PROVIDED                                                           Litigation
                                        ACCOUNT NO.: NOT AVAILABLE


3.49659 TALLIA, JACK                      VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




                                            Page 7173 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       336 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49660 TALLIA, JACK                              VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49661 TALLIA, JACK                              VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49662 TALLIA, JACK (AS DOING                    VARIOUS                              Wildfire               UNDETERMINED
        BUSINESS AS SUNSET                                                             Litigation
        AUTOMOTIVE); TALLIA, JASON      ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49663 TALLIA, JACK (AS DOING                    VARIOUS                              Wildfire               UNDETERMINED
        BUSINESS AS SUNSET                                                             Litigation
        AUTOMOTIVE); TALLIA, JASON      ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49664 TALLIA, JACK (AS DOING             VARIOUS                                     Wildfire               UNDETERMINED
        BUSINESS AS SUNSET                                                             Litigation
        AUTOMOTIVE); TALLIA, JASON ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.49665 TAMA D. CZARNECKI                         VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




                                            Page 7174 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       337 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49666 TAMANTHA M DELGADO                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49667 TAMANTHA M DELGADO                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49668 TAMANTHA M DELGADO                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49669 TAMANTHA M DELGADO                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49670 TAMANTHA M DELGADO                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49671 TAMARA BRKAULT                            VARIOUS                              Wildfire               UNDETERMINED
        BRIANJ. PANISH (SBN 116060)                                                    Litigation
        PANISH SHEA &BOYLE, LLP         ACCOUNT NO.: NOT AVAILABLE
        11111 SANTA MONICA BLVD.,
        SUITE 700
        LOS ANGELES, CA 90025


3.49672 TAMARA BRKAULT                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


                                            Page 7175 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       338 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49673 TAMARA BRKAULT                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAELA. KELLY (SBN 71460)                                                    Litigation
        WALKUP MELODIA KELLY&           ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49674 TAMARA BRKAULT                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE (SBN                                                            Litigation
        100077)ALISON E. CORDOVA        ACCOUNT NO.: NOT AVAILABLE
        (SBN 284942)JOHN P. THYKEN
        (SBN 286598)
        COTCHETT, PITRE &
        MCCARTHY, LLP
        SAN FRANCISCO AIRPORT
        OFFICE CENTER840 MALCOLM
        ROAD, SUITE 200
        BURLINGA, CALIFORNIA 94111


3.49675 TAMARA BUCKLES                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49676 TAMARA BUCKLES                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49677 TAMARA BUCKLES                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.49678 TAMARA BUCKLES                            VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




                                            Page 7176 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       339 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49679 TAMARA CANOVAS                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.49680 TAMARA CANOVAS                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.49681 TAMARA CANOVAS                            VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49682 TAMARA CANOVAS                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.49683 TAMARA CANOVAS                            VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.49684 TAMARA HEYRMAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7177 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       340 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49685 TAMARA HEYRMAN                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49686 TAMARA HEYRMAN                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49687 TAMARA HEYRMAN                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49688 TAMARA HEYRMAN                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49689 TAMARA L. MALONE                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.49690 TAMARA L. MALONE                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7178 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       341 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49691 TAMARA L. MALONE                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49692 TAMARA L. MALONE                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49693 TAMARA L. MALONE                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49694 TAMARA LUDINGTON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49695 TAMARA LUDINGTON                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49696 TAMARA LUDINGTON                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




                                            Page 7179 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       342 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49697 TAMARA LUDINGTON                          VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.49698 TAMARA LYNCH                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49699 TAMARA LYNCH                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.49700 TAMARA LYNCH                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49701 TAMARA LYNCH                              VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.49702 TAMARA MARIE BRADFORD                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7180 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       343 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49703 TAMARA MARIE BRADFORD                     VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49704 TAMARA MARIE BRADFORD                     VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.49705 TAMARA MARIE BRADFORD                     VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.49706 TAMARA REED                               VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.49707 TAMARA REED                               VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.49708 TAMARA ROBERTS                            VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                    Litigation
        248092)JACK W. WEAVER,          ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


                                            Page 7181 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       344 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49709 TAMARA ROBERTS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49710 TAMARA ROBERTS                            VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                      Litigation
        (SBN 99126)NATASHA N.           ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.49711 TAMARA ROBERTS                            VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                    Litigation
        9858)JESSICA W. HAYES.,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.49712 TAMARA SMITH                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49713 TAMARA SMITH                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49714 TAMARA SMITH                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010



                                            Page 7182 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       345 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49715 TAMARA SMITH                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.49716 TAMARA SMITH                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49717 TAMARA YORK                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49718 TAMARA YORK                                VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                        Litigation
        TOSDAL LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.49719 TAMARA YORK                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                        Litigation
        81867                            ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.49720 TAMARA YORK                                VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN        ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.49721 TAMBLIN, ADRIAN                            VARIOUS                              Wildfire               UNDETERMINED
        2454 W. COLLEGE AVE                                                             Litigation
        SANTA ROSA, CA 95401             ACCOUNT NO.: NOT AVAILABLE


                                             Page 7183 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        346 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49722 TAMBRA VAN DYKE                            VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.49723 TAMBRA VAN DYKE                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49724 TAMBRA VAN DYKE                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.49725 TAMBRA VAN DYKE                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49726 TAMBRA VAN DYKE                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.49727 TAMEENA BAILY                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




                                             Page 7184 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        347 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49728 TAMEENA BAILY                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.49729 TAMERA HARRAH                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49730 TAMERA HARRAH                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49731 TAMERA HARRAH                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49732 TAMERA HARRAH                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49733 TAMERA LOWRIE                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


                                            Page 7185 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       348 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49734 TAMERA LOWRIE                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.49735 TAMERA LOWRIE                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.49736 TAMERA LOWRIE                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.49737 TAMERA LOWRIE                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49738 TAMI BATES-HURT                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.49739 TAMI BATES-HURT                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401



                                            Page 7186 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       349 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49740 TAMI COLEMAN                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49741 TAMI COLEMAN                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49742 TAMI COLEMAN                               VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.49743 TAMI COLEMAN                               VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH FEIST -- SBN                                                             Litigation
        249447JONATHAN J.                ACCOUNT NO.: NOT AVAILABLE
        GRIFFITH -- SBN 266891
        NORTHERN CALIFORNIA LAW
        GROUP, PC.
        2611 ESPLANADE
        CHICO, CA 95973


3.49744 TAMI COLEMAN                               VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.49745 TAMI COPELAND                              VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                                Litigation
        ABRAHAM, WATKINS, NICHOLS,       ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




                                             Page 7187 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        350 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49746 TAMI COPELAND                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.49747 TAMI TRUAX                                VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.49748 TAMI TRUAX                                VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.49749 TAMICA OVERMYER                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49750 TAMICA OVERMYER                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                            Page 7188 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       351 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49751 TAMICA OVERMYER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49752 TAMICA OVERMYER                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49753 TAMICA OVERMYER                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.49754 TAMIKA JONES                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49755 TAMIKA JONES                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49756 TAMIKA JONES                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




                                            Page 7189 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       352 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49757 TAMIKA JONES                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49758 TAMMIE L. PIERRO                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49759 TAMMIE L. PIERRO                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49760 TAMMIE L. PIERRO                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49761 TAMMIE L. PIERRO                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49762 TAMMIE L. PIERRO                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103




                                            Page 7190 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       353 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49763 TAMMIE MILLER                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.49764 TAMMIE MILLER                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.49765 TAMMY BROTT-MILLER                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49766 TAMMY BROTT-MILLER                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49767 TAMMY BROTT-MILLER                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49768 TAMMY BROTT-MILLER                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                            Page 7191 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       354 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49769 TAMMY BROTT-MILLER                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49770 TAMMY FOUTZ                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49771 TAMMY FOUTZ                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49772 TAMMY FOUTZ                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49773 TAMMY FOUTZ                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49774 TAMMY HALLER                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


                                            Page 7192 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       355 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49775 TAMMY HALLER                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49776 TAMMY HALLER                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49777 TAMMY HALLER                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49778 TAMMY HALLER                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49779 TAMMY JOHNSON                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49780 TAMMY JOHNSON                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443




                                            Page 7193 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       356 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49781 TAMMY JOHNSON                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49782 TAMMY JOHNSON                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49783 TAMMY JOHNSON                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.49784 TAMMY L HUNTER                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49785 TAMMY L HUNTER                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49786 TAMMY L HUNTER                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                            Page 7194 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       357 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49787 TAMMY L HUNTER                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49788 TAMMY L HUNTER                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49789 TAMMY L. MILLER                           VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.49790 TAMMY LYNN HEINZLE                        VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.49791 TAMMY LYNN HEINZLE                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49792 TAMMY LYNN HEINZLE                        VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


                                            Page 7195 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       358 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49793 TAMMY LYNN HEINZLE                        VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49794 TAMMY MATHIES                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49795 TAMMY MATHIES                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.49796 TAMMY MATHIES                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.49797 TAMMY MATHIES                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.49798 TAMMY PARKER                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




                                            Page 7196 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       359 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49799 TAMMY PARKER                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49800 TAMMY PARKER                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49801 TAMMY PARKER                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49802 TAMMY REICHERT                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49803 TAMMY REICHERT                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49804 TAMMY REICHERT                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612



                                            Page 7197 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       360 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49805 TAMMY REICHERT                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49806 TAMMY SPIRLOCK                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49807 TAMMY SPIRLOCK                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.49808 TAMMY SPIRLOCK                            VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.49809 TAMMY SPIRLOCK                            VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.49810 TAMMY SUE MIKAN                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825




                                            Page 7198 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       361 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49811 TAMMY SUE MIKAN                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                           Litigation
        SIMMONS                          ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49812 TAMMY SUE MIKAN                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                         Litigation
        R. PARKINSONDANIEL E.            ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.49813 TAMMY SUE MIKAN                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                              Litigation
        FRIEDEMANN GOLDBERG LLP          ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.49814 TAMMY TROJANOWSKI                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49815 TAMMY TROJANOWSKI                          VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.49816 TAMMY TROJANOWSKI                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




                                             Page 7199 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        362 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49817 TAMMY TROJANOWSKI                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49818 TAMMY TROJANOWSKI                         VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.49819 TAMMY YEAGER                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49820 TAMMY YEAGER                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49821 TAMMY YEAGER                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




                                            Page 7200 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       363 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49822 TAMMY YEAGER                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49823 TAMO, GAETAN                              VARIOUS                              Wildfire               UNDETERMINED
        2695 AMBER LANE                                                                Litigation
        SANTA ROSA, CA 95404            ACCOUNT NO.: NOT AVAILABLE


3.49824 TAMRA GRAY                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49825 TAMRA GRAY                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.49826 TAMRA GRAY                                VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.49827 TAMRA GRAY                                VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101




                                            Page 7201 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       364 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49828 TAMRA MEDLEY                              VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.49829 TAMRA MEDLEY                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.49830 TAMRA MEDLEY                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.49831 TAMRA MEDLEY                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49832 TAMRA SOUTH                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49833 TAMRA SOUTH                               VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




                                            Page 7202 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       365 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49834 TAMRA SOUTH                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.49835 TAMRA SOUTH                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.49836 TAMRA SOUTH                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49837 TAMRA SOUTH, INDIVIDUALLY                 VARIOUS                              Wildfire               UNDETERMINED
        AND AS TRUSTEE OF THE                                                          Litigation
        ARMSTRONG FAMILY TRUST          ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLYKHALDOUN
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49838 TAMRA SOUTH, INDIVIDUALLY                 VARIOUS                              Wildfire               UNDETERMINED
        AND AS TRUSTEE OF THE                                                          Litigation
        ARMSTRONG FAMILY TRUST          ACCOUNT NO.: NOT AVAILABLE
        JOSEPH M. EARLEY III (CAL.
        STATE BAR NO. 157400)
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




                                            Page 7203 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       366 of 578
PG&E Corporation                                                                                  Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.49839 Tamra South, individually and as              VARIOUS                              Wildfire               UNDETERMINED
        trustee of the Armstrong Family                                                    Litigation
        Trust                               ACCOUNT NO.: NOT AVAILABLE
        Mikal C. Watts (Pro Hac Vice
        Application anticipated)Guy Watts
        (Pro Hac Vice Application
        anticipated)Paige Boldt (Cal.
        State Bar No. 308772)
        Watts Guerra LLP
        70 Stony Point Road, Suite A
        Santa Rosa, CA 95401


3.49840 TAMRA SOUTH, INDIVIDUALLY                     VARIOUS                              Wildfire               UNDETERMINED
        AND AS TRUSTEE OF THE                                                              Litigation
        ARMSTRONG FAMILY TRUST              ACCOUNT NO.: NOT AVAILABLE
        E. ELLIOT ADLERBRITTANY S.
        ZUMMERAMANDA J.
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49841 TANA RUSSELL                                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                           Litigation
        A. BAGHDADI                         ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49842 TANA RUSSELL                                  VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                             Litigation
        110909)                             ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49843 TANA RUSSELL                                  VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                            Litigation
        (BAR NO. 295951) RACHEL             ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

        KRISTEN REANO(BAR
        NO.321795)
        SIEGLOCK LAW, APC
        1221 CAMINO DEL MAR
        DEL MAR, CA 92014




                                                Page 7204 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                           367 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49844 TANA RUSSELL                              VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                  Litigation
        NO.254651)JOANNA LEE FOX        ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.49845 TANASIJE CHOBANOV                         VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.49846 TANASIJE CHOBANOV                         VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49847 TANASIJE CHOBANOV                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49848 TANASIJE CHOBANOV                         VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.49849 TANESSA EGAN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7205 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       368 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49850 TANESSA EGAN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.49851 TANESSA EGAN                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.49852 TANESSA EGAN                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.49853 TANESSA WILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49854 TANESSA WILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                            Page 7206 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       369 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49855 TANESSA WILLIAMS                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49856 TANESSA WILLIAMS                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49857 TANESSA WILLIAMS                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                       Litigation
        MARTINI                          ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49858 TANIA DUNLAP                               VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.49859 TANIA DUNLAP                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.49860 TANIA DUNLAP                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




                                             Page 7207 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        370 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49861 TANIA DUNLAP                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49862 TANIA DUNLAP                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49863 TANNER HUGGINS                            VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.49864 TANNER HUGGINS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.49865 TANNER HUGGINS                            VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.49866 TANNER HUGGINS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7208 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       371 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49867 TANNETTE ASHFORD                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.49868 TANNETTE ASHFORD                          VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.49869 TANNITH E MARTIN                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49870 TANNITH E MARTIN                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49871 TANNITH E MARTIN                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49872 TANNITH E MARTIN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7209 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       372 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49873 TANNITH E MARTIN                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49874 TANTARELLI, DANIEL                        VARIOUS                              Wildfire               UNDETERMINED
        5232 BADGER RD                                                                 Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.49875 TANYA BAKER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49876 TANYA BAKER                               VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.49877 TANYA BAKER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.49878 TANYA BAKER                               VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.49879 TANYA BLUE                                VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




                                            Page 7210 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       373 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49880 TANYA BLUE                                VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.49881 TANYA HAMILTON                            VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49882 TANYA HAMILTON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49883 TANYA HAMILTON                            VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.49884 TANYA HAMILTON                            VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49885 TANYA JENKINS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


                                            Page 7211 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       374 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49886 TANYA JENKINS                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49887 TANYA JENKINS                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49888 TANYA JENKINS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49889 TANYA SWEARINGER- DUARTE                  VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                      Litigation
        (SBN 99126)NATASHA N.           ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.49890 TANYA SWEARINGER- DUARTE                  VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                    Litigation
        9858)JESSICA W. HAYES.,         ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130



                                            Page 7212 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       375 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49891 TANYA SWEARINGER- DUARTE                  VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49892 TANYA SWEARINGER- DUARTE                  VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                    Litigation
        248092)JACK W. WEAVER,          ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.49893 TANYA TILLMAN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49894 TANYA TILLMAN                             VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.49895 TANYA TILLMAN                             VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.49896 TANYA WILLIAMS                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.49897 TANYA WILLIAMS                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


                                            Page 7213 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       376 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49898 TAPIA, MARIA                               VARIOUS                              Wildfire               UNDETERMINED
        PO BOX 7487                                                                     Litigation
        SONOMA, CA 95407                 ACCOUNT NO.: NOT AVAILABLE


3.49899 TARA BROOKE SEATON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49900 TARA BROOKE SEATON                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49901 TARA BROOKE SEATON                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.49902 TARA BROOKE SEATON                         VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.49903 TARA BROOKE SEATON                         VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720




                                             Page 7214 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        377 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49904 TARA MANOLIAN                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.49905 TARA MANOLIAN                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.49906 TARA MANOLIAN                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.49907 TARA MANOLIAN                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49908 TARA MANOLIAN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




                                            Page 7215 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       378 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49909 TARA WORTHINGTON                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.49910 TARA WORTHINGTON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49911 TARA WORTHINGTON                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.49912 TARA WORTHINGTON                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.49913 TAREQ ALREHANI                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075




                                            Page 7216 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       379 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49914 TAREQ ALREHANI                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.49915 TAREQ ALREHANI                            VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.49916 TAREQ ALREHANI                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.49917 TAREQ ALREHANI                            VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49918 TASHA PRUE                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




                                            Page 7217 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       380 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49919 TASHA PRUE                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.49920 TASHA PRUE                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.49921 TASHA SARGENT                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49922 TASHA SARGENT                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49923 TASHA SARGENT                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49924 TASHA SARGENT                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


                                            Page 7218 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       381 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49925 TASHA SARGENT                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49926 TATE, SUSAN                               VARIOUS                              Wildfire               UNDETERMINED
        13730 NIMSHEW RD                                                               Litigation
        MAGALIA, CA 95954               ACCOUNT NO.: NOT AVAILABLE


3.49927 TATHAM, CHERYL                            VARIOUS                              Wildfire               UNDETERMINED
        6235 LEICESTER DR.                                                             Litigation
        MAGALIA, CA 95954               ACCOUNT NO.: NOT AVAILABLE


3.49928 TATIANA FENELL                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.49929 TATIANA FENELL                            VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDI                                                               Litigation
        #53208TERENCE D. EDWARDS,       ACCOUNT NO.: NOT AVAILABLE
        #168095JASON B. FRIEDMAN
        #277888
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.49930 TATIANA FENELL                            VARIOUS                              Wildfire               UNDETERMINED
        ROBRT S. ARNS, #65071                                                          Litigation
        THE ARNS LAW FIRM               ACCOUNT NO.: NOT AVAILABLE
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.49931 TATIANA FENELL                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




                                            Page 7219 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       382 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49932 TATIANA QUIJANO                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.49933 TATIANA QUIJANO                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49934 TATIANA QUIJANO                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.49935 TATIANA QUIJANO                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.49936 TAUBINSKY, SVETLANA                       VARIOUS                              Wildfire               UNDETERMINED
        1509 GREAT HERON DR                                                            Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.49937 TAUNYA MASTIN                             VARIOUS                              Wildfire               UNDETERMINED
        MARK P. ROBINSON, JR.KEVIN                                                     Litigation
        CALCAGNIESHANNON                ACCOUNT NO.: NOT AVAILABLE
        LUKEILILA RAZMARA
        ROBINSON CALCAGNIE, INC.
        19 CORPORATE PLAZA DRIVE
        NEWPORT BEACH, CALIFORNIA
        92660


3.49938 TAUNYA SHILLING                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


                                            Page 7220 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       383 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49939 TAUNYA SHILLING                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES- BAR NO.
       209113
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.49940 TAUNYA SHILLING                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49941 TAUNYA SHILLING                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.49942 TAWNI WARD                                VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.49943 TAWNI WARD                                VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.49944 TAWNI WARD                                VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


                                            Page 7221 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       384 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49945 TAWNI WARD                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.49946 TAWNI WARD                                VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.49947 TAYA DARROW                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.49948 TAYA DARROW                               VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.49949 TAYA DARROW                               VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.49950 TAYLOR BARRERA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7222 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       385 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49951 TAYLOR BARRERA                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49952 TAYLOR BARRERA                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49953 TAYLOR BARRERA                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49954 TAYLOR BARRERA                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.49955 TAYLOR D. SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.49956 TAYLOR D. SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103




                                            Page 7223 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       386 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49957 TAYLOR D. SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.49958 TAYLOR D. SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49959 TAYLOR D. SMITH                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49960 TAYLOR HUERTA                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49961 TAYLOR HUERTA                             VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49962 TAYLOR HUERTA                             VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




                                            Page 7224 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       387 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49963 TAYLOR HUERTA                             VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.49964 TAYLOR MACKEY                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.49965 TAYLOR MACKEY                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.49966 TAYLOR MACKEY                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.49967 TAYLOR MACKEY                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.49968 TAYLOR MARIE LORD                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49969 TAYLOR MARIE LORD                         VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN AND MILLER LAW FINN      ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403




                                            Page 7225 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       388 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49970 TAYLOR MARIE LORD                         VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.49971 TAYLOR PETERSON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49972 TAYLOR PETERSON                           VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.49973 TAYLOR PETERSON                           VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.49974 TAYLOR PETERSON                           VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.49975 TAYLOR WALDON                             VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




                                            Page 7226 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       389 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49976 TAYLOR WALDON                             VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.49977 TAYLOR, GREGORY                           VARIOUS                              Wildfire               UNDETERMINED
        1543 LOS ALAMOS RD                                                             Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.49978 TAYLOR, JEANE                             VARIOUS                              Wildfire               UNDETERMINED
        841 SHADY OAK DR                                                               Litigation
        SANTA ROSA, CA 95404            ACCOUNT NO.: NOT AVAILABLE


3.49979 TAYLOR, JONI                              VARIOUS                              Wildfire               UNDETERMINED
        578 SUTTON WY #352                                                             Litigation
        GRASS VALLEY, CA 95945          ACCOUNT NO.: NOT AVAILABLE


3.49980 TAYLOR, STACI                             VARIOUS                              Wildfire               UNDETERMINED
        1700 YELLOWSTONE ST                                                            Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.49981 TAYNA REESER                              VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                         Litigation
        SHEARJASON BOYER                ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.49982 TAYNA REESER                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.49983 TAYNA REESER                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7227 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       390 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.49984 TAYNA REESER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.49985 TAYNA REESER                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.49986 TEAIRRA TROWELL                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.49987 TEAIRRA TROWELL                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                                Litigation
        ABRAHAM, WATKINS, NICHOLS,       ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.49988 TEAL MANGRUM                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.49989 TEAL MANGRUM                               VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                        Litigation
        TOSDAL LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075




                                             Page 7228 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        391 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.49990 TEAL MANGRUM                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAELS. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.49991 TEAL MANGRUM                              VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR.,SBN                                                        Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCAVILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.49992 TEARTT, WILHEMINA                         VARIOUS                              Wildfire               UNDETERMINED
        1375 FULTON RD # A                                                             Litigation
        SANTA ROSA, CA 95401            ACCOUNT NO.: NOT AVAILABLE


3.49993 TECHNOLOGY INSURANCE                      VARIOUS                              Wildfire               UNDETERMINED
        COMPANY, INC.                                                                  Litigation
        THOMAS M. REGAN (SBN            ACCOUNT NO.: NOT AVAILABLE
        113800)KEVIN BUSH (SBN
        120480)DAVID D. BRISCO (SBN
        238270)PETER LYNCH, ESQ.
        (SBN 123603)
        COZEN O'CONNOR
        501 W. BROADWAY, SUITE 1610
        SAN DIEGO, CA 92101


3.49994 TECHNOLOGY INSURANCE                      VARIOUS                              Wildfire               UNDETERMINED
        COMPANY, INC.                                                                  Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.49995 TECHNOLOGY INSURANCE                      VARIOUS                              Wildfire               UNDETERMINED
        COMPANY, INC.                                                                  Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101




                                            Page 7229 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       392 of 578
PG&E Corporation                                                                                  Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address             Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                 Account Number                            Claim

Wildfire Claims

3.49996 TECHNOLOGY INSURANCE                          VARIOUS                              Wildfire               UNDETERMINED
        COMPANY, INC.                                                                      Litigation
        HOWARD D. MAYCON                    ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.49997 Ted Brown                                     VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                       Litigation
        application anticipated)Guy Watts   ACCOUNT NO.: NOT AVAILABLE
        (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.49998 TED BROWN                                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                           Litigation
        NO. 197687)                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.49999 TED HINGST                                    VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M. SCHACK, ESQ.                                                          Litigation
        (SBN 99126)NATASHA N.               ACCOUNT NO.: NOT AVAILABLE
        SERINO, ESQ. (SBN
        284711)SHANNON F. NOCON,
        ESQ. (SBN 316523)
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BERNARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.50000 TED HINGST                                    VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY, SR. (SBN                                                        Litigation
        9858)JESSICA W. HAYES.,             ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 28927) PRO HAE
        VICE APPLICATIONS TO BE
        FILED
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130




                                                Page 7230 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                           393 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50001 TED HINGST                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50002 TED HINGST                                VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTY, ESQ. (SBN                                                    Litigation
        248092)JACK W. WEAVER,          ACCOUNT NO.: NOT AVAILABLE
        ESQ. (SBN 278469)
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.50003 TED RABINOWITSH                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.50004 TED RABINOWITSH                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.50005 TED RABINOWITSH                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.50006 TED RABINOWITSH                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.50007 TED RATLIFF                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



                                            Page 7231 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       394 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50008 TED RATLIFF                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.50009 TED RATLIFF                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50010 TED RATLIFF                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.50011 TEDESCHI, GENE                            VARIOUS                              Wildfire               UNDETERMINED
        3053 PORTER CREEK RD                                                           Litigation
        SANTA ROSA, CA 95404            ACCOUNT NO.: NOT AVAILABLE


3.50012 TEELA BAKER                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.50013 TEELA BAKER                               VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001




                                            Page 7232 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       395 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50014 TEELA BAKER                               VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.50015 TEELA BAKER                               VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.50016 TEELA BAKER                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.50017 TEELA BAKER                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.50018 TEELA BAKER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50019 TEELA BAKER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50020 TEEN SERVICES SONOMA - LEE,               VARIOUS                              Wildfire               UNDETERMINED
        JOELYNN                                                                        Litigation
        17440 ARNOLD DRIVE              ACCOUNT NO.: NOT AVAILABLE
        SONOMA, CA 95476




                                            Page 7233 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       396 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50021 TEMPLERASTON, SANDRA                      VARIOUS                              Wildfire               UNDETERMINED
        6491 TIMBER SPRINGS DR                                                         Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.50022 TENNISON, JOHN                            VARIOUS                              Wildfire               UNDETERMINED
        5639 DEL MONTE CT                                                              Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.50023 TERCOVICH, RYAN                           VARIOUS                              Wildfire               UNDETERMINED
        264 COUNTRY CLUB LANE                                                          Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.50024 TERENCE ALBERIGI                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.50025 TERENCE ALBERIGI                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.50026 TERENCE ALBERIGI                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.50027 TERENCE ALBERIGI                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.50028 TERENCE LEE SWINDLE                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7234 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       397 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50029 TERENCE LEE SWINDLE                       VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.50030 TERENCE LEE SWINDLE                       VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.50031 TERENCE LEE SWINDLE                       VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.50032 TERESA ARMSTRONG                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.50033 TERESA ARMSTRONG                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024




                                            Page 7235 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       398 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50034 TERESA C GARDNER                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50035 TERESA C GARDNER                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50036 TERESA C GARDNER                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50037 TERESA C GARDNER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50038 TERESA C GARDNER                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.50039 TERESA CAMERON                            VARIOUS                              Wildfire               UNDETERMINED
        BRIAN PANISH, STATE BAR NO.                                                    Litigation
        116060RAHUL RAVIPUDI,           ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 204519LYSSA
        A. ROBERTS, STATE BAR NO.
        235049
        PANISH SHEA & BOYLE LLP
        11111 SANTA MONICA
        BOULEVARD, SUITE 700
        LOS ANGELES, CALIFORNIA
        90025




                                            Page 7236 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       399 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50040 TERESA CAMERON                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, STATE BAR                                                      Litigation
        NO. 100077                      ACCOUNT NO.: NOT AVAILABLE
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CALIFORNIA
        94010


3.50041 TERESA CAMERON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY, STATE BAR                                                    Litigation
        NO. 71460                       ACCOUNT NO.: NOT AVAILABLE
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CALIFORNIA
        94108


3.50042 TERESA CARROLL                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.50043 TERESA CARROLL                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.50044 TERESA CARROLL                            VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.50045 TERESA CARROLL                            VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50046 TERESA CARROLL                            VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


                                            Page 7237 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       400 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50047 TERESA CARROLL                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.50048 TERESA CLEMENTS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50049 TERESA CLEMENTS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.50050 TERESA CLEMENTS                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50051 TERESA CLEMENTS                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




                                            Page 7238 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       401 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50052 TERESA COLEN                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.50053 TERESA COLEN                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.50054 TERESA COLEN                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50055 TERESA COLEN                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.50056 TERESA COLEN                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.50057 TERESA CRONIN                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




                                            Page 7239 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       402 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50058 TERESA CRONIN                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.50059 TERESA CRONIN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.50060 TERESA CRONIN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50061 TERESA F. DUGAN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50062 TERESA F. DUGAN                           VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.50063 TERESA L LA MAR                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                            Page 7240 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       403 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50064 TERESA L LA MAR                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50065 TERESA L LA MAR                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50066 TERESA L LA MAR                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.50067 TERESA L LA MAR                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50068 TERESA M. BELL                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50069 TERESA M. BELL                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103




                                            Page 7241 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       404 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50070 TERESA M. BELL                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50071 TERESA M. BELL                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50072 TERESA M. BELL                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50073 TERESA MCGRATH                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50074 TERESA MCGRATH                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.50075 TERESA MCGRATH                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612




                                            Page 7242 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       405 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50076 TERESA MCGRATH                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.50077 TERESA PARLETT                            VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.50078 TERESA PARLETT                            VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.50079 TERESA PARLETT                            VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.50080 TERESA RUFFONI                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.50081 TERESA RUFFONI                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


                                            Page 7243 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       406 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50082 TERESA SANDERS                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.50083 TERESA SANDERS                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.50084 TERESA VENTURI-HENTZ                      VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.50085 TERESA VENTURI-HENTZ                      VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.50086 TERESA VENTURI-HENTZ                      VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




                                            Page 7244 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       407 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50087 TERESA VENTURI-HENTZ                      VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.50088 TERESA VENTURI-HENTZ                      VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50089 TERESA WALLACE                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.50090 TERESA WALLACE                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.50091 TERESE BELLAMY                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7245 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       408 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50092 TERESE BELLAMY                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50093 TERESE BELLAMY                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.50094 TERESE BELLAMY                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.50095 TERESE M. MANGINO                         VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.50096 TERESE M. MANGINO                         VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                            Page 7246 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       409 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50097 TERESE M. MANGINO                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50098 TERESE M. MANGINO                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50099 TERESE M. MANGINO                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50100 TERI ALBRECHT                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.50101 TERI ALBRECHT                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.50102 TERI ALBRECHT                             VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




                                            Page 7247 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       410 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50103 TERI ALBRECHT                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50104 TERI ALBRECHT                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.50105 TERI L. O'DONNELL                         VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.50106 TERI LEE HOENIG                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50107 TERI LEE HOENIG                           VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                        Litigation
        (BAR NO. 295951) RACHEL         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014




                                            Page 7248 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       411 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50108 TERI LEE HOENIG                           VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                  Litigation
        NO.254651)JOANNA LEE FOX        ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.50109 TERI LEE HOENIG                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50110 TERI LYNN PETERSON                        VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.50111 TERI LYNN PETERSON                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.50112 TERI LYNN WALSH                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                       Litigation
        J. EBALLAR                      ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024




                                            Page 7249 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       412 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50113 TERI LYNN WALSH                           VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.50114 TERRA BOLLMAN                             VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.50115 TERRA BOLLMAN                             VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50116 TERRA BOLLMAN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50117 TERRA BOLLMAN                             VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.50118 TERRENCE KORTON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


                                            Page 7250 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       413 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50119 TERRENCE KORTON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.50120 TERRENCE KORTON                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50121 TERRENCE KORTON                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.50122 TERRENCE MONTGOMERY                       VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.50123 TERRENCE MONTGOMERY                       VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.50124 TERRENCE MONTGOMERY                       VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101




                                            Page 7251 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       414 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50125 TERRENCE MONTGOMERY                       VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50126 TERRENCE MONTGOMERY                       VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.50127 TERRENCE MONTGOMERY                       VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.50128 TERRI BROOKS                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.50129 TERRI BROOKS                              VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50130 TERRI BROOKS                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7252 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       415 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50131 TERRI BROOKS                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50132 TERRI BROOKS                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.50133 TERRI GRONDONA                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.50134 TERRI GRONDONA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.50135 TERRI GRONDONA                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612




                                            Page 7253 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       416 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50136 TERRI KING                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50137 TERRI KING                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.50138 TERRI KING                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50139 TERRI KING                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.50140 TERRI LEE WILLS                           VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401




                                            Page 7254 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       417 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50141 TERRI LEE WILLS                           VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50142 TERRI LEE WILLS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50143 TERRI LEE WILLS                           VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.50144 TERRI SARTO                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.50145 TERRI SARTO                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.50146 TERRI SARTO                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103



                                            Page 7255 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       418 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50147 TERRI SARTO                               VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50148 TERRI SARTO                               VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.50149 TERRI STARK                               VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.50150 TERRI STARK                               VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.50151 TERRI STARK                               VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.50152 TERRI SUNSHINE                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




                                            Page 7256 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       419 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50153 TERRI VASQUEZ-MARTINEZ                     VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                        Litigation
                                         ACCOUNT NO.: NOT AVAILABLE
        ALEXANDRA J. NEWSOM ESQ.
        ENGSTROM, LIPSCOMB &
        LACKA PROFESSIONAL
        CORPORATION
        10100 SANTA MONICA
        BOULEVARD, 12TH FLOOR
        LOS ANGELES, CALIFORNIA
        90067-4107


3.50154 TERRI WAGNER                               VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.50155 TERRI WAGNER                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50156 TERRI WAGNER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50157 TERRI WAGNER                               VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.50158 TERRI WAGNER                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




                                             Page 7257 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        420 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50159 Terrie Bannister                           VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No.                                                     Litigation
        126782 Amanda L. Riddle - Bar    ACCOUNT NO.: NOT AVAILABLE
        No. 215221 Steven M. Berki -
        Bar No. 245426 Sumble
        Manzoor- Bar No. 301704
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.50160 TERRIE BANNISTER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50161 TERRIE BANNISTER                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                     Litigation
                                         ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES- BAR NO.
        209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50162 TERRIE BANNISTER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                      Litigation
        111359 KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.50163 TERRIE BURNS                               VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                                Litigation
        ABRAHAM, WATKINS, NICHOLS,       ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




                                             Page 7258 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        421 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50164 TERRIE BURNS                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.50165 TERRIE G PAYNE                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50166 TERRIE G PAYNE                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50167 TERRIE G PAYNE                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50168 TERRIE G PAYNE                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.50169 TERRIE G PAYNE                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                            Page 7259 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       422 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50170 TERRIE M. MOORE                           VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.50171 TERRIE M. MOORE                           VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50172 TERRIE M. MOORE                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50173 TERRIE M. MOORE                           VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.50174 TERRIE WOLFE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50175 TERRIE WOLFE                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




                                            Page 7260 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       423 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50176 TERRIE WOLFE                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50177 TERRIE WOLFE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.50178 TERRIE WOLFE                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50179 TERRIO, PATRICIA                           VARIOUS                              Wildfire               UNDETERMINED
        16321 NORRBOM RD                                                                Litigation
        SONOMA, CA 95476                 ACCOUNT NO.: NOT AVAILABLE


3.50180 TERRY AMSTADTER                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50181 TERRY AMSTADTER                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                       Litigation
        MARTINI                          ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.50182 TERRY AMSTADTER                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


                                             Page 7261 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        424 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50183 TERRY AMSTADTER                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50184 TERRY AMSTADTER                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50185 TERRY GUTSCH                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50186 TERRY HANNIS                              VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.50187 TERRY HANNIS                              VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.50188 TERRY MCKEAN                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.50189 TERRY MCKEAN                              VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


                                            Page 7262 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       425 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50190 TERRY MCLAUGHLIN                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.50191 TERRY MCLAUGHLIN                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.50192 TERRY MCLAUGHLIN                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.50193 TERRY MCLAUGHLIN                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.50194 TERRY MCWILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.50195 TERRY MCWILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.50196 TERRY MCWILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7263 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       426 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50197 TERRY MCWILLIAMS                          VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.50198 TERRY MOORE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50199 TERRY MOORE                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.50200 TERRY MOORE                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50201 TERRY MOORE                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




                                            Page 7264 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       427 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50202 TERRY NEFF                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.50203 TERRY NEFF                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.50204 TERRY NEFF                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.50205 TERRY OLWELL                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50206 TERRY OLWELL                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7265 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       428 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50207 TERRY OLWELL                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                         Litigation
        125868JUSTIN J. EBALLAR,         ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50208 TERRY OLWELL                               VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                      Litigation
        87492WILLIAM P. HARRIS III,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.50209 TERRY OLWELL                               VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                     Litigation
        SBN 119554MICHAEL H.             ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50210 TERRY RHINE                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.50211 TERRY RHINE                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50212 TERRY RHINE                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


                                             Page 7266 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        429 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50213 TERRY RHINE                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50214 TERRY RHINE                               VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.50215 TERRY, MARILYN                            VARIOUS                              Wildfire               UNDETERMINED
        2360 REDWOOD RD                                                                Litigation
        140                             ACCOUNT NO.: NOT AVAILABLE
        NAPA, CA 94558


3.50216 TERRYL MORGAN                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.50217 TERRYL MORGAN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.50218 TERRYL MORGAN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.50219 TERRYL MORGAN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403




                                            Page 7267 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       430 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50220 TERRYN TAYLOR                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50221 TERRYN TAYLOR                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.50222 TERRYN TAYLOR                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50223 TERRYN TAYLOR                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.50224 TERRYN TAYLOR                              VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.50225 TESSA VASQUEZ                              VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                            Litigation
        296101)ROBERT T. BRYSON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401




                                             Page 7268 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        431 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50226 TESTA, LYDIA & STEPHEN                    VARIOUS                              Wildfire               UNDETERMINED
        (ARMSTRONG); TESTA                                                             Litigation
        ENVIRONMENTAL                   ACCOUNT NO.: NOT AVAILABLE
        CORPORATION, A CALIFORNIA
        CORPORATION (BAYER)
        FRANK M. PITREALISON E.
        CORDOVA
        COTCHETT PITRE & MCCARTHY
        LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.50227 THADEAUS L. KLEISER                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50228 THADEAUS L. KLEISER                       VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.50229 THADEAUS L. KLEISER                       VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50230 THADEAUS L. KLEISER                       VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.50231 THADEAUSE KLEISER                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


                                            Page 7269 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       432 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50232 THADEAUSE KLEISER                          VARIOUS                              Wildfire               UNDETERMINED
        PEDRO "PETER" DE LA CERDA,                                                      Litigation
        OF COUNSEL - BAR NO. 249085      ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES
        250 VALLOMBROSA AVE STE.
        266
        CHICO, CA 95926


3.50233 THADEAUSE KLEISER                          VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                       Litigation
        160461)                          ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171


3.50234 THADEAUSE KLEISER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50235 THADEAUSE KLEISER                          VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.50236 THANA BRUNGES                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.50237 THANA BRUNGES                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                        Litigation
        J. EBALLAR                       ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024




                                             Page 7270 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        433 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50238 THE ANNIE SIERRA CURTIS           VARIOUS                                      Wildfire               UNDETERMINED
        TRUST                                                                          Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.50239 THE ANNIE SIERRA CURTIS                   VARIOUS                              Wildfire               UNDETERMINED
        TRUST                                                                          Litigation
        GERARD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50240 THE ANNIE SIERRA CURTIS                   VARIOUS                              Wildfire               UNDETERMINED
        TRUST                                                                          Litigation
        ELLIOT ADLERBRITTANY            ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50241 THE BROWN REVOCABLE                VARIOUS                                     Wildfire               UNDETERMINED
        TRUST, WITH DONALD M.                                                          Litigation
        BROWN, TRUSTEE AND JILL C. ACCOUNT NO.: NOT AVAILABLE
        BROWN, TRUSTEE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.50242 THE BROWN REVOCABLE                       VARIOUS                              Wildfire               UNDETERMINED
        TRUST, WITH DONALD M.                                                          Litigation
        BROWN, TRUSTEE AND JILL C.      ACCOUNT NO.: NOT AVAILABLE
        BROWN, TRUSTEE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50243 THE BROWN REVOCABLE                       VARIOUS                              Wildfire               UNDETERMINED
        TRUST, WITH DONALD M.                                                          Litigation
        BROWN, TRUSTEE AND JILL C.      ACCOUNT NO.: NOT AVAILABLE
        BROWN, TRUSTEE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075



                                            Page 7271 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       434 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50244 THE COLE LAW FIRM-COLE,                   VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN                                                                        Litigation
        11600 WRIGHT PLACE              ACCOUNT NO.: NOT AVAILABLE
        ROUGH & READY, CA 95975


3.50245 THE DENTISTS INSURANCE                    VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        DEAN A. ALPER, ESQ.             ACCOUNT NO.: NOT AVAILABLE
        ALPER & MCCULLOCH
        100 DRAKES LANDING ROAD,
        SUITE 160
        GREENBRAE, CA 94904


3.50246 THE DENTISTS INSURANCE                    VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        CRAIG S. SIMON                  ACCOUNT NO.: NOT AVAILABLE
        BERGER KAHN, A LAW
        CORPORATION
        1 PARK PLAZA, SUITE 340
        IRVINE, CA 92614


3.50247 THE ESTATE OF ISABEL WEBB                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50248 THE ESTATE OF ISABEL WEBB                 VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.50249 THE ESTATE OF ISABEL WEBB                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.50250 THE ESTATE OF ISABEL WEBB                 VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101




                                            Page 7272 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       435 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50251 THE HITMAN TERMITE & PEST                 VARIOUS                              Wildfire               UNDETERMINED
        CONTROL INC, TAMARA JONES                                                      Litigation
        1649 HOPPER ROAD & SUMATRA      ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403


3.50252 THE INSURANCE COMPANY OF                  VARIOUS                              Wildfire               UNDETERMINED
        THE STATE OF PENNSYLVANIA                                                      Litigation
        MAURA WALSH OCHOA (SBN          ACCOUNT NO.: NOT AVAILABLE
        193799)WAYLON J. PICKETT
        (SBN 248865)
        GROTEFELD HOFFMANN
        700 LARKSPUR LANDING
        CIRCLE, SUITE 280
        LARKSPUR, CA 94939


3.50253 THE MOJOSALES FLEA MARKET-                VARIOUS                              Wildfire               UNDETERMINED
        KING, JACQUI                                                                   Litigation
        17380 KEATON AVENUE             ACCOUNT NO.: NOT AVAILABLE
        SONOMA, CA 95476


3.50254 THE NAPA HOME TEAM LLC                    VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.50255 THE NAPA HOME TEAM LLC                    VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.50256 THE NAPA HOME TEAM LLC                    VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50257 THE NAPA HOME TEAM LLC                    VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103



                                            Page 7273 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       436 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50258 THE NAPA HOME TEAM LLC                    VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.50259 THE NAPA HOME TEAM LLC                    VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.50260 THE NORTH RIVER INSURANCE                 VARIOUS                              Wildfire               UNDETERMINED
        KEVIN D. BUSHTHOMAS M.                                                         Litigation
        REGANDAVID D. BRISCO            ACCOUNT NO.: NOT AVAILABLE
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50261 THE NORTH RIVER INSURANCE                 VARIOUS                              Wildfire               UNDETERMINED
        ALAN J. JANG SALLY NOMA                                                        Litigation
        JANG & ASSOCIATES LLP           ACCOUNT NO.: NOT AVAILABLE
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50262 THE NORTH RIVER INSURANCE                 VARIOUS                              Wildfire               UNDETERMINED
        HOWARD D. MAYCON                                                               Litigation
        COZEN O'CONNOR                  ACCOUNT NO.: NOT AVAILABLE
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50263 THE NORTHFIELD INSURANCE                  VARIOUS                              Wildfire               UNDETERMINED
        CO.                                                                            Litigation
        MARK C. BAUMANPATRICK Y.        ACCOUNT NO.: NOT AVAILABLE
        HOWELL
        BAUMAN LOEWE WITT &
        MAXWELL, PLLC
        8765 E. BELL ROAD, SUITE 210
        SCOTTSDALE, AZ 85260




                                            Page 7274 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       437 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50264 THE NORTHFIELD INSURANCE                  VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        A. SCOTT LOEWE,                 ACCOUNT NO.: NOT AVAILABLE
        #230606MARK BAUMAN,
        #252584PATRICK Y. HOWELL,
        #298296
        BAUMAN LOEWE WITT &

       MAXWELL, PLLC
       8765 EAST BELL ROAD, SUITE
       210
       SCOTTSDALE, ARIZONA 85260


3.50265 THE OHIO CASUALTY                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        KEVIN D. BUSHTHOMAS M.          ACCOUNT NO.: NOT AVAILABLE
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50266 THE OHIO CASUALTY                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        ALAN J. JANG SALLY NOMA         ACCOUNT NO.: NOT AVAILABLE
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50267 THE OHIO CASUALTY                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MAURA WALSH OCHOA               ACCOUNT NO.: NOT AVAILABLE

       WAYLON J. PICKETT
       GROTEFELD, HOFFMAN,
       SCHLEITER, GORDON, OCHOA &
       EVINGER, LLP
       700 LARKSPUR LANDING
       CIRCLE, SUITE 280
       LARKSPUR, CA 94939


3.50268 THE OUTHOUSE COLLECTION,          VARIOUS                                      Wildfire               UNDETERMINED
        LLC                                                                            Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




                                            Page 7275 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       438 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And       C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                             Claim

Wildfire Claims

3.50269 THE OUTHOUSE COLLECTION,                   VARIOUS                              Wildfire               UNDETERMINED
        LLC                                                                             Litigation
        ELLIOT ADLERBRITTANY            ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50270 THE OUTHOUSE COLLECTION,                   VARIOUS                              Wildfire               UNDETERMINED
        LLC                                                                             Litigation
        GERARD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50271 THE PAUL L. HAMILTON TRUST                 VARIOUS                              Wildfire               UNDETERMINED
        AGREEMENT DATED APRIL 28,                                                       Litigation
        1998                            ACCOUNT NO.: NOT AVAILABLE
        BRENDAN M. KUNKLEMICHAEL
        D. GREENSCOTT R.
        MONTGOMERY
        ABBEY, WEITZENBERG,
        WARREN & EMERY, PC
        100 STONY POINT RD, SUITE 200
        SANTA ROSA, CA 95401


3.50272 The Princeton Excess and Surplus            VARIOUS                             Wildfire               UNDETERMINED
        Lines Insurance Company                                                         Litigation
        Paul A. Casetta (Pro Hae            ACCOUNT NO.: NOT AVAILABLE
        Pending)Alan B. McMaster (Pro
        Hae Pending)Jarett M. Smith (Pro
        Hae Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, CAlifornia 90067


3.50273 THE STANDARD FIRE                          VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                               Litigation
        A. SCOTT LOEWE,                 ACCOUNT NO.: NOT AVAILABLE
        #230606MARIE BAUMAN.
        #252584PA1RICK Y. HOWELL,
        #298296
        BAUMAN LOEWE WITT &
        MAXWELL, PLLC
        8765 E. BELL ROAD, SUITE 210
        SCOTTSDALE, AZ 85265




                                             Page 7276 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        439 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50274 THE STANDARD FIRE                         VARIOUS                              Wildfire               UNDETERMINED
        INSURANCE COMPANY                                                              Litigation
        MARK C. BAUMANPATRICK Y.        ACCOUNT NO.: NOT AVAILABLE
        HOWELL
        BAUMAN LOEWE WITT &
        MAXWELL, PLLC
        8765 E. BELL ROAD, SUITE 210
        SCOTTSDALE, AZ 85260


3.50275 THE TRAVELERS HOME AND                    VARIOUS                              Wildfire               UNDETERMINED
        MARINE INSURANCE COMPANY                                                       Litigation
        A. SCOTT LOEWE,                 ACCOUNT NO.: NOT AVAILABLE
        #230606MARIE BAUMAN.
        #252584PA1RICK Y. HOWELL,
        #298296
        BAUMAN LOEWE WITT &
        MAXWELL, PLLC
        8765 E. BELL ROAD, SUITE 210
        SCOTTSDALE, AZ 85265


3.50276 THE TRAVELERS HOME AND                    VARIOUS                              Wildfire               UNDETERMINED
        MARINE INSURANCE COMPANY                                                       Litigation
        MARK C. BAUMANPATRICK Y.        ACCOUNT NO.: NOT AVAILABLE
        HOWELL
        BAUMAN LOEWE WITT &
        MAXWELL, PLLC
        8765 E. BELL ROAD, SUITE 210
        SCOTTSDALE, AZ 85260


3.50277 THE TRAVELERS INDEMNITY                   VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        A. SCOTT LOEWE,                 ACCOUNT NO.: NOT AVAILABLE
        #230606MARIE BAUMAN.
        #252584PA1RICK Y. HOWELL,
        #298296
        BAUMAN LOEWE WITT &
        MAXWELL, PLLC
        8765 E. BELL ROAD, SUITE 210
        SCOTTSDALE, AZ 85265


3.50278 THE TRAVELERS INDEMNITY                   VARIOUS                              Wildfire               UNDETERMINED
        COMPANY                                                                        Litigation
        MARK C. BAUMANPATRICK Y.        ACCOUNT NO.: NOT AVAILABLE
        HOWELL
        BAUMAN LOEWE WITT &
        MAXWELL, PLLC
        8765 E. BELL ROAD, SUITE 210
        SCOTTSDALE, AZ 85260




                                            Page 7277 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       440 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50279 THE TRAVELERS INDEMNITY                   VARIOUS                              Wildfire               UNDETERMINED
        COMPANY OF AMERICA                                                             Litigation
        A. SCOTT LOEWE,                 ACCOUNT NO.: NOT AVAILABLE
        #230606MARIE BAUMAN.
        #252584PA1RICK Y. HOWELL,
        #298296
        BAUMAN LOEWE WITT &
        MAXWELL, PLLC
        8765 E. BELL ROAD, SUITE 210
        SCOTTSDALE, AZ 85265


3.50280 THE WARD FIRM                             VARIOUS                              Wildfire               UNDETERMINED
        2121 NATOMAS CROSSING DR.                                                      Litigation
        SUITE 200-389                   ACCOUNT NO.: NOT AVAILABLE
        SACRAMENTO, CA 95834


3.50281 THEIS, KEELI                      VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.50282 THEIS, KEELI                              VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50283 THEIS, KEELI                              VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50284 THELMA ILAGAN                             VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002




                                            Page 7278 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       441 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50285 THELMA ILAGAN                             VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.50286 THEODORE ARCHULETA                        VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.50287 THEODORE ARCHULETA                        VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.50288 THEODORE ARCHULETA                        VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.50289 THEODORE MOSKOWITE                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX                                                                       Litigation
        LAW OFFICES OF JOHN COX         ACCOUNT NO.: NOT AVAILABLE
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.50290 THEODORE MOSKOWITE                        VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403




                                            Page 7279 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       442 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50291 THEODORE MOSKOWITE                        VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSONPAIGE                                                          Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.50292 THEODORE WILLIAM GLAUM                    VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.50293 THEODORE WILLIAM GLAUM                    VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50294 THEODORE WILLIAM GLAUM                    VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50295 THEODORE WILLIAM GLAUM                    VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50296 THEODORE WILLIAM GLAUM                    VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50297 THERESA B. ALARCON VINCENT                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


                                            Page 7280 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       443 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50298 THERESA B. ALARCON VINCENT                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50299 THERESA B. ALARCON VINCENT                VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50300 THERESA B. ALARCON VINCENT                VARIOUS                              Wildfire               UNDETERMINED
        WILLIAM A. DANIELS                                                             Litigation
        DANIELS LAW                     ACCOUNT NO.: NOT AVAILABLE
        15021 VENTURA BLVD., #883
        SHERMAN OAKS, CA 91403


3.50301 THERESA B. ALARCON VINCENT                VARIOUS                              Wildfire               UNDETERMINED
        KEVIN 0. MOON, STATE BAR                                                       Litigation
        NO. 246792CHRISTOPHER D.        ACCOUNT NO.: NOT AVAILABLE
        MOON, STATE BAR NO. 246622
        MOON LAW APC
        499 SEAPORT COURT, SUITE 200
        REDWOOD CITY, CALIFORNIA
        94063


3.50302 THERESA ELLEN PEARSON                     VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.50303 THERESA ELLEN PEARSON                     VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




                                            Page 7281 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       444 of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.50304 Theresa Horwath                                VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.50305 THERESA HORWATH                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                          Litigation
        111359 KRISTINE K.                   ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

        SHAWN R. MILLER- BAR NO.
        238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.50306 THERESA HORWATH                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50307 THERESA KEREAZIS-PAGE                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                        Litigation
        ERIC RATINOFF LAW CORP.              ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.50308 THERESA KEREAZIS-PAGE                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                            Litigation
        #117228                              ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




                                                 Page 7282 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                            445 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50309 THERESA KEREAZIS-PAGE                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50310 THERESA KEREAZIS-PAGE                     VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.50311 THERESA L ARNOLD                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50312 THERESA L ARNOLD                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50313 THERESA L ARNOLD                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50314 THERESA L ARNOLD                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103




                                            Page 7283 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       446 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50315 THERESA L ARNOLD                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50316 THERESA O'NEAL                            VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS IIIROBERT T.                                                       Litigation
        BRYSONKEVIN M. POLLACK          ACCOUNT NO.: NOT AVAILABLE
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.50317 THERESA O'NEAL                            VARIOUS                              Wildfire               UNDETERMINED
        DONALD S. EDGAR                                                                Litigation
        EDGAR LAW FIRM                  ACCOUNT NO.: NOT AVAILABLE
        408 COLLEGE AVENUE
        SANTA ROSA, CA 95401


3.50318 THERESA R COLE                            VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50319 THERESA R COLE                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.50320 THERESA R COLE                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50321 THERESA R COLE                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108



                                            Page 7284 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       447 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50322 THERESA R COLE                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50323 THERESA RIVERA                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50324 THERESA RIVERA                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50325 THERESA RIVERA                            VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50326 THERESA RIVERA                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.50327 THERESA RIVERA                            VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




                                            Page 7285 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       448 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50328 THERESE SHERMAN,                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.50329 THERESE SHERMAN,                          VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.50330 THERESE SHERMAN,                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.50331 THERESIA AKAM                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50332 THERESIA AKAM                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                            Page 7286 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       449 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50333 THERESIA AKAM                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.50334 THERESIA AKAM                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.50335 THERESIA AKAM                              VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.50336 THERIOT, LESTER                            VARIOUS                              Wildfire               UNDETERMINED
        29 KASHMIRE DRIVE                                                               Litigation
        SANTA ROSA, CA 95409             ACCOUNT NO.: NOT AVAILABLE


3.50337 THIAGO OROZCO                              VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                     Litigation
         REINER, SLAUGHTER &             ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.50338 THIAGO OROZCO                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                             Page 7287 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        450 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50339 THIAGO OROZCO                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.50340 THIAGO OROZCO                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.50341 THIS N THAT PARADISE DBA                  VARIOUS                              Wildfire               UNDETERMINED
        THIS N THAT SECOND HAND                                                        Litigation
        AND CONSIGNMENT                 ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLY
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50342 THIS N THAT PARADISE DBA                  VARIOUS                              Wildfire               UNDETERMINED
        THIS N THAT SECOND HAND                                                        Litigation
        AND CONSIGNMENT                 ACCOUNT NO.: NOT AVAILABLE
        FRANK M. PITRE, ESQ./ SBN:
        100077ALISON E. CORDOVA,
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.50343 THIS N THAT PARADISE DBA                  VARIOUS                              Wildfire               UNDETERMINED
        THIS N THAT SECOND HAND                                                        Litigation
        AND CONSIGNMENT                 ACCOUNT NO.: NOT AVAILABLE
        STEVEN M. CAMPORA
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                            Page 7288 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       451 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50344 THIS N THAT PARADISE DBA                   VARIOUS                              Wildfire               UNDETERMINED
        THIS N THAT SECOND HAND                                                         Litigation
        AND CONSIGNMENT                  ACCOUNT NO.: NOT AVAILABLE
        MICHAEL A. KELLY , ESQ. / SBN:
        71460KHALDOUN A. BAGHDADI
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.50345 THIS N THAT PARADISE DBA                   VARIOUS                              Wildfire               UNDETERMINED
        THIS N THAT SECOND HAND                                                         Litigation
        AND CONSIGNMENT                  ACCOUNT NO.: NOT AVAILABLE
        TODD B. BECKERBRIAN E.
        SHEARJASON BOYER
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.50346 THOM, REBECCA AND CAROL                    VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                        Litigation
        VASQUEZAMANDA LOCUTRO            ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50347 THOM, REBECCA AND CAROL                    VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                            Litigation
        ZUMMER                           ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50348 THOM, REBECCA AND CAROL           VARIOUS                                       Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                          Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.50349 THOM, WALLACE V.; SANCHEZ-                 VARIOUS                              Wildfire               UNDETERMINED
        THOM, SANDRA (JOSES); THOM,                                                     Litigation
        ALYSSA (ASHTON)                  ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                             Page 7289 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        452 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50350 THOM, WALLACE V.; SANCHEZ-                VARIOUS                              Wildfire               UNDETERMINED
        THOM, SANDRA (JOSES); THOM,                                                    Litigation
        ALYSSA (ASHTON)                 ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50351 THOM, WALLACE V.; SANCHEZ-          VARIOUS                                    Wildfire               UNDETERMINED
        THOM, SANDRA (JOSES); THOM,                                                    Litigation
        ALYSSA (ASHTON)             ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.50352 THOMAS A CASTRO                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50353 THOMAS A CASTRO                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50354 THOMAS A CASTRO                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50355 THOMAS A CASTRO                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




                                            Page 7290 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       453 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50356 THOMAS A CASTRO                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.50357 THOMAS A. MCCOY                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50358 THOMAS A. MCCOY                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN R. GARNER (SBN 246729)                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       MARIA E. MINNEY (SBN 289131)
       GARNER & ASSOCIATES
       P.O. BOX 908109 N. MARSHALL
       AVENUE
       WILLOWS, CA 95988


3.50359 THOMAS A. MCCOY                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50360 THOMAS A. MCCOY                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50361 THOMAS A. MCCOY                           VARIOUS                              Wildfire               UNDETERMINED
        IVY T. NGO (SBN                                                                Litigation
        249860)JAMES P. RUDOLPH         ACCOUNT NO.: NOT AVAILABLE
        (SBN 244396)
        FRANKLIN D. AZAR &
        ASSOCIATES
        14426 EAST EVANS AVENUE
        AURORA, CO 80014




                                            Page 7291 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       454 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50362 THOMAS ADAMS                               VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                            Litigation
        296101)ROBERT T. BRYSON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.50363 THOMAS ATKINSON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50364 THOMAS ATKINSON                            VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.50365 THOMAS ATKINSON                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50366 THOMAS ATKINSON                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.50367 THOMAS ATKINSON                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                             Page 7292 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        455 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50368 THOMAS BARRETT                            VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.50369 THOMAS BARRETT                            VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.50370 THOMAS BARRETT                            VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.50371 THOMAS BERNARD OLIVER                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50372 THOMAS BERNARD OLIVER                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50373 THOMAS BERNARD OLIVER                     VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                        Litigation
        (BAR NO. 295951) RACHEL         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014




                                            Page 7293 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       456 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50374 THOMAS BERNARD OLIVER                     VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                  Litigation
        NO.254651)JOANNA LEE FOX        ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.50375 THOMAS BOSTER                             VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                        Litigation
        D. EDWARDS                      ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.50376 THOMAS BOSTER                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                      Litigation
        DAVISKEVIN M.                   ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.50377 THOMAS BOWER                              VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                       Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.50378 THOMAS BREGMAN                            VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014




                                            Page 7294 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       457 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50379 THOMAS BREGMAN                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50380 THOMAS BREGMAN                            VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.50381 THOMAS BREGMAN                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50382 THOMAS BRICK                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.50383 THOMAS BRICK                              VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.50384 THOMAS BROWN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7295 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       458 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50385 THOMAS C MCCALLY                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50386 THOMAS C MCCALLY                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50387 THOMAS C MCCALLY                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50388 THOMAS C MCCALLY                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.50389 THOMAS C MCCALLY                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50390 THOMAS CASTRO                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




                                            Page 7296 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       459 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50391 THOMAS CASTRO                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.50392 THOMAS CASTRO                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50393 THOMAS CASTRO                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50394 THOMAS CASTRO                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.50395 THOMAS COHEN                              VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                       Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.50396 THOMAS CREMER                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                      Litigation
        SBN: 110909ANDREA R.            ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                            Page 7297 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       460 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50397 THOMAS CREMER                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50398 THOMAS CREMER                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50399 THOMAS CREMER                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.50400 THOMAS CREMER                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.50401 THOMAS D. NIELSEN                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                           Litigation
        SINGLETONERIKA L.                ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50402 THOMAS D. NIELSEN                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                          Litigation
        DOMENIC MARTINI                  ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103




                                             Page 7298 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        461 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50403 THOMAS D. NIELSEN                         VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50404 THOMAS D. NIELSEN                         VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50405 THOMAS D. NIELSEN                         VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50406 THOMAS DAVIS                              VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.50407 THOMAS DAVIS                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.50408 THOMAS DIXON                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7299 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       462 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50409 THOMAS DIXON                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.50410 THOMAS DIXON                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50411 THOMAS DIXON                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.50412 THOMAS DURYEA                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.50413 THOMAS DURYEA                             VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTSGUY WATTS                                                        Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       RYAN L. THOMPSON PAIGE
       BOLDT
       WATTS GUERRA LLP
       811 BARTON SPRINGS RD. STE.
       725
       AUSTIN, TEXAS 78704




                                            Page 7300 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       463 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50414 THOMAS E PRINGLE                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50415 THOMAS E PRINGLE                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50416 THOMAS E PRINGLE                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50417 THOMAS E PRINGLE                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50418 THOMAS E PRINGLE                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.50419 THOMAS EALEY                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                      Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.50420 THOMAS EALEY                              VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                       Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075



                                            Page 7301 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       464 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50421 THOMAS EALEY                              VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.50422 THOMAS EALEY                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103


3.50423 THOMAS EALEY                              VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50424 THOMAS EALEY                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                          Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.50425 THOMAS FRANK                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50426 THOMAS FRANK                              VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669



                                            Page 7302 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       465 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50427 THOMAS FRANK                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50428 THOMAS FRANK                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.50429 THOMAS GARCIA                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.50430 THOMAS GARCIA                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.50431 THOMAS GARCIA                             VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




                                            Page 7303 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       466 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50432 THOMAS GARCIA                              VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                      Litigation
        (SBN 69176)IAN C.                ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.50433 THOMAS GARCIA                              VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                      Litigation
        583 I 6)                         ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.50434 THOMAS GARDNER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50435 THOMAS GARDNER                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.50436 THOMAS GARDNER                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50437 THOMAS GARDNER                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108




                                             Page 7304 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        467 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50438 THOMAS GARDNER                            VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                      Litigation
        SBN: 110909ANDREA R.            ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50439 THOMAS GITTINGS                           VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.50440 THOMAS GITTINGS                           VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.50441 THOMAS GITTINGS                           VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.50442 THOMAS GLABICKI                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065




                                            Page 7305 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       468 of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.50443 Thomas Glabicki                                VARIOUS                              Wildfire               UNDETERMINED
        Dario De Ghetaldi - Bar No. 126782                                                  Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        Amanda L. Riddle - Bar No. 215221

        Steven M. Berki - Bar No. 245426

        Clare Capaccioli Velasquez - Bar
        No. 290466
        Corey, Luzaich, De Ghetaldi &
        Riddle LLP
        700 El Camino RealP.O. Box 669
        Millbrae, CA 94030-0669


3.50444 THOMAS GLABICKI                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                         Litigation
                                             ACCOUNT NO.: NOT AVAILABLE
        DYLAN HUGHES - BAR NO.
        209113 STEVEN A. LOPEZ -
        BAR NO. 300540
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50445 THOMAS H. WORLEY                               VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                                   Litigation
        DREYER BABICH BUCCOLA                ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50446 THOMAS H. WORLEY                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                    Litigation
        WALKUP, MELODIA, KELLY &             ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50447 THOMAS H. WORLEY                               VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                             Litigation
        125868JUSTIN J. EBALLAR,             ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50448 THOMAS H. WORLEY                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                               Litigation
        SINGLETONERIKA L.                    ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


                                                 Page 7306 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                            469 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50449 THOMAS H. WORLEY                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, APCJ.                                                         Litigation
        DOMENIC MARTINI                 ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVENUE, 11TH
        FLOOR
        SAN DIEGO, CA 92103


3.50450 THOMAS J GRIFFIN                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.50451 THOMAS J GRIFFIN                          VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50452 THOMAS J GRIFFIN                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50453 THOMAS J GRIFFIN                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50454 THOMAS J GRIFFIN                          VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




                                            Page 7307 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       470 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50455 THOMAS JENSEN                             VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.50456 THOMAS JENSEN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50457 THOMAS KANG GONSALVES                     VARIOUS                              Wildfire               UNDETERMINED
        BENT                                                                           Litigation
        MIKAL C. WATTS (PRO HAC VICE    ACCOUNT NO.: NOT AVAILABLE
        APPLICATION
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.50458 THOMAS KANG GONSALVES                     VARIOUS                              Wildfire               UNDETERMINED
        BENT                                                                           Litigation
        DOUGLAS BOXER (CAL. STATE       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 154226)
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.50459 THOMAS KANG GONSALVES                     VARIOUS                              Wildfire               UNDETERMINED
        BENT                                                                           Litigation
        JOSEPH M. EARLEY III (CAL.      ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 157400)
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




                                            Page 7308 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       471 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50460 THOMAS KANG GONSALVES                     VARIOUS                              Wildfire               UNDETERMINED
        BENT                                                                           Litigation
        MICHAEL A. KELLYKHALDOUN        ACCOUNT NO.: NOT AVAILABLE
        A. BAGHDADI
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50461 THOMAS KEITH EVANS                        VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.50462 THOMAS KEITH EVANS                        VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.50463 THOMAS KEITH EVANS                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50464 THOMAS KEITH EVANS                        VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.50465 THOMAS KNOX                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX,
        P.C.
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401



                                            Page 7309 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       472 of 578
PG&E Corporation                                                                                    Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:         List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address               Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                   Account Number                            Claim

Wildfire Claims

3.50466 Thomas Knox                                     VARIOUS                              Wildfire               UNDETERMINED
        Mikal C. Watts (Pro Hae Vice                                                         Litigation
        application anticipated)Guy           ACCOUNT NO.: NOT AVAILABLE
        Watts, II (Pro Hae Vice application
        anticipated)Ryan L. Thompson
        (Cal. State Bar No. 296841)Paige
        Boldt (Cal. State Bar No. 308772)
        Watts Guerra LLP
        811 Barton Springs Rd., Ste. 725
        Austin, Texas 78704


3.50467 THOMAS L. BRANNON                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                             Litigation
        A. BAGHDADI                           ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50468 THOMAS L. BRANNON                               VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                       Litigation
        FOXCOURTNEY VASQUEZ                   ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.50469 THOMAS L. BRANNON                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                                 Litigation
        178658DYLAN HUGHES- BAR               ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50470 THOMAS L. BRANNON                               VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                       Litigation
        SIEGLOCKRACHEL                        ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.50471 THOMAS L. DECKER                                VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                        Litigation
        NO.254651)JOANNA LEE FOX              ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075




                                                  Page 7310 of 7835 to Schedule E/F Part 2

          Case: 19-30088             Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                             473 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50472 THOMAS L. DECKER                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50473 THOMAS L. DECKER                          VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                        Litigation
        (BAR NO. 295951) RACHEL         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.50474 THOMAS L. DECKER                          VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50475 THOMAS LOCKLEAR                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50476 THOMAS LOCKLEAR                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50477 THOMAS LOCKLEAR                           VARIOUS                              Wildfire               UNDETERMINED
        CATHERINE LOMBARDO (SBN #                                                      Litigation
        160461)                         ACCOUNT NO.: NOT AVAILABLE
        THE LOMBARDO LAW FIRM
        433 W ARROW HIGHWAY
        CLAREMONT, CA 9171




                                            Page 7311 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       474 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50478 THOMAS LOCKLEAR                            VARIOUS                              Wildfire               UNDETERMINED
        ELIZABETH LATIMER (STATE                                                        Litigation
        BAR #304697)                     ACCOUNT NO.: NOT AVAILABLE
        LATIMER AND KENKEL LAW
        OFFICES
        330 WALL STREET, SUITE 20
        CHICO, CA TELEPHONE: (530)
        345-1396 FACSIMILE: (530) 345-
        0439


3.50479 THOMAS LOCKLEAR                            VARIOUS                              Wildfire               UNDETERMINED
        PEDRO "PETER" DE LA CERDA,                                                      Litigation
        OF COUNSEL - BAR NO. 249085      ACCOUNT NO.: NOT AVAILABLE
        MATTHEWS & ASSOCIATES
        250 VALLOMBROSA AVE STE.
        266
        CHICO, CA 95926


3.50480 THOMAS M. JENKINS                          VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                            Litigation
        296101)ROBERT T. BRYSON          ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.50481 THOMAS MANNING                             VARIOUS                              Wildfire               UNDETERMINED
        RICHARDSON                                                                      Litigation
        JOHN COX (CAL. STATE BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 197687)
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.50482 THOMAS MANNING                             VARIOUS                              Wildfire               UNDETERMINED
        RICHARDSON                                                                      Litigation
        RYAN L. THOMPSON (CAL.           ACCOUNT NO.: NOT AVAILABLE
        STATE BAR NO. 296841)PAIGE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704




                                             Page 7312 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        475 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50483 THOMAS MCALVAIN                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON PAIGE                                                         Litigation
        BOLDT                           ACCOUNT NO.: NOT AVAILABLE
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.50484 THOMAS MCALVAIN                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.50485 THOMAS MCALVAIN                           VARIOUS                              Wildfire               UNDETERMINED
        ROY MILLER                                                                     Litigation
        HANSEN & MILLER LAW FIRM        ACCOUNT NO.: NOT AVAILABLE
        415 RUSSELL AVE.
        SANTA ROSA, CA 95403


3.50486 THOMAS MEDINAS                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50487 THOMAS MEDINAS                            VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                     Litigation
        167700STEVEN S. KANE, ESQ.,     ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.50488 THOMAS MEDINAS                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.50489 THOMAS MEDINAS                            VARIOUS                              Wildfire               UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                      Litigation
        SBN: 147086                     ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I


                                            Page 7313 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       476 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50490 THOMAS MORRIS                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.50491 THOMAS MORRIS                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.50492 THOMAS MORRIS                             VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50493 THOMAS MORRIS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50494 THOMAS MORRIS                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50495 THOMAS NALLEY                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




                                            Page 7314 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       477 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50496 THOMAS NALLEY                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.50497 THOMAS NALLEY                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.50498 THOMAS NALLEY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50499 THOMAS NEWBURN                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.50500 THOMAS NEWBURN                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.50501 THOMAS P. MILES                           VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448




                                            Page 7315 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       478 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50502 THOMAS P. MILES                           VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127


3.50503 THOMAS P. MILES                           VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.50504 THOMAS PHELAN                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50505 THOMAS PHELAN                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50506 THOMAS PHELAN                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50507 THOMAS PHELAN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7316 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       479 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50508 THOMAS PHELAN                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.50509 THOMAS RAY BRACKIN                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50510 THOMAS RAY BRACKIN                        VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.50511 THOMAS RAY BRACKIN                        VARIOUS                              Wildfire               UNDETERMINED
        DOUGLAS BOXER (CAL. STATE                                                      Litigation
        BAR NO. 154226)                 ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICE OF DOUGLAS
        BOXER
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.50512 THOMAS RAY BRACKIN                        VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928




                                            Page 7317 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       480 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50513 THOMAS RICHARDS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.50514 THOMAS RICHARDS                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.50515 THOMAS RICHARDS                           VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.50516 THOMAS SAL TALAMACCHIA                    VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50517 THOMAS SAL TALAMACCHIA                    VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                           Litigation
        #109455LAURA E. BROWN           ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720




                                            Page 7318 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       481 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50518 THOMAS SAL TALAMACCHIA                     VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50519 THOMAS SAL TALAMACCHIA                     VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.50520 THOMAS SAL TALAMACCHIA                     VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.50521 THOMAS SENANDER                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                          Litigation
        STATE BAR NO. 296841)PAIGE       ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.50522 THOMAS SENANDER                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                        Litigation
        NO. 197687)                      ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.50523 THOMAS SOLORS                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                             Page 7319 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        482 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50524 THOMAS SOLORS                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50525 THOMAS SOLORS                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.50526 THOMAS SOLORS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.50527 THOMAS TAN                                VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.50528 THOMAS TAN                                VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




                                            Page 7320 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       483 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50529 THOMAS TATRAI                              VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                        Litigation
        AMANWILLIAM P. HARRIS            ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.50530 THOMAS TATRAI                              VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLASJUSTIN                                                        Litigation
        J. EBALLAR                       ACCOUNT NO.: NOT AVAILABLE
        MCNICHOLAS & MCNICHOLAS,
        LLP
        10866 WILSHIRE BLVD., SUITE
        1400
        LOS ANGELES, CALIFORNIA
        90024


3.50531 THOMAS TAYLOR                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50532 THOMAS TAYLOR                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50533 THOMAS TAYLOR                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.50534 THOMAS TAYLOR                              VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010



                                             Page 7321 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        484 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50535 THOMAS TAYLOR                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                      Litigation
        SBN: 110909ANDREA R.            ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50536 THOMAS TOTH                               VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.50537 THOMAS TOTH                               VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.50538 THOMAS TOTH                               VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.50539 THOMAS TOTH                               VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50540 THOMAS TOTH                               VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101



                                            Page 7322 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       485 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50541 THOMAS VANDERGRIFT                        VARIOUS                              Wildfire               UNDETERMINED
        CHRLSTOPHER C. SIEGLOCK                                                        Litigation
        (BAR NO. 295951) RACHEL         ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCK (BAR NO. 299761)

       KRISTEN REANO(BAR
       NO.321795)
       SIEGLOCK LAW, APC
       1221 CAMINO DEL MAR
       DEL MAR, CA 92014


3.50542 THOMAS VANDERGRIFT                        VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOX (BAR                                                                  Litigation
        NO.254651)JOANNA LEE FOX        ACCOUNT NO.: NOT AVAILABLE
        (BAR NO. 212593)COURTNEY
        VASQUEZ (BAR NO. 267081)
        FOX LAW, APC
        125 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.50543 THOMAS VANDERGRIFT                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA (SBN                                                         Litigation
        110909)                         ACCOUNT NO.: NOT AVAILABLE
        DREYER BABICHBUCCOLA
        WOODCAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50544 THOMAS VANDERGRIFT                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50545 THOMAS W KELLEY                           VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50546 THOMAS W KELLEY                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                            Page 7323 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       486 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50547 THOMAS W KELLEY                           VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50548 THOMAS W KELLEY                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.50549 THOMAS W KELLEY                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50550 THOMAS W. DALY                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50551 THOMAS W. DALY                            VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.50552 THOMAS W. DALY                            VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101




                                            Page 7324 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       487 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50553 THOMAS W. DALY                            VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.50554 THOMAS W. WELLS                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50555 THOMAS W. WELLS                           VARIOUS                              Wildfire               UNDETERMINED
        DAVE FOXJOANNA                                                                 Litigation
        FOXCOURTNEY VASQUEZ             ACCOUNT NO.: NOT AVAILABLE
        FOX LAW, APC
        225 W. PLAZA STREET, SUITE
        102
        SOLANA BEACH, CA 92075


3.50556 THOMAS W. WELLS                           VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50557 THOMAS W. WELLS                           VARIOUS                              Wildfire               UNDETERMINED
        CHRISTOPHER C.                                                                 Litigation
        SIEGLOCKRACHEL                  ACCOUNT NO.: NOT AVAILABLE
        SIEGLOCKKRISTEN REANO
        SIEGLOCK LAW, APC
        1121 CAMINO DEL MAR
        DEL MAR, CA 92014


3.50558 THOMAS WAYNE KARBOWSKI                    VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




                                            Page 7325 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       488 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50559 THOMAS WAYNE KARBOWSKI                    VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.50560 THOMAS WILLIAMS                           VARIOUS                              Wildfire               UNDETERMINED
        BILL ROBINS III (SBN                                                           Litigation
        296101)ROBERT T. BRYSON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 156953)KEVIN M.
        POLLACK (SBN 272786)
        ROBINS CLOUD LLP
        808 WILSHIRE BOULEVARD,
        SUITE 450
        SANTA MONICA, CA 90401


3.50561 THOMAS, BECKY LYNN;               VARIOUS                                      Wildfire               UNDETERMINED
        THOMAS, THOMAS ROBERT                                                          Litigation
        CO-COUNSELDEMETRIOS A.    ACCOUNT NO.: NOT AVAILABLE
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.50562 THOMAS, BECKY LYNN;                       VARIOUS                              Wildfire               UNDETERMINED
        THOMAS, THOMAS ROBERT                                                          Litigation
        GERARD SINGLETONERIKA L.        ACCOUNT NO.: NOT AVAILABLE
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50563 THOMAS, BECKY LYNN;                       VARIOUS                              Wildfire               UNDETERMINED
        THOMAS, THOMAS ROBERT                                                          Litigation
        ELLIOT ADLERBRITTANY            ACCOUNT NO.: NOT AVAILABLE
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50564 THOMAS, JENA                              VARIOUS                              Wildfire               UNDETERMINED
        10 WOODWARDIA SQ                                                               Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.50565 THOMAS, JUSTINA                           VARIOUS                              Wildfire               UNDETERMINED
        6401 MONTECITO BLVD #3                                                         Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE




                                            Page 7326 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       489 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50566 THOMAS, MARC M. AND SUSAN                 VARIOUS                              Wildfire               UNDETERMINED
        K. (RUSH); THOMAS, JULIE                                                       Litigation
        (THROUGH GAL MARC THOMAS)       ACCOUNT NO.: NOT AVAILABLE
        (COLEMAN)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50567 THOMAS, MARC M. AND SUSAN                 VARIOUS                              Wildfire               UNDETERMINED
        K. (RUSH); THOMAS, JULIE                                                       Litigation
        (THROUGH GAL MARC THOMAS)       ACCOUNT NO.: NOT AVAILABLE
        (COLEMAN)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50568 THOMAS, MARC M. AND SUSAN         VARIOUS                                      Wildfire               UNDETERMINED
        K. (RUSH); THOMAS, JULIE                                                       Litigation
        (THROUGH GAL MARC THOMAS) ACCOUNT NO.: NOT AVAILABLE
        (COLEMAN)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.50569 THOMAS, MARC MICHAEL;                     VARIOUS                              Wildfire               UNDETERMINED
        THOMAS, SUSAN KIRBY;                                                           Litigation
        THOMAS, JULIE ANN (A MINOR,     ACCOUNT NO.: NOT AVAILABLE
        BY AND THROUGH HER
        GUARDIAN AD LITEM, MARC
        MICHAEL THOMAS)
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50570 THOMAS, MARC MICHAEL;                     VARIOUS                              Wildfire               UNDETERMINED
        THOMAS, SUSAN KIRBY;                                                           Litigation
        THOMAS, JULIE ANN (A MINOR,     ACCOUNT NO.: NOT AVAILABLE
        BY AND THROUGH HER
        GUARDIAN AD LITEM, MARC
        MICHAEL THOMAS)
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                            Page 7327 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       490 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50571 THOMAS, MARC MICHAEL;               VARIOUS                                    Wildfire               UNDETERMINED
        THOMAS, SUSAN KIRBY;                                                           Litigation
        THOMAS, JULIE ANN (A MINOR, ACCOUNT NO.: NOT AVAILABLE
        BY AND THROUGH HER
        GUARDIAN AD LITEM, MARC
        MICHAEL THOMAS)
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.50572 THOMAS, NEWTON                            VARIOUS                              Wildfire               UNDETERMINED
        12655 HIGHWAY 128                                                              Litigation
        CALISTOGA, CA 94515             ACCOUNT NO.: NOT AVAILABLE


3.50573 THOMAS, PATRICIA                          VARIOUS                              Wildfire               UNDETERMINED
        496 CRIVELLI DR                                                                Litigation
        SONOMA, CA 95476                ACCOUNT NO.: NOT AVAILABLE


3.50574 THOMPSON, AVA                             VARIOUS                              Wildfire               UNDETERMINED
        1501 SECRET RAVINE PKWY                                                        Litigation
        UNIT 1525                       ACCOUNT NO.: NOT AVAILABLE
        ROSEVILLE, CA 95661


3.50575 THOMPSON, JAMES A. &                      VARIOUS                              Wildfire               UNDETERMINED
        JOANNE H.                                                                      Litigation
        DON DOWLINGJESSICA              ACCOUNT NO.: NOT AVAILABLE
        ROWEN
        ROSS, HACKETT, DOWLING,
        VALENCIA & WALTI
        0
        SAN BRUNO, CA 94066


3.50576 THOMPSON, MICHAEL                         VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 162                                                                   Litigation
        STIRLING CITY, CA 95978         ACCOUNT NO.: NOT AVAILABLE


3.50577 THOMSEN, MARGENE                          VARIOUS                              Wildfire               UNDETERMINED
        3 GLENGREEN ST                                                                 Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.50578 THOMSON, SAMUEL                           VARIOUS                              Wildfire               UNDETERMINED
        2051 W. STEELE LN.                                                             Litigation
        722                             ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95403




                                            Page 7328 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       491 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50579 THOR                                      VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.50580 THOR                                      VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50581 THOR                                      VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.50582 THOR                                      VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50583 THORNE, MARTIN BRENIA                     VARIOUS                              Wildfire               UNDETERMINED
        GERARD SINGLETONERIKA L.                                                       Litigation
        VASQUEZAMANDA LOCUTRO           ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50584 THORNE, MARTIN BRENIA             VARIOUS                                      Wildfire               UNDETERMINED
        CO-COUNSELDEMETRIOS A.                                                         Litigation
        SPARACINO                 ACCOUNT NO.: NOT AVAILABLE
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101




                                            Page 7329 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       492 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50585 THORNE, MARTIN BRENIA                     VARIOUS                              Wildfire               UNDETERMINED
        ELLIOT ADLERBRITTANY                                                           Litigation
        ZUMMER                          ACCOUNT NO.: NOT AVAILABLE
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50586 THORNTON, CHERILL                         VARIOUS                              Wildfire               UNDETERMINED
        (NORFOLK); THORNTON, ROSS                                                      Litigation
        LABAR (JOSES)                   ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50587 THORNTON, CHERILL                         VARIOUS                              Wildfire               UNDETERMINED
        (NORFOLK); THORNTON, ROSS                                                      Litigation
        LABAR (JOSES)                   ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50588 THORNTON, CHERILL                 VARIOUS                                      Wildfire               UNDETERMINED
        (NORFOLK); THORNTON, ROSS                                                      Litigation
        LABAR (JOSES)             ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.50589 THORNTON, ROXANNE                         VARIOUS                              Wildfire               UNDETERMINED
        6265 MEADOWSTONE DRIVE                                                         Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.50590 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. 16K61002H AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF TODD AND
        TRACY WALKER
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101




                                            Page 7330 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       493 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50591 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. 16K61002H AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF TODD AND
        TRACY WALKER
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50592 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. 16K61002H AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF TODD AND
        TRACY WALKER
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50593 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. 16K71094D AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF CHARLOTTE
        MIZE LEE
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50594 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. 16K71094D AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF CHARLOTTE
        MIZE LEE
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596




                                            Page 7331 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       494 of 578
PG&E Corporation                                                                                Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.50595 THOSE CERTAIN                               VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                         Litigation
        TO POLICY NO. 16K71094D AS        ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF CHARLOTTE
        MIZE LEE
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50596 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        17K11197H As Subroggee Of         ACCOUNT NO.: NOT AVAILABLE
        Aaron Parmley
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50597 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        17K11210H As Subroggee Of Tyler   ACCOUNT NO.: NOT AVAILABLE
        Detinger
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50598 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        17K11221H As Subroggee Of         ACCOUNT NO.: NOT AVAILABLE
        Jayme And Nicholas R Muto
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                              Page 7332 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                         495 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50599 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        17K11224H As Subroggee Of Mark   ACCOUNT NO.: NOT AVAILABLE
        And Alma Williams
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50600 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        17K11240H As Subroggee Of        ACCOUNT NO.: NOT AVAILABLE
        Shawnee Wright
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50601 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        17K11240H As Subroggee Of        ACCOUNT NO.: NOT AVAILABLE
        Travis And Carole Wright
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50602 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        17K11248H As Subroggee Of        ACCOUNT NO.: NOT AVAILABLE
        Kenneth And Christine Lloyd
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                             Page 7333 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        496 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50603 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        17K11260H As Subroggee Of Mark   ACCOUNT NO.: NOT AVAILABLE
        Hager
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50604 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        17K11268H As Subroggee Of        ACCOUNT NO.: NOT AVAILABLE
        Phillip Christensen
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50605 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        17K11274H As Subroggee Of        ACCOUNT NO.: NOT AVAILABLE
        Camille And Kurtis Sutterfield
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50606 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        17K11277H As Subroggee Of        ACCOUNT NO.: NOT AVAILABLE
        Fredrick Herzoff
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                             Page 7334 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        497 of 578
PG&E Corporation                                                                                Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.50607 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        17K11308H As Subroggee Of Edith   ACCOUNT NO.: NOT AVAILABLE
        Potts
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50608 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        17K11312H As Subroggee Of         ACCOUNT NO.: NOT AVAILABLE
        James Atkinson
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50609 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        17K11320H As Subroggee Of Jeff    ACCOUNT NO.: NOT AVAILABLE
        Murray
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50610 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        17K11322H As Subroggee Of         ACCOUNT NO.: NOT AVAILABLE
        Norman Wright
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                              Page 7335 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                         498 of 578
PG&E Corporation                                                                                 Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address            Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.50611 Those Certain Underwriters                   VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                         Litigation
        17K11346H As Subroggee Of Ryan     ACCOUNT NO.: NOT AVAILABLE
        Keller
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50612 Those Certain Underwriters                   VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                         Litigation
        17K11353H As Subroggee Of          ACCOUNT NO.: NOT AVAILABLE
        Tracy Teel
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50613 Those Certain Underwriters                   VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                         Litigation
        17K11360H As Subroggee Of          ACCOUNT NO.: NOT AVAILABLE
        Christopher And Naomi Frankovich
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50614 Those Certain Underwriters                   VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                         Litigation
        17K11380H As Subroggee Of          ACCOUNT NO.: NOT AVAILABLE
        Karen D Grenci
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                               Page 7336 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                          499 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50615 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        17K11381H As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        Curtis Hicks
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50616 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        17K11388H As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        Monique Blessings Moretto
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50617 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        17K11415H As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        Harold Hern
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50618 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        17K11416H As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        Michael Copeland
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                            Page 7337 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       500 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50619 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        17K11444H As Subroggee Of        ACCOUNT NO.: NOT AVAILABLE
        Yingqui Zhang
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50620 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        17K11481H As Subroggee Of Sara   ACCOUNT NO.: NOT AVAILABLE
        Resendez
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50621 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        17K11497H As Subroggee Of        ACCOUNT NO.: NOT AVAILABLE
        Arbor Evans
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50622 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        17K11498H As Subroggee Of        ACCOUNT NO.: NOT AVAILABLE
        Latisha Liptrap
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                             Page 7338 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        501 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50623 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        17K11519H As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        Joseph Strickland
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50624 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        17K11529H As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        Javier And Marah V Blanchard
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50625 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        17K20938D As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        Norman C Archer
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50626 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        17K30003M As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        Jeanna And Thomas Ball
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                            Page 7339 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       502 of 578
PG&E Corporation                                                                                Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.50627 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        17K30159M As Subroggee Of Julie   ACCOUNT NO.: NOT AVAILABLE
        And Edwin F Zabel
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50628 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        17K30166M As Subroggee Of         ACCOUNT NO.: NOT AVAILABLE
        Coppel, Jim
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50629 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        17K30193M As Subroggee Of         ACCOUNT NO.: NOT AVAILABLE
        Carmen Chalfant
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50630 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        18Ad20008H As Subroggee Of        ACCOUNT NO.: NOT AVAILABLE
        Doris Gubser
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                              Page 7340 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                         503 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50631 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20013H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Patricia Yeager
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50632 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20017H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Brian And Katelyn
        Rabinovitzhiggins
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50633 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20065H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Christian And Katie Alexander
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50634 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20091H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Brian Overmyer
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                            Page 7341 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       504 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50635 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20110H As Subroggee Of        ACCOUNT NO.: NOT AVAILABLE
        James Cureton And Jennifer Nelson
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50636 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20112H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Jennifer Ross
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50637 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20137H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        John Mattera
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50638 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20167H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Marke Jenne
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                            Page 7342 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       505 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50639 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20174H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Catherine Renee Harper –
        Velliquette Trust
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50640 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20181H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Gary Wilson
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50641 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20192D As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        John Lathan
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50642 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20217H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Marina Burke
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                            Page 7343 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       506 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50643 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20218H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Ellen And Derek Kira
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50644 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20226D As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        David Jackson
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50645 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20229D As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Edward Gleason
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50646 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20314H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Adam Tomasevich
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                            Page 7344 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       507 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50647 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20316H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Alex Ward
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50648 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20347H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Jessica Vandereyk
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50649 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20362H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Sandra Williams
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50650 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20368H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Kimberly Cruzen
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                            Page 7345 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       508 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50651 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        18Ad20393H As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        Gaile Bailey
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50652 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        18Ad20409H As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        Susan Coggiola And Reino Nummi
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50653 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        18Ad20411H As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        Rodney Langley
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50654 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        18Ad20429H As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        Gary Hardin
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                             Page 7346 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        509 of 578
PG&E Corporation                                                                                Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.50655 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        18Ad20475M As Subroggee Of        ACCOUNT NO.: NOT AVAILABLE
        Sylvia Anderson
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50656 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        18Ad20489H As Subroggee Of        ACCOUNT NO.: NOT AVAILABLE
        Kelly Doty
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50657 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        18Ad20495H As Subroggee Of Eric   ACCOUNT NO.: NOT AVAILABLE
        Helton
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50658 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        18Ad20496H As Subroggee Of        ACCOUNT NO.: NOT AVAILABLE
        James Larkin
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                              Page 7347 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                         510 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50659 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20512H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Germaine R Clouser
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50660 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20515H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Sharon Meyers
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50661 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20559H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Shaun Fleming
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50662 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20588D As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Donald & Claudia Smith
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                            Page 7348 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       511 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50663 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        18Ad20603H As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        Todd Robinson
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50664 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        18Ad20616D As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        Steve Dickinson
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50665 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        18Ad20668H As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        Fritts, Michael And Nickelson,
        Donna
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50666 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        18Ad20734D As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        John Donaldson
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                             Page 7349 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        512 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50667 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20761H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Jason Dyer
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50668 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20778H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Osama Thakeb
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50669 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20788M As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Aaron Singer
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50670 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20798H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Grant Peterson
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                            Page 7350 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       513 of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.50671 Those Certain Underwriters                     VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                           Litigation
        18Ad20803H As Subroggee Of           ACCOUNT NO.: NOT AVAILABLE
        Pamela K Flores
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50672 Those Certain Underwriters                     VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                           Litigation
        18Ad20847H As Subroggee Of           ACCOUNT NO.: NOT AVAILABLE
        Kristin Zunno
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50673 Those Certain Underwriters                     VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                           Litigation
        18Ad20878H As Subroggee Of           ACCOUNT NO.: NOT AVAILABLE
        Jenny May Hadden
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50674 Those Certain Underwriters                     VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                           Litigation
        18Ad20940H As Subroggee Of           ACCOUNT NO.: NOT AVAILABLE
        Nicole Etchinson And Dyllan Mattly
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                                 Page 7351 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                            514 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50675 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad20956H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Amber Courtney
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50676 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad21021D As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Kathy Fuller
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50677 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad21034D As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Kenneth Ranklin
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50678 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad21072H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Carolyn Melf
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                            Page 7352 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       515 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50679 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        18Ad21087H As Subroggee Of Kim   ACCOUNT NO.: NOT AVAILABLE
        Weir
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50680 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        18Ad21126H As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        Marjorie E. Trainer
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50681 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        18Ad21127H As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        Dylan Jacob Pannell
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50682 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        18Ad21135H As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        Matthew And Amanda Flammang
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                             Page 7353 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        516 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50683 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad21145H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        William Soderlund
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50684 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad21179D As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Andrew Wilkins
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50685 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad21183H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Michelle And Angela Hailar
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50686 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad21193D As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Gary Pettinari
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                            Page 7354 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       517 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50687 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad21214H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Wesley And Joann Harris
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50688 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad21215H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Tina Thomas
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50689 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad21239H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Justin Cahoy
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50690 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad21241D As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Norman Lichty
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                            Page 7355 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       518 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50691 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad21270H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Robert Ponder
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50692 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad21290M As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Owen Hollingsworth
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50693 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad21295H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        David Miller
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50694 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad21314D As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Mike Cheney
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                            Page 7356 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       519 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50695 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad21318H As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Dawn Glowacki
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50696 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad21362D As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Paulette Merritt
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50697 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        18Ad21375D As Subroggee Of      ACCOUNT NO.: NOT AVAILABLE
        Steve Rath
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50698 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. AMR-5293702 AS    ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF THAYER
        LODGING GROUP
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596




                                            Page 7357 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       520 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50699 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. AMR-5293702 AS    ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF THAYER
        LODGING GROUP
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50700 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. AMR-5293702 AS    ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF THAYER
        LODGING GROUP
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50701 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO.                   ACCOUNT NO.: NOT AVAILABLE
        B1230AP01428A17-20197 AS
        SUBROGEE OF STEPHEN D.
        PEAT/JANESCO ENT.
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50702 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO.                   ACCOUNT NO.: NOT AVAILABLE
        B1230AP01428A17-20197 AS
        SUBROGEE OF STEPHEN D.
        PEAT/JANESCO ENT.
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101




                                            Page 7358 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       521 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50703 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO.                   ACCOUNT NO.: NOT AVAILABLE
        B1230AP01428A17-20197 AS
        SUBROGEE OF STEPHEN D.
        PEAT/JANESCO ENT.
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50704 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO.                   ACCOUNT NO.: NOT AVAILABLE
        B1230AP01428A17-31424/916775
        AS SUBROGEE OF DENISE S.
        HAMM
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50705 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO.                   ACCOUNT NO.: NOT AVAILABLE
        B1230AP01428A17-31424/916775
        AS SUBROGEE OF DENISE S.
        HAMM
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50706 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO.                   ACCOUNT NO.: NOT AVAILABLE
        B1230AP01428A17-31424/916775
        AS SUBROGEE OF DENISE S.
        HAMM
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596




                                            Page 7359 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       522 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50707 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. BUHV02036 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF PAUL MACHLE,
        KATHLEEN JORDAN, JAMES
        CUMMINGS, AND JULIA JORDAN
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50708 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. BUHV02036 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF PAUL MACHLE,
        KATHLEEN JORDAN, JAMES
        CUMMINGS, AND JULIA JORDAN
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50709 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. BUHV02036 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF PAUL MACHLE,
        KATHLEEN JORDAN, JAMES
        CUMMINGS, AND JULIA JORDAN
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50710 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. CBB654517 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF JOAN FAUSETT
        AND EDITH PEREZ
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017




                                            Page 7360 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       523 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50711 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. CBB654517 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF JOAN FAUSETT
        AND EDITH PEREZ
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50712 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. CBB654517 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF JOAN FAUSETT
        AND EDITH PEREZ
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50713 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        Cca000317-02 As Subroggee Of    ACCOUNT NO.: NOT AVAILABLE
        Benjamin And Breann Patten
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50714 THOSE CERTAIN                       VARIOUS                                    Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. CSN0000995 AS ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF HUDSON
        VINEYARDS/HUDSON WINES LLC
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101




                                            Page 7361 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       524 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50715 THOSE CERTAIN                       VARIOUS                                    Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. CSN0000995 AS ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF HUDSON
        VINEYARDS/HUDSON WINES LLC
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50716 THOSE CERTAIN                       VARIOUS                                    Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. CSN0000995 AS ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF HUDSON
        VINEYARDS/HUDSON WINES LLC
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50717 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11164 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF JOHN AND
        KIMBERLY ZOPFI
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50718 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11164 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF JOHN AND
        KIMBERLY ZOPFI
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596




                                            Page 7362 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       525 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50719 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11164 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF JOHN AND
        KIMBERLY ZOPFI
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50720 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11180 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF ALI AND
        SHARON KHADJEH
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50721 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11180 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF ALI AND
        SHARON KHADJEH
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50722 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11180 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF ALI AND
        SHARON KHADJEH
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017




                                            Page 7363 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       526 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50723 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11201 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF EUGENIA G AND
        MICHAEL R CARTER
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50724 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11201 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF EUGENIA G AND
        MICHAEL R CARTER
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50725 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11201 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF EUGENIA G AND
        MICHAEL R CARTER
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50726 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11206 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF JAMES AND
        LINDA YUST
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017




                                            Page 7364 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       527 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50727 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11206 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF JAMES AND
        LINDA YUST
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50728 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11206 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF JAMES AND
        LINDA YUST
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50729 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11294 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF RAYMOND AND
        EMILY CONWAY
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50730 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11294 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF RAYMOND AND
        EMILY CONWAY
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017




                                            Page 7365 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       528 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50731 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11294 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF RAYMOND AND
        EMILY CONWAY
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50732 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11330 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF DAVID TRAVERSI
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50733 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11330 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF DAVID TRAVERSI
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50734 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11330 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF DAVID TRAVERSI
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50735 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11374 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF JAMES
        CALDWELL AND JAN E.
        MCFARLAND
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596

                                            Page 7366 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       529 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50736 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11374 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF JAMES
        CALDWELL AND JAN E.
        MCFARLAND
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50737 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11374 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF JAMES
        CALDWELL AND JAN E.
        MCFARLAND
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50738 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11413 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF HENRY KANE
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50739 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11413 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF HENRY KANE
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50740 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. HVH11413 AS       ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF HENRY KANE
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596

                                            Page 7367 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       530 of 578
PG&E Corporation                                                                                   Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:        List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address              Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                  Account Number                            Claim

Wildfire Claims

3.50741 Those Certain Underwriters                     VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                           Litigation
        N04499015377 As Subroggee Of         ACCOUNT NO.: NOT AVAILABLE
        Brian Marshall And Nancy Heinzell,
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50742 THOSE CERTAIN                                  VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                            Litigation
        TO POLICY NO. PC900-155395           ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF GARY AND
        NANCY TRIPPEER
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50743 THOSE CERTAIN                                  VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                            Litigation
        TO POLICY NO. PC900-155395           ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF GARY AND
        NANCY TRIPPEER
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50744 THOSE CERTAIN                                  VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                            Litigation
        TO POLICY NO. PC900-155395           ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF GARY AND
        NANCY TRIPPEER
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101




                                                 Page 7368 of 7835 to Schedule E/F Part 2

         Case: 19-30088             Doc# 900-13         Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                            531 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50745 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. PC900-155620      ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF ROBERT AND
        KARLA GITLIN, AND JULIA
        MACNEIL
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50746 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. PC900-155620      ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF ROBERT AND
        KARLA GITLIN, AND JULIA
        MACNEIL
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50747 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. PC900-155620      ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF ROBERT AND
        KARLA GITLIN, AND JULIA
        MACNEIL
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50748 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. PHA034S16AA       ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF MARISSA L.
        BARTALOTTI
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101




                                            Page 7369 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       532 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50749 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. PHA034S16AA       ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF MARISSA L.
        BARTALOTTI
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50750 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. PHA034S16AA       ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF MARISSA L.
        BARTALOTTI
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50751 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. PHA034S17AA       ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF MARK SMITH
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50752 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. PHA034S17AA       ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF MARK SMITH
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50753 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. PHA034S17AA       ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF MARK SMITH
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101



                                            Page 7370 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       533 of 578
PG&E Corporation                                                                                Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.50754 THOSE CERTAIN                               VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                         Litigation
        TO POLICY NO. PJ1700047AB AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF CALIFORNIA
        JOINT POWERS RISK
        MANAGEMENT AUTHORITY
        (CITY OF SANTA ROSA)
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50755 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        Pj1700047Ab As Subrogee Of        ACCOUNT NO.: NOT AVAILABLE
        California Joint Powers Risk
        Management Authority (City Of
        Santa Rosa)
        Alan J. Jang Sally Noma
        Jang & Associates LLP
        1766 Lacassie Avenue, Suite 200
        Walnut Creek, California 94596


3.50756 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        Pj1700047Ab As Subrogee Of        ACCOUNT NO.: NOT AVAILABLE
        California Joint Powers Risk
        Management Authority (City Of
        Santa Rosa)
        Kevin D. BushThomas M.
        ReganDavid D. Brisco
        Cozen O'Connor
        501 West Broadway, Suite 1610
        San Diego, CA 92101


3.50757 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        Pj1700047Ac As Subrogee Of        ACCOUNT NO.: NOT AVAILABLE
        California Joint Powers Risk
        Management Authority (City Of
        Vallejo)
        Alan J. Jang Sally Noma
        Jang & Associates LLP
        1766 Lacassie Avenue, Suite 200
        Walnut Creek, California 94596




                                              Page 7371 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                         534 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50758 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        Pj1700047Ac As Subrogee Of      ACCOUNT NO.: NOT AVAILABLE
        California Joint Powers Risk
        Management Authority (City Of
        Vallejo)
        Kevin D. BushThomas M.
        ReganDavid D. Brisco
        Cozen O'Connor
        501 West Broadway, Suite 1610
        San Diego, CA 92101


3.50759 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. PJ1700047AC AS    ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF CALIFORNIA
        JOINT POWERS RISK
        MANAGEMENT AUTHORITY
        (CITY OF VALLEJO)
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50760 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. PRPNA1701248      ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF STARWOOD
        CAPITAL GROUP LP
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50761 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. PRPNA1701248      ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF STARWOOD
        CAPITAL GROUP LP
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101




                                            Page 7372 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       535 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50762 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. PRPNA1701248      ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF STARWOOD
        CAPITAL GROUP LP
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50763 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO.                   ACCOUNT NO.: NOT AVAILABLE
        PTNAM1701313/010 AS
        SUBROGEE OF ASHFORD INC.
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50764 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO.                   ACCOUNT NO.: NOT AVAILABLE
        PTNAM1701313/010 AS
        SUBROGEE OF ASHFORD INC.
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50765 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO.                   ACCOUNT NO.: NOT AVAILABLE
        PTNAM1701313/010 AS
        SUBROGEE OF ASHFORD INC.
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50766 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. RPSF23067 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF COMERAGH LLC
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596

                                            Page 7373 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       536 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50767 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. RPSF23067 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF COMERAGH LLC
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50768 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. RPSF23067 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF COMERAGH LLC
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50769 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. RPSF23127 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF RICHARD
        SUTHERLAND
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50770 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. RPSF23127 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF RICHARD
        SUTHERLAND
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50771 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. RPSF23127 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF RICHARD
        SUTHERLAND
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


                                            Page 7374 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       537 of 578
PG&E Corporation                                                                                Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.50772 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        Rpsf23339 As Subroggee Of         ACCOUNT NO.: NOT AVAILABLE
        Michael Lex
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50773 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        Rpsf23389 As Subroggee Of Larry   ACCOUNT NO.: NOT AVAILABLE
        Pine
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50774 THOSE CERTAIN                               VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                         Litigation
        TO POLICY NO. RPSF56389 AS        ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF DEBORA DAVIS
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50775 THOSE CERTAIN                               VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                         Litigation
        TO POLICY NO. RPSF56389 AS        ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF DEBORA DAVIS
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101




                                              Page 7375 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                         538 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50776 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. RPSF56389 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF DEBORA DAVIS
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50777 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. RPSF56456 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF NANCY FAE
        SIDERIS AND NANCY SIDERIS
        LIVING TRUST
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50778 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. RPSF56456 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF NANCY FAE
        SIDERIS AND NANCY SIDERIS
        LIVING TRUST
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50779 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. RPSF56456 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF NANCY FAE
        SIDERIS AND NANCY SIDERIS
        LIVING TRUST
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101




                                            Page 7376 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       539 of 578
PG&E Corporation                                                                                Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.50780 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        Rpsf56539 As Subroggee Of Bryan   ACCOUNT NO.: NOT AVAILABLE
        Bear & Laurie Bradshaw
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50781 THOSE CERTAIN                               VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                         Litigation
        TO POLICY NO. RPSF56570 AS        ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF ALI AND
        SHARON KHADJEH
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50782 THOSE CERTAIN                               VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                         Litigation
        TO POLICY NO. RPSF56570 AS        ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF ALI AND
        SHARON KHADJEH
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50783 THOSE CERTAIN                               VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                         Litigation
        TO POLICY NO. RPSF56570 AS        ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF ALI AND
        SHARON KHADJEH
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596




                                              Page 7377 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                         540 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50784 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. RPSF57020 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF PETER AND
        JANICE LUCIA
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50785 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. RPSF57020 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF PETER AND
        JANICE LUCIA
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50786 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. RPSF57020 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF PETER AND
        JANICE LUCIA
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50787 Those Certain Underwriters                VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                      Litigation
        Rpsf57302 As Subroggee Of       ACCOUNT NO.: NOT AVAILABLE
        William Staggs
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                            Page 7378 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       541 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50788 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        Rpsf57321 As Subroggee Of Jean   ACCOUNT NO.: NOT AVAILABLE
        Christian
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50789 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        Rpsf57352 As Subroggee Of        ACCOUNT NO.: NOT AVAILABLE
        Connie Isele
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50790 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        Rpsf57409 As Subroggee Of Mark   ACCOUNT NO.: NOT AVAILABLE
        Lawrence
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50791 Those Certain Underwriters                 VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                       Litigation
        Rpsf57415 As Subroggee Of        ACCOUNT NO.: NOT AVAILABLE
        Michael Imel
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                             Page 7379 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        542 of 578
PG&E Corporation                                                                                Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.50792 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        Rpsf57569 As Subroggee Of Erin    ACCOUNT NO.: NOT AVAILABLE
        Kirchenberg
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50793 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        Rpsf57630 As Subroggee Of Daryl   ACCOUNT NO.: NOT AVAILABLE
        Butts
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50794 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        Rpsf57696 As Subroggee Of Debra   ACCOUNT NO.: NOT AVAILABLE
        Peters
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50795 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        Rpsf57704 As Subroggee Of         ACCOUNT NO.: NOT AVAILABLE
        William Mills
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                              Page 7380 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                         543 of 578
PG&E Corporation                                                                                Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address           Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                               Account Number                            Claim

Wildfire Claims

3.50796 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        Rpsf57705 As Subroggee Of Diane   ACCOUNT NO.: NOT AVAILABLE
        Sax
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50797 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        Rpsf57721 As Subroggee Of Laura   ACCOUNT NO.: NOT AVAILABLE
        Burnswood
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50798 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        Rpsf57842 As Subroggee Of         ACCOUNT NO.: NOT AVAILABLE
        Carissa Hauges
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50799 Those Certain Underwriters                  VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                        Litigation
        Rpsf58133 As Subroggee Of         ACCOUNT NO.: NOT AVAILABLE
        Robert Gleason
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101




                                              Page 7381 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13       Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                         544 of 578
PG&E Corporation                                                                                 Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address            Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                                Account Number                            Claim

Wildfire Claims

3.50800 Those Certain Underwriters                   VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                         Litigation
        Rpsf58409 As Subroggee Of Mike     ACCOUNT NO.: NOT AVAILABLE
        Gaynor
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50801 Those Certain Underwriters                   VARIOUS                              Wildfire               UNDETERMINED
        Subscribing To Policy No.                                                         Litigation
        Sipl35961 As Subroggee Of Wurzel   ACCOUNT NO.: NOT AVAILABLE
        Pasrons-Keir
        Thomas M. Regan (Sbn
        113800)Kevin Bush (Sbn
        120480)David D. Brisco (Sbn
        238270)Peter Lynch, Esq. (Sbn
        123603)
        Cozen O'Connor
        501 W. Broadway, Suite 1610
        San Diego, CA 92101


3.50802 THOSE CERTAIN                                VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                          Litigation
        TO POLICY NO. VB0464554RS          ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF MARTHA
        SIMON AND JOE MARINO
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50803 THOSE CERTAIN                                VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                          Litigation
        TO POLICY NO. VB0464554RS          ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF MARTHA
        SIMON AND JOE MARINO
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596




                                               Page 7382 of 7835 to Schedule E/F Part 2

         Case: 19-30088            Doc# 900-13        Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                          545 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50804 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. VB0464554RS       ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF MARTHA
        SIMON AND JOE MARINO
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50805 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. VB0465075R4 AS    ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF VICTOR THAY
        2009 REVOCABLE TRUST
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50806 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. VB0465075R4 AS    ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF VICTOR THAY
        2009 REVOCABLE TRUST
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50807 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. VB0465075R4 AS    ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF VICTOR THAY
        2009 REVOCABLE TRUST
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017




                                            Page 7383 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       546 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50808 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. VBX616918 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF NILS WELIN
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50809 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. VBX616918 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF NILS WELIN
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50810 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO. VBX616918 AS      ACCOUNT NO.: NOT AVAILABLE
        SUBROGEE OF NILS WELIN
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50811 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO.PRPNA1701498       ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF ATRIUM
        HOLDING COMPANY/SONOMA
        HILTON
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50812 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO.PRPNA1701498       ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF ATRIUM
        HOLDING COMPANY/SONOMA
        HILTON
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101

                                            Page 7384 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       547 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50813 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY NO.PRPNA1701498       ACCOUNT NO.: NOT AVAILABLE
        AS SUBROGEE OF ATRIUM
        HOLDING COMPANY/SONOMA
        HILTON
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50814 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY SO174466801           ACCOUNT NO.: NOT AVAILABLE
        KEVIN D. BUSHTHOMAS M.
        REGANDAVID D. BRISCO
        COZEN O'CONNOR
        501 WEST BROADWAY, SUITE
        1610
        SAN DIEGO, CA 92101


3.50815 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY SO174466801           ACCOUNT NO.: NOT AVAILABLE
        HOWARD D. MAYCON
        COZEN O'CONNOR
        601 S. FIGUEROA STREET,
        SUITE 3700
        LOS ANGELES, CA 90017


3.50816 THOSE CERTAIN                             VARIOUS                              Wildfire               UNDETERMINED
        UNDERWRITERS SUBSCRIBING                                                       Litigation
        TO POLICY SO174466801           ACCOUNT NO.: NOT AVAILABLE
        ALAN J. JANG SALLY NOMA
        JANG & ASSOCIATES LLP
        1766 LACASSIE AVENUE, SUITE
        200
        WALNUT CREEK, CALIFORNIA
        94596


3.50817 THREEWIT, FRANCES                         VARIOUS                              Wildfire               UNDETERMINED
        P.O. BOX 323                                                                   Litigation
        KENWOOD, CA 95452               ACCOUNT NO.: NOT AVAILABLE


3.50818 THREEWIT, FRANCES                         VARIOUS                              Wildfire               UNDETERMINED
        262 MAPLE AVE                                                                  Litigation
        KENWOOD, CA 95452               ACCOUNT NO.: NOT AVAILABLE




                                            Page 7385 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       548 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And       C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                             Claim

Wildfire Claims

3.50819 Thrifty Payless, Inc. a California          VARIOUS                             Wildfire               UNDETERMINED
        Corporation                                                                     Litigation
        Paul A. Casetta (Pro Hac            ACCOUNT NO.: NOT AVAILABLE
        Pending)Alan B. McMaster (Pro
        Hac Pending)Jarett M. Smith (Pro
        Hac Pending)Media Benjamin
        (SBN 236953)Zachary P. Marks
        (SBN 284642)
        Denenberg Tuffley PLLC
        1900 Avenue of the Stars, Suite 300
        Los Angeles, CAlifornia 90067


3.50820 THRONE, SANDRA                             VARIOUS                              Wildfire               UNDETERMINED
        19 GLENGREEN STREET                                                             Litigation
        SANTA ROSA, CA 95409            ACCOUNT NO.: NOT AVAILABLE


3.50821 THU TRAN                                   VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONERIKA L.                                                        Litigation
        VASQUEZ AMANDA LOCURTO          ACCOUNT NO.: NOT AVAILABLE
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.50822 THU TRAN                                   VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC VICE                                                       Litigation
        PENDING)JOHN P. FISKE           ACCOUNT NO.: NOT AVAILABLE
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.50823 THU TRAN                                   VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ.                                                           Litigation
        TERRY SINGLETON, A.P.C.         ACCOUNT NO.: NOT AVAILABLE
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.50824 THU TRAN                                   VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                      Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       IAN C. FUSSELMAN,
       ESQ.BRETT. J. SCHREIBER,
       ESQ.
       THORSNES BARTOLOTTA
       MCGUIRE LLP
       2550 FIFTH A VENUE, 11TH
       FLOOR
       SAN DIEGO, CALIFORNIA 92103




                                             Page 7386 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        549 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50825 THU TRAN                                  VARIOUS                              Wildfire               UNDETERMINED
        NATASHA SERINO                                                                 Litigation
        LAW OFFICES OF ALEXANDER        ACCOUNT NO.: NOT AVAILABLE
        M. SCHACK
        16870 WEST BERNARDO, STE
        400,
        SAN DIEGO, CA 92127


3.50826 THU TRAN                                  VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIABDEBORAH S.                                                        Litigation
        DIXONROBERT J. CHAMBERS II      ACCOUNT NO.: NOT AVAILABLE
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50827 TICIA E KRAUS                             VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50828 TICIA E KRAUS                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.50829 TICIA E KRAUS                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50830 TICIA E KRAUS                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50831 TICIA E KRAUS                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


                                            Page 7387 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       550 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50832 TIERNAN, RICHARD                          VARIOUS                              Wildfire               UNDETERMINED
        2104 BOCK ST                                                                   Litigation
        SANTA ROSA, CA 95403            ACCOUNT NO.: NOT AVAILABLE


3.50833 TIFFANY ANN BELL                          VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.50834 TIFFANY ANN BELL                          VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.50835 TIFFANY ANN BELL                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.50836 TIFFANY ANN BELL                          VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.50837 TIFFANY D CORNWELL                        VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50838 TIFFANY D CORNWELL                        VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928




                                            Page 7388 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       551 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50839 TIFFANY D CORNWELL                        VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIREJ. DOMENIC                                                      Litigation
        MARTINI                         ACCOUNT NO.: NOT AVAILABLE
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH AVE., 11TH FLOOR
        SAN DIEGO, CA 92103


3.50840 TIFFANY D CORNWELL                        VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075


3.50841 TIFFANY D CORNWELL                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50842 TIFFANY FERREL                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG, SBN                                                       Litigation
        81867                           ACCOUNT NO.: NOT AVAILABLE
        MICHAEL S. FEINBERG, APLC
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.50843 TIFFANY FERREL                            VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768ANGELA JAE CHUN, SBN       ACCOUNT NO.: NOT AVAILABLE
        248571
        CASEY GERRY SCHENK
        FRANCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL STREET
        SAN DIEGO, CA 92101


3.50844 TIFFANY FERREL                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50845 TIFFANY FERREL                            VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL, SBN 67834                                                       Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


                                            Page 7389 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       552 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50846 TIFFANY GARRISON                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50847 TIFFANY GARRISON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.50848 TIFFANY GARRISON                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.50849 TIFFANY GARRISON                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50850 TIFFANY GARRISON                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50851 TIFFANY KEYES                              VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                    Litigation
        ERIC RATINOFF LAW CORP.          ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864




                                             Page 7390 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        553 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50852 TIFFANY KEYES                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.50853 TIFFANY KEYES                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50854 TIFFANY KEYES                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.50855 TIFFANY MARIA GONSALVES                   VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.50856 TIFFANY MARIA GONSALVES                   VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.50857 TIFFANY ROSE PLOURD                       VARIOUS                              Wildfire               UNDETERMINED
        ANTHONY R. LAURETI, ESQ.,                                                      Litigation
        SBN: 147086                     ACCOUNT NO.: NOT AVAILABLE
        LAURETI & ASSOCIATES, APC
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 9210 I




                                            Page 7391 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       554 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50858 TIFFANY ROSE PLOURD                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50859 TIFFANY ROSE PLOURD                       VARIOUS                              Wildfire               UNDETERMINED
        BONNIE E. KANE, ESQ., SBN:                                                     Litigation
        167700STEVEN S. KANE, ESQ.,     ACCOUNT NO.: NOT AVAILABLE
        SBN: 061670
        THE KANE LAW FIRM
        402 W. BROADWAY, SUITE 2500
        SAN DIEGO, CA 92101


3.50860 TIFFANY ROSE PLOURD                       VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228BRETT R. PARKINSON,      ACCOUNT NO.: NOT AVAILABLE
        ESQ., #230150
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.50861 TIFFANY SARGIS                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                        Litigation
        R. PARKINSONDANIEL E.           ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.50862 TIFFANY SARGIS                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                          Litigation
        SIMMONS                         ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.50863 TIFFANY SARGIS                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.50864 TIFFANY SARGIS                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                  Litigation
        DEMAS LAW GROUP, P.C.           ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


                                            Page 7392 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       555 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50865 TIFFANY SLIGHTOM                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA, ESQ. /                                                       Litigation
        SBN: 110909ANDREA R.             ACCOUNT NO.: NOT AVAILABLE
        CROWL, ESQ. / SBN: 313624
        DREYER BABICH BUCCOLA
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50866 TIFFANY SLIGHTOM                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.50867 TIFFANY SLIGHTOM                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50868 TIFFANY SLIGHTOM                           VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.50869 TIFFANY SLIGHTOM                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50870 TIFFANY SLOAN                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                        Litigation
        A. BAGHDADI                      ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                             Page 7393 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        556 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50871 TIFFANY SLOAN                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50872 TIFFANY SLOAN                             VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.50873 TIFFANY SLOAN                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.50874 TIFFANY STEPHENS                          VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.50875 TIFFANY STEPHENS                          VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105




                                            Page 7394 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       557 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50876 TIFFANY VANDEUTEKOM                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50877 TIFFANY VANDEUTEKOM                       VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50878 TIFFANY VANDEUTEKOM                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50879 TIFFANY VANDEUTEKOM                       VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.50880 TIFFANY VANDEUTEKOM                       VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127


3.50881 TIJERINA, ERICA                           VARIOUS                              Wildfire               UNDETERMINED
        40 BRANNAN ST                                                                  Litigation
        APT 4024                        ACCOUNT NO.: NOT AVAILABLE
        CALISTOGA, CA 94515


3.50882 TILTON, KIMBERLY                          VARIOUS                              Wildfire               UNDETERMINED
        2001 RANGE AVE                                                                 Litigation
        APT 155                         ACCOUNT NO.: NOT AVAILABLE
        SANTA ROSA, CA 95401




                                            Page 7395 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       558 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50883 TIM CANTILLON                             VARIOUS                              Wildfire               UNDETERMINED
        GARY G. GOYETTE- SBN 224715                                                    Litigation
        GOYETTE & ASSOCIATES,           ACCOUNT NO.: NOT AVAILABLE
        INC.A PROFESSIONAL LAW
        CORPORATION
        2366 GOLD MEADOW WAY,
        SUITE 200
        GOLD RIVER, CA 95670


3.50884 TIM DICKEY                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50885 TIM DICKEY                                VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.50886 TIM DICKEY                                VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50887 TIM DICKEY                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50888 TIM DICKEY                                VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




                                            Page 7396 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       559 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50889 TIM EASTERBROOK                           VARIOUS                              Wildfire               UNDETERMINED
        THOMAS TOSDAL                                                                  Litigation
        TOSDAL LAW FIRM                 ACCOUNT NO.: NOT AVAILABLE
        777 SOUTH HWY 101, STE. 215
        SOLANA BEACH, CA 92075


3.50890 TIM EASTERBROOK                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. FEINBERG                                                            Litigation
        MICHAEL S. FEINBERG, APLC       ACCOUNT NO.: NOT AVAILABLE
        41911 FIFTH STREET, SUITE 300
        TEMECULA, CA 92590


3.50891 TIM EASTERBROOK                           VARIOUS                              Wildfire               UNDETERMINED
        DAVID S. CASEY, JR., SBN                                                       Litigation
        60768GAYLE M. BLATT, SBN        ACCOUNT NO.: NOT AVAILABLE
        122048ANGELA JAE CHUN,
        SBN 248571
        CASEY GERRY SCHENK
        FRANKCA VILLA BLATT &
        PENFIELD, LLP
        110 LAUREL ST.
        SAN DIEGO, CA 92101


3.50892 TIM FREIMUTH                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT S. ARNSJONATHAN E.                                                      Litigation
        DAVISKEVIN M.                   ACCOUNT NO.: NOT AVAILABLE
        OSBORNESHOUNAK S.
        DHARAP
        THE ARNS LAW FIRM
        515 FOLSOM STREET, THIRD
        FLOOR
        SAN FRANCISCO, CA 94105


3.50893 TIM FREIMUTH                              VARIOUS                              Wildfire               UNDETERMINED
        THOMAS J. BRANDITERENCE                                                        Litigation
        D. EDWARDS                      ACCOUNT NO.: NOT AVAILABLE
        THE BRANDI LAW FIRM
        354 PINE STREET, THIRD FLOOR
        SAN FRANCISCO, CALIFORNIA
        94104


3.50894 TIM HARPER                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7397 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       560 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50895 TIM HARPER                                VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50896 TIM HARPER                                VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669


3.50897 TIM HARPER                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.50898 TIM HILLIS                                VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50899 TIM HILLIS                                VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                            Page 7398 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       561 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50900 TIM HILLIS                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.50901 TIM HILLIS                                 VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                      Litigation
        100077ALISON E. CORDOVA,         ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.50902 TIM HILLIS                                 VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.50903 TIM HOLMES                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN N. DEMAS                                                                   Litigation
        DEMAS LAW GROUP, P.C.            ACCOUNT NO.: NOT AVAILABLE
        701 HOWE AVENUE, SUITE A-1
        SACRAMENTO, CA 95825


3.50904 TIM HOLMES                                 VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFFCOELL M.                                                           Litigation
        SIMMONS                          ACCOUNT NO.: NOT AVAILABLE
        ERIC RATINOFF LAW CORP
        401 WATT A VENUE
        SACRAMENTO, CALIFORNIA
        95864


3.50905 TIM HOLMES                                 VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON BRETT                                                         Litigation
        R. PARKINSONDANIEL E.            ACCOUNT NO.: NOT AVAILABLE
        PASSMORE
        JACKSON & PARKINSON, TRIAL
        LAWYERS
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028




                                             Page 7399 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        562 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50906 TIM HOLMES                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. FRIEDEMANN                                                             Litigation
        FRIEDEMANN GOLDBERG LLP         ACCOUNT NO.: NOT AVAILABLE
        420 AVIATION BLVD., SUITE 201
        SANTA ROSA, CA 95403


3.50907 TIM JAMES                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.50908 TIM JAMES                                 VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669


3.50909 TIM JAMES                                 VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.50910 TIM KELLY                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401




                                            Page 7400 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       563 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50911 TIM KELLY                                  VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                          Litigation
        STATE BAR NO. 296841)PAIGE       ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.50912 TIM KORN                                   VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                        Litigation
                                         ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.50913 TIM MA WER                                 VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                               Litigation
        DREYER BABICH BUCCOLA            ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50914 TIM MA WER                                 VARIOUS                              Wildfire               UNDETERMINED
        NICHOLAS J.P. WAGNER                                                            Litigation
        #109455LAURA E. BROWN            ACCOUNT NO.: NOT AVAILABLE
        #306035
        WAGNER, JONES, KOPFMAN, &
        ARTENIAN LLP
        1111 HERNDON, STE. 317
        FRESNO, CA 93720


3.50915 TIM MA WER                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                                Litigation
        WALKUP, MELODIA, KELLY &         ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50916 TIM MA WER                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


                                             Page 7401 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        564 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50917 TIM MA WER                                VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010


3.50918 TIM MOORE                                 VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.50919 TIM MOORE                                 VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.50920 TIM MOORE                                 VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50921 TIM MOORE                                 VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.50922 TIM MOORE                                 VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103



                                            Page 7402 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       565 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50923 TIM WYATT                                 VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50924 TIM WYATT                                 VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.50925 TIM WYATT                                 VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50926 TIM WYATT                                 VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.50927 TIMM, GERALD; TIMM, TRAVIS         VARIOUS                                     Wildfire               UNDETERMINED
        (UNDERHILL); TIMM, SHELLY                                                      Litigation
        (JOSES 1ST AMENDED)        ACCOUNT NO.: NOT AVAILABLE
        CO-COUNSELDEMETRIOS A.
        SPARACINO
        SPARACINO LAW CORPORATION
        525 B STREET, SUITE 1500
        SAN DIEGO, CA 92101


3.50928 TIMM, GERALD; TIMM, TRAVIS                VARIOUS                              Wildfire               UNDETERMINED
        (UNDERHILL); TIMM, SHELLY                                                      Litigation
        (JOSES 1ST AMENDED)             ACCOUNT NO.: NOT AVAILABLE
        GERARD SINGLETONERIKA L.
        VASQUEZAMANDA LOCUTRO
        SINGLETON LAW FIRM
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075



                                            Page 7403 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       566 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50929 TIMM, GERALD; TIMM, TRAVIS                VARIOUS                              Wildfire               UNDETERMINED
        (UNDERHILL); TIMM, SHELLY                                                      Litigation
        (JOSES 1ST AMENDED)             ACCOUNT NO.: NOT AVAILABLE
        ELLIOT ADLERBRITTANY
        ZUMMER
        ADLER LAW GROUP, APLC
        420 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50930 TIMM, ROBERT                              VARIOUS                              Wildfire               UNDETERMINED
        3696 MONTANA DR.                                                               Litigation
        NAPA, CA 94558                  ACCOUNT NO.: NOT AVAILABLE


3.50931 TIMMY CREW                                VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                          Litigation
        208783)ERIKA L. VASQUEZ         ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.50932 TIMMY CREW                                VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                           Litigation
        VICEPENDING)JOHN P. FISKE       ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.50933 TIMMY CREW                                VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                     Litigation
        (SBN 69176)IAN C.               ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103


3.50934 TIMMY CREW                                VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101




                                            Page 7404 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       567 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50935 TIMMY CREW                                VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.50936 TIMOTHY ARNOTT                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.50937 TIMOTHY ARNOTT                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50938 TIMOTHY ARNOTT                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50939 TIMOTHY ARNOTT                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




                                            Page 7405 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       568 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50940 TIMOTHY BARKER                            VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZPHILIP C.                                                       Litigation
        AMANWILLIAM P. HARRIS           ACCOUNT NO.: NOT AVAILABLE
        IIIM. REGINA
        BAGDASARIANGEORGE T.
        STIEFEL, ESQ.
        FRANTZ LAW GROUP, APLC
        71 STEVENSON BUILDING,
        SUITE 400
        SAN FRANCISCO, CA 94105


3.50941 TIMOTHY BARKER                            VARIOUS                              Wildfire               UNDETERMINED
        MUHAMMAD S. AZIZ                                                               Litigation
        ABRAHAM, WATKINS, NICHOLS,      ACCOUNT NO.: NOT AVAILABLE
        SORRELS, AGOSTO & AZIZ
        800 COMMERCE STREET
        HOUSTON, TEXAS 77002


3.50942 TIMOTHY C. MORRISON                       VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50943 TIMOTHY C. MORRISON                       VARIOUS                              Wildfire               UNDETERMINED
        PATRICK MCNICHOLAS, ABN                                                        Litigation
        125868JUSTIN J. EBALLAR,        ACCOUNT NO.: NOT AVAILABLE
        SBN 294718
        MCNICHOLAS & MCNICHOLAS,
        LLP
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50944 TIMOTHY C. MORRISON                       VARIOUS                              Wildfire               UNDETERMINED
        JAMES P. FRANTZ, ESQ., SBN                                                     Litigation
        87492WILLIAM P. HARRIS III,     ACCOUNT NO.: NOT AVAILABLE
        ESQ., SBN 123575M. REGINA
        BAGDASARIAN, ESQ., SBN
        296219GEORGE T. STIEFEL,
        ESQ., SBN. 297611
        FRANTZ LAW GROUP, APLC
        770 L STREET, SUITE 950
        SACRAMENTO, CA 95814


3.50945 TIMOTHY C. MORRISON                       VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826




                                            Page 7406 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       569 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50946 TIMOTHY C. MORRISON                       VARIOUS                              Wildfire               UNDETERMINED
        RICHARD K. BRIDGFORD, ESQ.,                                                    Litigation
        SBN 119554MICHAEL H.            ACCOUNT NO.: NOT AVAILABLE
        ARTINIAN, ESQ., SBN 203443
        BRIDGFORD, GLEASON, &
        ARTINIAN
        236 BROADWAY SUITE B
        CHICO, CA 95928


3.50947 TIMOTHY CHANEY                            VARIOUS                              Wildfire               UNDETERMINED
        MARY E. ALEXANDER,                                                             Litigation
        ESQJENNIFER L. FIORE, ESQ       ACCOUNT NO.: NOT AVAILABLE
        MARY ALEXANDER &
        ASSOCIATES, P.C.
        44 MONTGOMERY STREET,
        SUITE 1303
        SAN FRANCISCO, CA 94104


3.50948 TIMOTHY CHURCH                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359KRISTINE K.               ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO.
        158243SHAWN R. MILLER- BAR
        NO. 238447
        DANKO MEREDITH
        333 TWIN DOLPHIN DRIVE,
        SUITE 145
        REDWOOD SHORES, CA 94065


3.50949 TIMOTHY CHURCH                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50950 TIMOTHY CHURCH                            VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782AMANDA L. RIDDLE -        ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221STEVEN M.
        BERKI - BAR NO.
        245426SUMBLE MANZOOR-
        BAR NO. 301704
        COREY, LUZAICH, DE GHETALDI
        & RIDDLE LLP
        700 EL CAMINO REALP.O. BOX
        669
        MILLBRAE, CA 94030-0669




                                            Page 7407 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       570 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50951 TIMOTHY CHURCH                            VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO.                                                           Litigation
        178658DYLAN HUGHES- BAR         ACCOUNT NO.: NOT AVAILABLE
        NO. 209113
        GIBBS LAW GROUP
        505 14TH STREET, SUITE I 110
        OAKLAND, CA 94612


3.50952 TIMOTHY COLEMAN                           VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50953 TIMOTHY COLEMAN                           VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50954 TIMOTHY COLEMAN                           VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50955 TIMOTHY COLEMAN                           VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.50956 TIMOTHY COLEMAN                           VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




                                            Page 7408 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       571 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50957 TIMOTHY COLLINS                           VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.50958 TIMOTHY COLLINS                           VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE
        70-A
        SANTA ROSA, CA 95401


3.50959 TIMOTHY COX                               VARIOUS                              Wildfire               UNDETERMINED
        ERIC GIBBS - BAR NO. 178658                                                    Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       DYLAN HUGHES - BAR NO.
       209113 STEVEN A. LOPEZ -
       BAR NO. 300540
       GIBBS LAW GROUP
       505 14TH STREET, SUITE I 110
       OAKLAND, CA 94612


3.50960 TIMOTHY COX                               VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL S. DANKO - BAR NO.                                                     Litigation
        111359 KRISTINE K.              ACCOUNT NO.: NOT AVAILABLE
        MEREDITH - BAR NO. 158243

       SHAWN R. MILLER- BAR NO.
       238447
       DANKO MEREDITH
       333 TWIN DOLPHIN DRIVE,
       SUITE 145
       REDWOOD SHORES, CA 94065


3.50961 TIMOTHY COX                               VARIOUS                              Wildfire               UNDETERMINED
        DARIO DE GHETALDI - BAR NO.                                                    Litigation
        126782 AMANDA L. RIDDLE -       ACCOUNT NO.: NOT AVAILABLE
        BAR NO. 215221 STEVEN M.
        BERKI - BAR NO. 245426

       SUMBLE MANZOOR- BAR NO.
       301704
       COREY, LUZAICH, DE GHETALDI
       & RIDDLE LLP
       700 EL CAMINO REALP.O. BOX
       669
       MILLBRAE, CA 94030-0669




                                            Page 7409 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       572 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50962 TIMOTHY DEPUY                             VARIOUS                              Wildfire               UNDETERMINED
        ERIC RATINOFF, ESQ., #166204                                                   Litigation
        ERIC RATINOFF LAW CORP.         ACCOUNT NO.: NOT AVAILABLE
        401 WATTAVENUE
        SACRAMENTO, CALIFORNIA
        95864


3.50963 TIMOTHY DEPUY                             VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. JACKSON, ESQ.,                                                       Litigation
        #117228                         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ROBERT W.
        JACKSON, APC
        205 WEST ALVARADO STREET
        FALLBROOK, CALIFORNIA 92028


3.50964 TIMOTHY DEPUY                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50965 TIMOTHY DEPUY                             VARIOUS                              Wildfire               UNDETERMINED
        RUSSELL REINER, ESQ. #84461                                                    Litigation
         REINER, SLAUGHTER &            ACCOUNT NO.: NOT AVAILABLE
        FRANKEL, LLP
        2851 PARK MARINA DR., SUITE
        200
        REDDING, CALIFORNIA 96001


3.50966 TIMOTHY DORMAN                            VARIOUS                              Wildfire               UNDETERMINED
        ROBERT W. THOMPSON                                                             Litigation
        THOMPSON LAW OFFICES, P.C.      ACCOUNT NO.: NOT AVAILABLE
        700 AIRPORT BLVD., SUITE 160
        BURLINGAME, CA 94010


3.50967 TIMOTHY E. LYONS                          VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADI                     ACCOUNT NO.: NOT AVAILABLE
        WALKUP MELODIA
        KELLY&SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108




                                            Page 7410 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       573 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50968 TIMOTHY E. LYONS                          VARIOUS                              Wildfire               UNDETERMINED
        MIKAL C. WATTS (PRO HAC VICE                                                   Litigation
        APPLICATION                     ACCOUNT NO.: NOT AVAILABLE
        ANTICIPATED)GUY WATTS
        (PRO HAC VICE APPLICATION
        ANTICIPATED)PAIGE BOLDT
        (CAL. STATE BAR NO. 308772)
        WATTS GUERRA LLP
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.50969 TIMOTHY E. LYONS                          VARIOUS                              Wildfire               UNDETERMINED
        E. ELLIOT ADLERBRITTANY S.                                                     Litigation
        ZUMMERAMANDA J.                 ACCOUNT NO.: NOT AVAILABLE
        WIESNEROMEED LATIFI
        ADLER LAW GROUP, APLC
        402 W. BROADWAY, SUITE 860
        SAN DIEGO, CA 92101


3.50970 TIMOTHY E. LYONS                          VARIOUS                              Wildfire               UNDETERMINED
        JOSEPH M. EARLEY III (CAL.                                                     Litigation
        STATE BAR NO. 157400)           ACCOUNT NO.: NOT AVAILABLE
        THE LAW OFFICE OF JOSEPH M.
        EARLEY III
        2561 CALIFORNIA PARK
        DR.UNIT 100
        CHICO, CA 95928


3.50971 TIMOTHY EARL SHIRLEY                      VARIOUS                              Wildfire               UNDETERMINED
        BRIAN J. HEFFERNAN, ESQ.                                                       Litigation
                                        ACCOUNT NO.: NOT AVAILABLE
       ALEXANDRA J. NEWSOM ESQ.
       ENGSTROM, LIPSCOMB &
       LACKA PROFESSIONAL
       CORPORATION
       10100 SANTA MONICA
       BOULEVARD, 12TH FLOOR
       LOS ANGELES, CALIFORNIA
       90067-4107


3.50972 TIMOTHY ENNIS                             VARIOUS                              Wildfire               UNDETERMINED
        ALEXANDER M.                                                                   Litigation
        SCHACKNATASHA N. SERINO         ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF ALEXANDER
        M. SCHACK
        16870 WEST BEMARDO DRIVE,
        SUITE 400
        SAN DIEGO, CA 92127




                                            Page 7411 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       574 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50973 TIMOTHY ENNIS                             VARIOUS                              Wildfire               UNDETERMINED
        MATTHEW H. WELTYJACK W.                                                        Litigation
        WEAVER                          ACCOUNT NO.: NOT AVAILABLE
        WELTY WELTY, PC
        141 NORTH STREET
        HEALDSBURG, CA 95448


3.50974 TIMOTHY ENNIS                             VARIOUS                              Wildfire               UNDETERMINED
        STEPHEN B. MURRAY,                                                             Litigation
        SR.JESSICA HAYES                ACCOUNT NO.: NOT AVAILABLE
        MURRAY LAW FIRM
        650 POYDRAS STREET, SUITE
        2150
        NEW ORLEANS, LA 70130


3.50975 TIMOTHY G. TIETJEN                        VARIOUS                              Wildfire               UNDETERMINED
        TIMOTHY G. TIETJEN (STATE                                                      Litigation
        BAR #104975)                    ACCOUNT NO.: NOT AVAILABLE
        ROUDA, FEDER, TIETJEN &
        MCGUINN
        44 MONTGOMERY STREET,
        SUITE 750
        SAN FRANCISCO, CALIFORNIA
        94104


3.50976 TIMOTHY G. TIETJEN                        VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLYKHALDOUN                                                       Litigation
        A. BAGHDADIDORIS                ACCOUNT NO.: NOT AVAILABLE
        CHENGANDREW P. MCDEVITT
        WALKUP MELODIA KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50977 TIMOTHY GOHR                              VARIOUS                              Wildfire               UNDETERMINED
        ROBERT F. KENNEDY, JR. (N.Y.                                                   Litigation
        BAR #1999994) (PRO HAE VICE     ACCOUNT NO.: NOT AVAILABLE
        APPLICATION PENDING)
        KENNEDY & MADONNA, LLP
        48 DEWITT MILLS ROAD
        HURLEY, NEW YORK 12443


3.50978 TIMOTHY GOHR                              VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMMY (PRO HAC                                                          Litigation
        VICE PENDINGTEXAS BAR NO.       ACCOUNT NO.: NOT AVAILABLE
        19507500)JOHN P. FISKE (SBN
        249256)
        BARON & BUDD, P.C.
        11440 WEST BERNARDO
        COURT, SUITE 265
        SAN DIEGO, CA 92127




                                            Page 7412 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       575 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50979 TIMOTHY GOHR                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50980 TIMOTHY GOHR                              VARIOUS                              Wildfire               UNDETERMINED
        ED DIAB (SBN                                                                   Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50981 TIMOTHY GOHR                              VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50982 TIMOTHY GRACE                             VARIOUS                              Wildfire               UNDETERMINED
        STEVEN M. CAMPORA                                                              Litigation
        DREYER BABICH BUCCOLA           ACCOUNT NO.: NOT AVAILABLE
        WOOD CAMPORA, LLP
        20 BICENTENNIAL CIRCLE
        SACRAMENTO, CA 95826


3.50983 TIMOTHY GRACE                             VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50984 TIMOTHY GRACE                             VARIOUS                              Wildfire               UNDETERMINED
        FRANK M. PITRE, ESQ./ SBN:                                                     Litigation
        100077ALISON E. CORDOVA,        ACCOUNT NO.: NOT AVAILABLE
        ESQ./ SBN:284492
        COTCHETT, PITRE, &
        MCCARTHY, LLP
        840 MALCOLM ROAD, SUITE 200
        BURLINGAME, CA 94010




                                            Page 7413 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       576 of 578
PG&E Corporation                                                                               Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
   Part 2:      List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address          Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                              Account Number                            Claim

Wildfire Claims

3.50985 TIMOTHY GRACE                              VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY , ESQ. / SBN:                                                  Litigation
        71460KHALDOUN A. BAGHDADI        ACCOUNT NO.: NOT AVAILABLE
        / SBN: 190111
        WALKUP, MELODIA, KELLY &
        SCHOENBERGER
        650 CALIFORNIA STREET, 26TH
        FLOOR
        SAN FRANCISCO, CA 94108


3.50986 TIMOTHY GRACE                              VARIOUS                              Wildfire               UNDETERMINED
        TODD B. BECKERBRIAN E.                                                          Litigation
        SHEARJASON BOYER                 ACCOUNT NO.: NOT AVAILABLE
        BECKER LAW GROUP
        117 EAST COLORADO BLVD.,
        SUITE 500
        PASADENA, CA 91105


3.50987 TIMOTHY HALBUR                             VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETON (SBN                                                           Litigation
        208783)ERIKA L. VASQUEZ          ACCOUNT NO.: NOT AVAILABLE
        (SBN268205)AMANDA
        LOCURTO (SBN 265420)
        SINGLETON LAW FIRM, APC
        115 WEST PLAZA STREET
        SOLANO BEACH, CA 92075


3.50988 TIMOTHY HALBUR                             VARIOUS                              Wildfire               UNDETERMINED
        SCOTT SUMMY (PRO HAC                                                            Litigation
        VICEPENDING)JOHN P. FISKE        ACCOUNT NO.: NOT AVAILABLE
        (SBN 249256)
        BARON & BUDD, P.C.
        603 N. COAST HIGHWAY
        SOLANO BEACH, CA 92075


3.50989 TIMOTHY HALBUR                             VARIOUS                              Wildfire               UNDETERMINED
        JOHN F. MCGUIRE, JR., ESQ.                                                      Litigation
        (SBN 69176)IAN C.                ACCOUNT NO.: NOT AVAILABLE
        FUSSELMAN, ESQ. (SBN I
        98917)BRETT. J. SCHREIBER,
        ESQ. (SBN 239707)
        THORSNES BARTOLOTTA
        MCGUIRE LLP
        2550 FIFTH A VENUE, 11TH
        FLOOR
        SAN DIEGO, CALIFORNIA 92103




                                             Page 7414 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13      Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                        577 of 578
PG&E Corporation                                                                              Case Number:   19-30088 (DM)

Schedule E/F: Creditors Who Have Unsecured Claims
  Part 2:       List All Creditors with NONPRIORITY Unsecured Claims

Creditor's Name, Mailing Address         Date Claim Was Incurred And      C U     D    Basis For    Offset   Amount of Claim
Including Zip Code                             Account Number                            Claim

Wildfire Claims

3.50990 TIMOTHY HALBUR                            VARIOUS                              Wildfire               UNDETERMINED
        AHMED S. DIAB (SBN                                                             Litigation
        262319)DEBORAH S. DIXON         ACCOUNT NO.: NOT AVAILABLE
        (SBN 248965)ROBERT J.
        CHAMBERS II (SBN 244688)
        DIXON DIAB & CHAMBERS LLP
        501 W. BROADWAY, SUITE 800
        SAN DIEGO, CA 92101


3.50991 TIMOTHY HALBUR                            VARIOUS                              Wildfire               UNDETERMINED
        TERRY SINGLETON, ESQ. (SBN                                                     Litigation
        583 I 6)                        ACCOUNT NO.: NOT AVAILABLE
        TERRY SINGLETON, A.P.C.
        1950 FIFTH AVENUE, SUITE 200
        SAN DIEGO, CA 92101


3.50992 TIMOTHY HANSON                            VARIOUS                              Wildfire               UNDETERMINED
        JOHN COX (CAL. STATE BAR                                                       Litigation
        NO. 197687)                     ACCOUNT NO.: NOT AVAILABLE
        LAW OFFICES OF JOHN COX
        70 STONY POINT ROAD, SUITE A
        SANTA ROSA, CA 95401


3.50993 TIMOTHY HANSON                            VARIOUS                              Wildfire               UNDETERMINED
        RYAN L. THOMPSON (CAL.                                                         Litigation
        STATE BAR NO. 296841)PAIGE      ACCOUNT NO.: NOT AVAILABLE
        BOLDT (CAL. STATE BAR NO.
        308772)
        WATTS GUERRA LLP
        811 BARTON SPRINGS RD., STE.
        725
        AUSTIN, TEXAS 78704


3.50994 TIMOTHY J WILT                            VARIOUS                              Wildfire               UNDETERMINED
        MICHAEL A. KELLY                                                               Litigation
        WALKUP, MELODIA, KELLY &        ACCOUNT NO.: NOT AVAILABLE
        SCHOENBERGER
        650 CALIFORNIA STREET
        SAN FRANCISCO, CA 94108


3.50995 TIMOTHY J WILT                            VARIOUS                              Wildfire               UNDETERMINED
        GERALD SINGLETONTERRY                                                          Litigation
        SINGLETONERIKA L.               ACCOUNT NO.: NOT AVAILABLE
        VASQUEZGARY LOCURTO
        SINGLETON LAW FIRM APC
        115 WEST PLAZA STREET
        SOLANA BEACH, CA 92075




                                            Page 7415 of 7835 to Schedule E/F Part 2

        Case: 19-30088             Doc# 900-13     Filed: 03/14/19          Entered: 03/14/19 22:42:10        Page
                                                       578 of 578
